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                        EXHIBIT 1

    REDACTED VERSION
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA




ANIBAL RODRIGUEZ, SAL CATALDO,
JULIAN SANTIAGO, and SUSAN LYNN
HARVEY, individually and on behalf of                   Case No. 3:20-cv-04688-RS
all similarly situated,

                   Plaintiffs,

v.

GOOGLE LLC,

                   Defendant.




                  EXPERT REPORT OF DONNA L. HOFFMAN

                                    May 31, 2023
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I.         QUALIFICATIONS

     1.    My name is Donna L. Hoffman. I am a Full Professor of Marketing at The George
           Washington University School of Business. I am the holder of the endowed chair, titled
           the Louis Rosenfeld Distinguished Scholar, at The George Washington University.

     2.    I co-founded and co-direct the Center for the Connected Consumer at The George
           Washington University School of Business. The Center is supported by university and
           foundation grants and corporate gifts. Previously, as a professor at Vanderbilt University
           and the University of California, Riverside, I co-founded and co-directed for ten years the
           Sloan Center for Internet Retailing, supported by a grant from the Alfred P. Sloan
           Foundation in New York City, a university grant, and corporate gifts. I have also co-
           founded and co-directed the first academic center for electronic commerce in the United
           States, called eLab. 1

     3.    The principal focus of my research over the past two decades has been in the area of the
           online consumer experience, including analysis of consumer behavior in new media and
           technology environments, such as social media and the Internet of Things. My research
           has also been concerned with digital commerce strategy, the social and policy
           implications of the commercialization of the Internet, and more recently, artificial
           intelligence.

     4.    I am the author of 87 papers, including articles published in leading academic journals
           such as the Harvard Business Review, Sloan Management Review, Science, Marketing
           Science, Management Science, Journal of Marketing Research, Journal of Marketing,
           Journal of Consumer Research, and Journal of Consumer Psychology, among many
           others, along with chapters in books. I am the co-editor of the book Beyond the Basics:
           Research-Based Rules for Internet Retailing Advantage. My publications also include
           working papers and technical reports as well as a number of articles I have published in
           the popular press, including Wired, HotWired, MicroTimes and Information Impact
           Magazine. I am on or have previously served on the editorial boards of the top marketing

1
  “Hoffman and Novak named ‘Distinguished Graduate Alumni,’” Vanderbilt University, June 6, 2003, available at
https://news.vanderbilt.edu/2003/06/06/hoffman-and-novak-named-145distinguished-graduate-alumni146-59977/.
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      journals in the world. Currently, I am an Associate Editor (AE), of the Journal of the
      Marketing; I just completed an AE term at the Journal of Consumer research, and was a
      guest AE for the Journal of Marketing Research. Additionally, I have served as Co-Editor
      for special issues in the Journal of Marketing, Information Systems Research, Marketing
      Science, and the Journal of Interactive Marketing. In addition to these editorial duties, I
      also serve on the Editorial Boards of the Journal of Consumer Psychology, Journal of
      Consumer Research, Journal of Marketing, and Journal of Marketing Research, among
      others.

5.    In the course of my research, teaching and editorial responsibilities, I have become
      familiar with the body of research on online consumer behavior, particularly as it relates
      to online consumer experience, as well as Internet retailing and Internet marketing.

6.    I have worked with major corporations on the topic of digital marketing strategy and
      online consumer experience, including Procter & Gamble, Intel, Microsoft, FedEx.com,
      Land’s End/Sears, Walmart.com, and CBS Interactive, among many others. I have also
      served as an Academic Trustee of the Marketing Science Institute and as a member of the
      Procter & Gamble Digital Advisory Board.

7.    My research has been funded by the Alfred P. Sloan Foundation, the National Science
      Foundation, the Marketing Science Institute, Google/WPP, and the University of
      Pennsylvania Future Of Advertising Center/Wharton Customer Analytics Initiative. I am
      a recipient of several of the marketing field’s most prestigious research awards, including
      being named a Fellow of the Society for Consumer Psychology, the Robert B. Clarke
      Educator of the Year Award from Marketing EDGE (formerly the DMEF), the Sheth
      Foundation/Journal of Marketing Award for long-term contributions to the discipline of
      marketing, the Stellner Distinguished Scholar Award from the University of Illinois, the
      William O’Dell/Journal of Marketing Research Award for long-term research impact,
      and the Robert D. Buzzell Marketing Science Institute Best Paper Award Honorable
      Mention.

8.    I have won several other awards in connection with my research. I was voted the top
      Internet Scientist by over 600 U.S. and European scientists and marketing managers in a

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           survey conducted by the ProfNet Institute for Internet Marketing in Dortmund, Germany.
           In the past, my research was cited as an “Emerging Research Front” in the entire field of
           Economics and Business by the ISI Essential Science Indicators, and I was cited by ISI
           Essential Science Indicators for the highest percentage increase in total citations to my
           research in the entire field of Economics and Business.

    9.     As of May 22, 2023, my Google Scholar citation count was 37,441. Fifteen of my
           published articles have been cited over 500 times and 38 of my published articles have
           been cited at least 100 times. Two of my research articles are among the most cited
           articles in the journals in which they appear. My 1996 Journal of Marketing paper on
           consumer experience on the Internet is the most widely cited paper in that journal from
           1995 to 2007 and the number one most cited paper in the entire marketing discipline
           between 1990 and 2002. 2 My 2000 Marketing Science paper on customer experience in
           online environments is one of the of “all time most highly cited articles” and the top
           article in terms of “all time citations per year in Marketing Science, 3 as well as the 14th
           most cited paper in the entire marketing discipline between 1990-2002. 4

    10.    I received the EDSF Excellence in Education Award for Innovation in Higher Education
           (sponsored by Xerox) for my work establishing the eLab virtual behavioral laboratory
           and eLab has received a commendation from the Association to Advance Collegiate
           Schools of Business (AACSB) for “International Effective Practice.” I co-created, co-
           launched and directed the first formal MBA curricular concentration in the world for the
           study of electronic commerce at a business school while I was a professor at Vanderbilt
           University. The New York Times called my pioneering effort “one of the premier research
           centers in the world for the study of electronic commerce” and the Wall Street Journal
           recognizes the effort as the “electronic commerce pioneer among business schools.” I
           also taught the first MBA course on Internet marketing at a business school. I have


2
  Stremersch, Stefan, Isabel Verniers, and Peter C. Verhoef, “The Quest for Citations: Drivers of Article Impact,”
Journal of Marketing, Vol. 71 (July 2007): 171-193.
3
  Shugan, Steven M., “Editorial: Introduction to the Special Classics Issue,” Marketing Science, Vol. 27, No. 1
(Jan.-Feb. 2008): 9-11.
4
  Stremersch, Stefan, Isabel Verniers, and Peter C. Verhoef, “The Quest for Citations: Drivers of Article Impact,”
Journal of Marketing, Vol. 71 (July 2007): 171-193.
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           created and taught courses in Internet Marketing Strategy, Digital Commerce Strategy,
           Managing the Customer Chain, AI and Marketing Strategy, and Marketing Strategy
           Analytics.

    11.    I have received media citations from Newsweek (as one of the 50 people who matter most
           on the Internet), Advertising Age (as a Web warrior), Internet World (as an Internet
           Hero), MicroTimes (as one of the MicroTimes 100), and San Francisco Webgirls (as one
           of the top 25 women on the Web).

    12.    I hold a Ph.D. from the L.L. Thurstone Psychometric Laboratory of the University of
           North Carolina at Chapel Hill with a formal minor in marketing. My primary formal
           training is in quantitative psychology, a field of behavioral science focused on the
           quantification and measurement of human cognition and behavior. In 2002, the
           University of North Carolina named me a Distinguished Graduate Alum in honor of their
           Centennial. Before joining The George Washington University, I was a faculty member
           at Columbia University, the University of Texas, Vanderbilt University and the
           University of California. I have also served as a visiting scholar at UCLA, Stanford,
           USC, and UCSD. A complete list of my professional qualifications, publications,
           affiliations and expert witness testimony are described in my curriculum vitae, which is
           attached as Appendix A.

    13.    I am being compensated for my work on behalf of Google at the rate of $1,050 per hour.
           Employees of Analysis Group, an economic research and consulting firm, working under
           my direction, have assisted me in this assignment. No compensation is contingent upon
           the nature of my findings or on the outcome of this litigation.

II.        ALLEGATIONS AND ASSIGNMENT

              A. Allegations

    14.    The named Plaintiffs in this case are Anibal Rodriguez, Sal Cataldo, Julian Santiago, and
           Susan Lynn Harvey 5 representing a putative class of “individuals who had WAA turned


5
 Fourth Amended Complaint, Anibal Rodriguez et al. v. Google LLC, United States District Court of the Northern
District of California, Case No. 3:20-CV-04688, January 4, 2023 (“Complaint”), ¶¶ 18-21.
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           off but whose devices nonetheless transmitted data to Google as a result of Google
           tracking and advertising code embedded within non-Google apps (including but not
           limited to Firebase SDK scripts).” 6 The Class Period is defined from “the date Google
           first received data, as a result of Google tracking and advertising code, from the device of
           a user who had turned off WAA and/or sWAA” 7 through the present. 8

    15.    Plaintiffs claim that Google intercepts, collects, saves and uses “consumers’ highly
           personal browsing histories on their mobile devices” whenever users use certain apps that
           incorporate Google code, without notice and consent from users. 9 Specifically, Plaintiffs
           allege that Google “surreptitiously collected users’ personal data from their mobile
           devices using software scripts embedded in Google’s Firebase SDK development
           platform […] even if users switched off Google’s ‘Web & App Activity’ feature, without
           providing any notice or obtaining any consent,” 10 thereby violating users’ reasonable
           expectations of privacy. 11

              B. Assignment

    16.    I have been engaged by counsel for Google LLC (“Google”) to respond to portions of the
           report of Plaintiffs’ expert Bruce Schneier as they relate to Google’s disclosures,
           practices, and user interface (UI) design, and specifically Mr. Schneier’s claims that the
           Web & App Activity (“WAA”) and supplemental Web & App Activity (“sWAA”)
           controls, and other Google practices and products, exemplify “dark patterns.” The
           sources I considered for this report are listed in the attached Appendix B. My work is
           ongoing, and I may revise my opinions as I review additional documents or information
           that may become available.




6
  Complaint, ¶17.
7
  Complaint, ¶ 17.
8
  Complaint, ¶ 17.
9
  Complaint, ¶ 1.
10
   Complaint, ¶ 3.
11
   Complaint, ¶ 286.
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III.       SYNOPSIS OF THE SCHNEIER REPORT

IV.        Mr. Schneier offers opinions about three topics.

              a. First, he discusses “data and privacy topics” not specific to Google and offers
                  generalities about privacy and user data.

              b. Second, he discusses “Google-specific topics” including a review of his
                  understanding of Google’s business model, as well as user risks and controls
                  associated with Google’s data collection. Ultimately, Mr. Schneier concludes that
                  Google has “overwhelming incentives to maximize collection of data about users”
                  and has created an “inescapable infrastructure” for data collection.12 Mr. Schneier
                  also argues that Google has failed to notify users of its data collection practices or
                  provide users with “effective privacy controls”13 via the WAA and sWAA settings.

              c. Third, Mr. Schneier discusses “Google tracking and web & app activity topics” by
                  providing an overview of WAA and sWAA controls and the anonymization of
                  user data. He then claims that “WAA and sWAA do not prevent Google from
                  collecting, saving, and using account holders’ app activity.”14 As a result, he
                  concludes that Google relies on “dark patterns,” which he claims are “subversive
                  user interface designs” used to manipulate users and app developers into thinking
                  that Google “respects users’ privacy choices.”15

 V.        SUMMARY OF OPINIONS

     18.   Based on my professional expertise, experience, and knowledge, and my review of the
           information available to me in this case I have developed the following key opinions:

     19.   Mr. Schneier’s claims that users cannot avoid using Google products and services have no
           merit and are unsupported. Users choose to use Google’s products and services.




12
   Expert Report of Bruce Schneier, February 20, 2023 (“Schneier Report”), ¶ 2.
13
   Schneier Report, ¶ 3.
14
   Schneier Report, ¶ 3.
15
   Schneier Report, ¶ 3.
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      Google may collect user data to improve user interaction with Google by identifying and
      developing products and features that create tremendous value to its users, which is why
      users choose to use Google’s products and services. Google is a highly customer-centric
      business that operates in a technologically complex environment and one that Google
      strives to make transparent to its users.

20.   Mr. Schneier does not consider that users are heterogeneous and have different privacy
      preferences. Google’s UI design caters to the needs of these heterogeneous users, and
      provides users with control over the company’s collection of data.

21.   Mr. Schneier’s claims that Google’s notice and consent procedures are confusing has no
      merit and is unsupported by any scientific (or other) methodology. Mr. Schneier’s text
      analysis of Google’s TOS and privacy policies is methodologically flawed and not valid.
      Mr. Schneier has not presented any evidence as to why a readability calculator is a valid
      proxy for users’ actual perceptions, nor does he apply the readability calculator to the
      specific at-issue WAA or sWAA disclosures. Mr. Schneier fails to take into account that
      Google’s UI design and privacy disclosures at issue in this case are user-friendly and
      evolutionary, and account for users’ individualized and contextual preference for privacy.
      Contrary to Mr. Schneier’s assertion that disclosures are ineffective, based on my review
      of Google’s UI design and privacy disclosures, it is evident that Google employs key UI
      design principles such as progressive disclosure to ensure that its notice and consent
      procedures are as clear as possible.

22.   Mr. Schneier’s conclusion that Google’s WAA and sWAA user interface and disclosures
      exemplify “dark patterns” is not supported by any scientifically sound methodology. Mr.
      Schneier’s main argument is that the disclosures surrounding WAA and/or sWAA
      settings exemplify a “dark pattern” because the disclosures focus only on what the
      settings control–whether a user wishes to save their activity in their Google Account–and
      do not address how Google’s business-facing products and services which operate
      independently from a user’s Google Account, such as Google Analytics for Firebase, may
      separately send Google anonymized data. In my view, Google’s practice of limiting
      WAA and sWAA disclosures to information relevant to a user’s Google Account (which


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      is what those settings control) does not fit any definition of “dark patterns” from the
      academic literature or from Mr. Schneier’s expert report. The allegations in this case are
      about users who already have WAA and sWAA turned off, not users who may or may
      not have been manipulated into enabling a setting they would not otherwise have enabled.
      Furthermore, principles of good UI design support the appropriateness of limiting
      disclosures, like Google did here, to only what is relevant for a user to know about what
      the WAA and sWAA settings control. Providing information about the virtually
      unlimited set of features that the WAA settings do not control outside of their Google
      Accounts would overwhelm users and distract them from what is important to know
      about these specific settings. Moreover, Google requires that third-party apps like Lyft or
      the New York Times that utilize the Firebase SDK include disclosures in their privacy
      policies, stating that Google is collecting and saving information related to their activity
      on such apps. This makes sense from a UI design perspective because it communicates
      information related to data collection pertaining to third-party apps where it is relevant to
      do so: in third-party app user agreements.

23.   Mr. Schneier inappropriately mischaracterizes deposition testimony and internal
      communications from Google employees regarding WAA and sWAA disclosures and
      other Google products. Mr. Schneier takes those statements out of context and twists
      them to say that Google employees agree with him with respect to the issues in this case.
      In fact, in many cases, there is direct evidence those statements had to do with entirely
      different issues. Mr. Schneier’s conclusion that Google purportedly “ignored” the
      concerns of its employees is incorrect, as many of the documents in fact demonstrate
      Google’s repeated commitment to providing users with transparency and control. Mr.
      Schneier also ignores relevant testimony and other context that make clear that some
      Google employees misunderstood the company’s WAA product and data collection
      practices at the time they made the statements in question.




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V.         MR. SCHNEIER FAILS TO CONSIDER THAT USERS CHOOSE TO USE
           GOOGLE

     24.   Mr Schneier repeatedly portrays Google as having a surveillance-dependent business
           model and claims that Google disregards its users’ needs for privacy in its pursuit of
           profits by “harvesting user data.” 16 However, Mr. Schneier mischaracterizes the reality of
           Google’s business model and ignores the value users find in Google’s products. I will
           show in the following section how Google has a customer-centric culture, which leads to
           Google developing popular products that effectively meet users’ needs that users choose
           over competitive offerings.

              A. Mr. Schneier’s Claim that Google Has a Surveillance-Dependent Business
                  Model Ignores Google’s Customer-centric Culture

     25.   Mr. Schneier claims that there is a “conflict between the Google’s desire for data and its
           users’ desire for privacy,” 17 and emphasizes Google’s “surveillance-dependent business
           model.” 18 However, Mr. Schneier conveniently ignores Google’s customer-centric
           culture, and does not acknowledge the tremendous value that Google’s innovative
           products and services have introduced to its users as a result of such culture.

     26.   Google is a highly innovative and extraordinarily successful company. Google has
           successfully developed products and services that appeal to a massive and diverse user
           base. Google also constantly strives for improvement, responds to user feedback, and
           seeks to create the best possible user experience across all its diverse user segments. 19

     27.   One of the reasons behind Google’s enormous success is due to the fact that it is a
           customer-centric company. Customer-centric firms view customer needs as central to the
           firm’s actions, and adopt specific frameworks to extract insights about customer needs
           and then use these insights to drive business decisions. 20 Customer-centric firms

16
   Schneier Report, Sections 7.1, 7.2 and 7.3.
17
   Schneier Report, ¶ 178.
18
   Schneier Report, Section V.
19
   See, e.g., GOOG-RDGZ-00089849 (Presentation titled “My Activity – PDPO Flamingo Summit,” February 11,
2020, at -862).
20
   Fader, Peter. Customer centricity: Focus on the right customers for strategic advantage, Second Edition,
University of Pennsylvania Press, 2020.
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           understand that ‘[c]ustomers represent the fundamental unit of analysis for marketing
           strategy, because each individual customer is an independent, decision-making entity.” 21

     28.   According to Glass and Callahan (2014, p. 22), “Google is a nearly perfect example of a
           customer-focused, data-driven company. The first of its core tenets is: Focus on the user
           and all else will follow.” 22 This tenet is especially important, as it shows that Google
           “focus[es] on providing the best user experience possible,” and that Google “take[s] great
           care to ensure that they will ultimately serve [the user].” 23 Schmidt and Rosenberg (2014,
           p. 216) also explain that Google recognizes the importance of the user and “will always
           do what’s right for the user.” 24 Google’s customer-centric culture has also been observed
           in case studies, where “Google prioritized the end user first,” and Google engineers
           focused on “designing the products that would keep users happy.” 25

     29.   I have also encountered several instances of Google focusing on the user during my
           review of documents in the matter. 26 For example, in pursuit of its user-focused mission,
           Google has employed a unique organizational structure where multiple teams across
           different products and functionalities work together to address the needs of its users. For
           example, Google has employed the use of Privacy Working Groups (“PWGs”),

21
   Palmatier, Robert W. and Shrihari Sridhar, Marketing Strategy: Based on First Principles and Data Analytics,
Macmillan Education Limited, 2021.
22
   Glass, Russell and Sean Callahan, The Big Data-Driven Business: How to Use Big Data to Win Customers, Beat
Competitors, and Boost Profits, John Wiley & Sons, 2014, p. 22; “Ten things we know to be true,” Google,
available at https://about.google/philosophy/. See also “Google's ‘user-centric’ brand mission,” WARC, August 1,
2018, available at https://www.warc.com/newsandopinion/news/googles-user-centric-brandmission/en-gb/39839;
Miller, Michael J., “Google Cloud's Thomas Kurian Says Customer Success Is Key,” PCMag, October 30, 2019,
available at https://www.pcmag.com/news/google-clouds-thomas-kurian-says-customersuccess-is-key; Gosh,
Sudipto, “New Google Analytics Brings in Customer-centric Measurement, YouTube Conversions Reports and
Much More, MarTech Series, October 14, 2020, available at https://martechseries.com/analytics/new-google-
analytics-brings -in-customer-centric-measurement/.
23
   “Ten things we know to be true,” Google, available at https://about.google/philosophy/.
24
   Schmidt, Eric and Jonathan Rosenberg, How Google Works, First Edition, Grand Central Publishing, 2014, pp.
212-216. See also Levy, Steven, In the plex: how Google thinks, works, and shapes our lives, Simon & Schuster, 2011,
pp. 4-7.
25
   Simons, Robert, and Annelena Lobb, “Google to Alphabet: Ten Things We Know to be True,” Harvard Business
School Case 116-029, December 12, 2017.
26
   See, e.g., GOOG-RDGZ-00026437 (Presentation titled “Instep – Ensuring users feel comfortable & safe when
using Google services,” at -469); GOOG-RDGZ-00039860 (Presentation titled “My Activity History Retention,”
January 2019, at GOOG-RDGZ-00039863); GOOG-RDGZ-00089849 (Presentation titled “My Activity – PDPO
Flamingo Summit,” February 11, 2020, at -854-858); GOOG-RDGZ-00173265 (Presentation titled “Trust is a
relationship, not a transaction,” October 13, 2020 at -272, -284-285, -343).
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           distributed teams of employees responsible for building and enhancing privacy products
           and features to address user needs. Over the years, these PWGs have comprised “privacy
           specialists associated with each product group” responsible for providing privacy-focused
           guidance for product teams, ensuring that each product launched by Google has “good
           privacy characteristics.” 27

     30.   Beyond the PWGs, Google also created a dedicated internal organization, the Privacy and
           Data Protection Office (“PDPO”), which was responsible for conducting a “privacy
           launch review” for Google’s products 28 and helped ensure that Google’s products reflect
           strong, user-focused privacy features. For example, in October 2019, Eric Miraglia
           (former Director of Product Management from the PDPO) announced a series of
           improvements and new privacy and security features to Google’s apps and services. 29
           These improvements included allowing users to access incognito mode on Google maps
           and extending the auto-delete feature to YouTube, which allows users to select when
           Google “automatically delete [the user’s] Location History and Web and App Activity.” 30

     31.   Beyond these new privacy features, the PDPO also worked on simplifying the user’s
           experience when interacting with Google’s activity controls and privacy settings. In an
           internal email to Google employees, the PDPO highlighted key changes made to
           Google’s “Data & personalization page,” which made these settings “simpler and easier
           to use” while maintaining user control. 31 Collectively, approximately 80 employees
           consisting of engineers, product managers, program managers, and other employees
           across multiple teams (including the PWG and PDPO) worked together to develop these




27
   Deposition of Eric Miraglia, October 25, 2022 (“Miraglia Deposition”), pp. 34:24-35:2.
28
   Miraglia Deposition, p. 33:16-21.
29
   “Keeping privacy and security simple, for you,” Google, October 2, 2019, available at
https://blog.google/technology/safety-security/keeping-privacy-and-security-simple-you/.
30
   “Keeping privacy and security simple, for you,” Google, October 2, 2019, available at
https://blog.google/technology/safety-security/keeping-privacy-and-security-simple-you/.
31
   GOOG-RDGZ-00186830 (Email from Benjamin Poiesz titled “PDPO Program Update - ‘The Making of a
Privacy Moment,’” October 21, 2019, at -833-834).
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           new privacy and security features and make these privacy controls “easier for [Google’s]
           users to understand and manage.” 32

     32.   Contrary to Mr. Schneier’s claims that there is a “conflict between the Google’s desire
           for data and its users’ desire for privacy,” 33 the examples above highlight Google’s
           ongoing commitment to improving the user’s experience and addressing user concerns
           about privacy. Google does not have a “surveillance-dependent business model” 34 as Mr.
           Schneier claims. Instead, Google’s customer-centric focus means that user data collection
           is motivated by the desire to improve the user’s experience. Google uses the data it
           collects to improve user interaction with Google by identifying and developing products
           and features that users want. Google’s unique organizational structure, where multiple
           teams across different products and functionalities work together to address the needs of
           its users, also ensures that internal teams within Google tackle user problems from
           multiple perspectives and incorporate knowledge from various different functions at the
           company.

     33.   Mr. Schneier also claims that “not even Google employees understand how–or whether–
           users can control the data Google collects.” 35 But, Mr. Schneier’s only examples are
           statements from two Google employees whose expertise is unrelated to WAA—Sam
           Heft-Luthy (former Google product manager for privacy and user trust) and Xinyu Ye (a
           Google software engineer focused on Differential Privacy)—which he uses to generalize
           across the entire Google organization. Mr. Schneier takes Mr. Heft-Luthy’s deposition
           testimony out of context. Reading his transcript as a whole, it is clear that Mr. Heft-
           Luthy’s statement that he had “incomplete knowledge” of Google systems at the time he
           worked there was a characterization of how product managers, like himself, “have
           knowledge[] at different levels of abstraction that might involve conversations with
           certain figures having one level of abstraction and certain figures having another level of



32
   GOOG-RDGZ-00186830 (Email from Benjamin Poiesz titled “PDPO Program Update - ‘The Making of a
Privacy Moment,’” October 21, 2019, at -832-833, 836-837).
33
   Schneier Report, ¶ 178.
34
   Schneier Report, Section V.
35
   Schneier Report, ¶ 265.
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           abstraction.” 36 When asked about the impact of certain controls, Mr. Heft-Luthy testified
           that he could not “speak in specificity of all scenarios.” 37 Similarly, in response to
           Plaintiffs’ question about whether he knew “any specific piece of information” that
           Google would not collect if a user turned WAA off, Mr. Heft-Luthy said it was “hard for
           [him] to recall a specific instance.” 38 That is not equivalent to not understanding “how—
           or whether—users can control the data Google collects.”

     34.   Mr. Ye’s testimony is also inconsistent with Mr. Schneier’s claims. Mr. Ye told Plaintiffs
           that he worked on “differential privacy algorithms” 39 and “adding noise to the
           computation of data.” 40 Although his job description did not entail knowledge of WAA,
           he was asked repeatedly about things outside of the scope of his work—e.g, what Web &
           App Activity is supposed to do. 41 Therefore, it is inappropriate for Mr. Schneier to claim
           that Google employees in general do not understand how or whether users can control the
           WAA data Google collects based solely on the cherry-picked testimonies of two
           employees with limited exposure to Web & App Activity.

              B. Mr. Schneier’s Claims Regarding User’s Inability to Avoid Google are
                  Unsupported and Irrelevant

     35.   Mr. Schneier claims that “[t]here is no way to completely avoid Google[‘s]” products and
           services. 42 To support his claim, Mr. Schneier cites a New York Times article by a
           technology reporter named Kashmir Hill. However, Mr. Schneier exaggerates her
           conclusions, and fails to consider that her findings are anecdotal and based on a sample
           size of 1, herself. Ms. Hill’s article does not support Mr. Schneier’s claims that users
           have no choice among technology offerings. In fact, Ms. Hill herself acknowledges that




36
   Deposition of Sam Heft-Luthy, February 8, 2023 (“Heft-Luthy Deposition”), p. 54:20-24.
37
   Heft-Luthy Deposition, p. 53:1-6.
38
   Heft-Luthy Deposition, p. 56:7-13.
39
   Deposition of Xinyu Ye, February 9, 2023 (“Ye Deposition”), p. 26:21-22.
40
   Ye Deposition, p. 12:18-19.
41
   Ye Deposition, p. 16:16-17.
42
   Schneier Report, ¶ 207.
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           “there are alternatives for products and services offered by the tech giants, but they are
           harder to find and to use.” 43

     36.   Ms. Hill also claims that when she blocked Google, “the entire internet slowed down.” 44
           However, aside from her anecdotal description of her brief experience, Ms. Hill provides
           no evidence to support her claim that Google was the cause of her internet slowdown.
           Additionally, Ms. Hill’s anecdotal experience does not support Mr. Schneier’s claim that
           users do not have a choice. As highlighted by Ms. Hill, users are free to choose products
           and services not run by Google.

VI.        CONTRARY TO MR. SCHNEIER’S CLAIMS, GOOGLE CATERS TO USERS’
           HETEROGENEOUS AND CONTEXTUAL PRIVACY CONCERNS

     37.   Mr. Schneier claims that Google’s “privacy efforts are primarily directed at building user
           trust rather than delivering real protection” 45 and that Google routinely violates user
           privacy. To support his claim, Mr. Schneier relies on an October 2020 email by Sam
           Heft-Luthy (former Google Product Manager for Privacy & User Trust), and concludes
           that “Google prioritized the ‘gameable’ goal of increasing users’ positive feelings
           towards Google.” 46 However, Mr. Schneier fails to describe what he means by “real
           protection,” and does not explain how users were allegedly harmed due to Google’s
           alleged failure to provide “real protection.” Moreover, Mr. Schneier fails to acknowledge
           that “Google has a variety of privacy objectives… and that user trust is consistently one
           of them.” 47

     38.   Moreover, Mr. Schneier ignores that users are highly heterogeneous with varying needs
           and preferences. Google, being a customer-centric provider, is well aware that privacy
           concerns are highly contextual and individualized. Google has demonstrated this by


43
   Hill, Kashmir, “I Tried to Live Without the Tech Giants. It was Impossible,” The New York Times, July 31, 2020,
available at https://www.nytimes.com/2020/07/31/technology/blocking-the-tech-giants.html.
44
   Hill, Kashmir, “I Tried to Live Without the Tech Giants. It was Impossible,” The New York Times, July 31, 2020,
available at https://www.nytimes.com/2020/07/31/technology/blocking-the-tech-giants.html.
45
   Schneier Report, ¶ 263.
46
   Schneier Report, ¶ 263; GOOG-RDGZ-00173562 (Email from Sam Heft-Luthy titled “Fwd: Program Review:
Privacy Surfaces,” October 14, 2020, at -562).
47
   Heft-Luthy Deposition, pp. 12:3-21, 69:4-10.
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           highlighting how its privacy and security principles conform to several model
           frameworks of protecting user privacy, including the ones Mr. Schneier refers to such as
           the OECD Privacy Framework and the ACM Code of Ethics and Professional Conduct. 48

     39.   Google clearly states on its Google Cloud’s Common Privacy Principles webpage that its
           principles are “grounded in globally recognized standards and frameworks,” including
           the OECD Privacy Framework. 49 Moreover, Google’s privacy and security principles
           include “Respect our users” and “Respect their privacy,” and “Be clear about what data
           we collect and why.” 50 These principles are in-line with the ACM Code of Ethics and
           Professional Conduct, which states that computing professionals should be “honest and
           trustworthy” and “Respect privacy.” 51 In this section, I will address some of the specific
           criticisms put forth by Mr. Schneier about Google’s privacy and data collection practices.

              A. Privacy Concerns Are Contextual and Individualized

     40.   Mr. Schneier claims that people’s privacy intuition “begins to fail” in an online setting. 52
           According to Mr. Schneier, people are incapable of using the internet in an informed
           manner because there is a “lack of transparency” surrounding the privacy policies of the
           internet and mobile apps, making it difficult for people to make “complex privacy
           decisions.” 53 Setting aside the fact that Mr. Schneier has presented no support whatsoever
           to back his claims on privacy intuitions or their failure, offline or online, Mr. Schneier’s
           statements oversimplify issues surrounding privacy disclosures and its effect on users.

     41.   Privacy is not a monolithic construct that is automatically violated whenever information
           is collected. Rather, both the context and individual preferences affect the level of a
           perceived privacy threat by users. The high level of variance among individuals with
           respect to privacy reinforces the importance of applying industry norms and market
           context, leading Nissenbaum (2009) to conclude that only data collection practices that

48
   Schneier Report, ¶¶ 132-135.
49
   “Google Cloud and Common Privacy Principles,” Google, available at
https://cloud.google.com/privacy/common-privacy-principles.
50
   “Our Privacy and Security Principles,” Google, available at https://safety.google/principles/.
51
   Schneier Report, ¶ 133.
52
   Schneier Report, ¶ 143.
53
   Schneier Report, ¶¶ 144-146.
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           violate “context-relative informational norms” are problematic. 54 Moreover, Solove
           (2021) states that “privacy’s value involves the right to have choices and protections,”
           and that individuals “can value having the choice even if they choose to trade away their
           personal data.” 55 This highlights the contextual and individualized nature of privacy.

     42.   Mr. Schneier states that “trading privacy for services isn’t necessarily a good or fair
           bargain,” 56 and conveniently ignores the robust literature on the role of privacy concerns
           in users’ decision-making processes in the context of engaging with mobile app services.
           The research shows that users have different expectations depending on the type of
           personal data collected and how the data is used. For example, when the “data is used to
           improve a product or service, consumers generally feel the enhancement itself is a fair
           trade for their data.” 57 While privacy concerns are an important determinant of
           engagement with mobile app services, “users tend to trade-off their privacy for the
           benefits obtained.” 58 These studies demonstrate that Mr. Schneier is incorrect that people
           are incapable of making “complex privacy decisions.” 59 On the contrary, research shows
           quite clearly that people consciously make decisions to engage in a privacy trade-off in
           exchange for the benefits of mobile app services.

     43.   The literature also makes it clear that there is no such thing as a “representative” user
           with respect to privacy. Instead, users have diverse “mental models” and expectations, 60
           and multiple studies have shown that the perception of privacy threats is highly


54
   Nissenbaum, Helen, Privacy in Context: Technology, Policy, and the Integrity of Social Life, Stanford University
Press, 2009, p. 186.
55
   Solove, Daniel J., “The Myth of the Privacy Paradox,” George Washington Law Review, Vol. 89, No. 1 (January
2021): 1-51, at p. 24.
56
   Schneier Report, ¶ 144.
57
   Morey, Timothy, Theodore Forbath, and Allison Schoop, “Customer Data: Designing for Transparency and
Trust,” Harvard Business Review, May 2015, available at https://hbr.org/2015/05/customer-data-designing-for-
transparency-and-trust.
58
   Gutierrez, Anabel, et al. “Using privacy calculus theory to explore entrepreneurial directions in mobile location-
based advertising: Identifying intrusiveness as the critical risk factor.” Computers in Human Behavior, Vol. 95
(2019): 295-306. The authors posit that this may be the case because users are progressively accepting that
privacy/security concerns are better managed than before.
59
   Schneier Report, ¶¶ 144-146.
60
   Lin, Jialiu et al., “Expectation and Purpose: Understanding Users’ Mental Models of Mobile App Privacy
Through Crowdsourcing,” Conference: Proceedings of the 2012 ACM Conference on Ubiquitous Computing
(September 2012): 1-10.
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           individualized. Differences among users on measures of age, 61 personality, 62
           psychosocial characteristics, 63 and fatigue 64 can significantly affect user decisions about
           privacy. In fact, a recent study used 34 distinct factors to construct a privacy calculus
           index, reinforcing that individual privacy decisions are multifaceted. 65

     44.   Given that individual users have differing preferences for privacy that vary depending on
           characteristics of the user and the context, a key challenge that UI designers grapple with
           is balancing functionality (power) with usability (simplicity). Good UI often
           accomplishes this balancing act by offering an interface that enables enhanced
           functionality while being easy to use for most users. I will show how Google designs its
           UI to provide users control over what data Google collects in the following section.

              B. Google Provides Users Control Over the Company’s Collection of Their Data

     45.   Mr. Schneier claims that Google’s efforts to feature user-control in its products is
           misleading, and that “turning off WAA and sWAA appears to give users even less
           control, placing Google’s collection, storage, and use of data generated by those users’
           activity beyond any of the otherwise available controls.” 66 Mr. Schneier’s argument is
           flawed and mischaracterizes the control and functionalities Google has provided its users
           through Google’s UI design.

     46.   As described above, privacy is not a monolithic construct, and users engage in a “privacy
           trade-off” between balancing the value that the service provides with any costs to


61
   “Americans and Privacy: Concerned, Confused and Feeling Lack of Control Over Their Personal Information,”
Pew Research Center, November 15, 2019, available at
https://www.pewresearch.org/internet/2019/11/15/americans-and-privacy-concerned-confused-and-feeling-lack-of-
control-over-their-personal-information/.
62
   Junglas, Iris A., Norman A. Johnson, and Christiane Spitzmüller. “Personality traits and concern for privacy: an
empirical study in the context of location-based services.” European Journal of Information Systems, Vol. 17
(2008); 387-402.
63
   Lee, Jin-Myong, and Jong-Youn Rha. “Personalization–privacy paradox and consumer conflict with the use of
location-based mobile commerce.” Computers in Human Behavior, Vol. 63 (2016): 453-462.
64
   Choi, Hanbyul, Jonghwa Park, and Yoonhyuk Jung. “The role of privacy fatigue in online privacy behavior.”
Computers in Human Behavior, Vol. 81 (2018): 42-51.
65
   Beke, Frank T., Felix Eggers, Peter C. Verhoef, and Jaap E. Wieringa, “Consumers’ privacy calculus: The
PRICAL index development and validation.” International Journal of Research in Marketing, Vol. 39, No. 1 (March
2022): 20-41.
66
   Schneier Report, ¶ 257.
                                                        17
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           privacy. Mr. Schneier also fails to consider the control that Google provides to users over
           the company’s collection of their data, and how Google’s UI design facilitates easy
           understanding by users of how to use the controls Google provides.

     47.   Google recognizes that “Privacy [and] Security,” are the “top trust drivers for Google.” 67
           As a result, Google has adopted three key principles regarding user data retention. These
           principles include: (1) “Don’t collect or retain what we don’t need;” (2) “Privacy must be
           balanced with visible user value;” and (3) “The user must be in control.” Google’s
           interface design with respect to data retention disclosures is user-friendly, especially
           considering how complex the underlying information is. It gives users easy control over
           the choices they make, the paramount concern in UI, without overwhelming them.

     48.   The image below shows Google’s WAA consent flow from a user’s Google Account
           Activity Controls. When users first access their activity controls page, they are presented
           with a high-level overview of what types of data Google saves on their Google Account
           for personalization, and what type of benefits they can expect to receive from storing this
           data. As the left panel shows, users interested in learning more about WAA data can
           simply click on the link to “Learn more,” (emphasis with red box added). On the other
           hand, if users are interested in managing their WAA settings, they can simply click on
           “Manage all Web & App Activity” (emphasis with red box added) and be served the
           screen shown on the right panel in the image.




67
  GOOG-RDGZ-00026437 (Presentation titled “Instep – Ensuring users feel comfortable & safe when using
Google services,” at -438).
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     49.   Users that choose to click on the “Manage all Web & App Activity” link will be offered
           several options to personalize how Google manages their data. These include changing
           Google’s WAA data collection settings (“Saving Activity,” emphasis with red box
           added), or setting up Auto-delete for a user’s WAA data (“Auto-delete (On),” emphasis
           with red box added). Contrary to Mr. Schneier’s claims that “turning off WAA and
           sWAA appears to give users even less control,” 68 Google’s UI design makes it easy for
           users to learn about and control the types of WAA information Google collects and for
           how long.

     50.   Users who enable the WAA control benefit from the personalization it offers. For
           example, with WAA enabled, users receive “faster searches, better recommendations, and


68
     Schneier Report, ¶ 257.
                                                  19
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           more personalized experiences in Maps, Search, and other Google services.” 69 Some
           users prefer to have their browsing experience tailored to their particular interests and
           preferences, and thus see personalization as an advantage. 70

VII.       CONTRARY TO MR. SCHNEIER’S CLAIMS, GOOGLE’S UI DESIGN AND
           PRIVACY DISCLOSURES ARE USER-FRIENDLY AND EVOLUTIONARY

     51.   Mr. Schneier also claims that Google’s notice and consent procedures are confusing, 71
           the time span between revisions was too short, 72 and that Google’s privacy documents
           contain too many links to other pages on Google’s website which direct users to notices
           pertaining to specific features. 73 These critiques demonstrate Mr. Schneier’s lack of
           understanding of good UI design. Moreover, Mr. Schneier fails to show how a reasonable
           user would interpret Google’s privacy disclosures and how the alleged misrepresentation
           in Google’s WAA disclosure is “highly offensive” to a reasonable user. 74

     52.   Companies like Google adopt key principles of UI design such as progressive disclosure
           to meet the diverse needs of their highly heterogeneous users. For example, Google relies
           on progressive disclosure so that users are in control of the level of detail they wish to
           explore with respect to Google’s privacy disclosures based on their individual needs.
           Users are able to decide what links or webpages they click on, and what information they
           would like to know to further their understanding of Google’s policies with respect to
           user data collection and use. Below I describe a) how Google relies on progressive
           disclosure to cater to heterogeneous user populations, b) how Google strives to constantly
           evolve its UI and privacy disclosures, and c) why Mr. Schneier’s analysis on Google’s
           notice and consent procedures is flawed.




69
   “Activity controls,” Google Account, available at https://myactivity.google.com/activitycontrols.
70
   Morgan, Blake, “50 Stats Showing The Power Of Personalization,” Forbes, February 18, 2020, available at
https://www.forbes.com/sites/blakemorgan/2020/02/18/50-stats-showing-the-power-of-
personalization/?sh=644107cb2a94.
71
   Schneier Report, Section 9.3.
72
   Schneier Report, ¶ 276.
73
   Schneier Report, ¶ 278.
74
   Schneier Report, ¶ 25.
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              A. Overview of Key Principles of UI Design

                  1. Progressive Disclosure

     53.   Mr. Schneier states that “people shouldn’t need to be technical experts” to understand
           how user data is being saved or used. 75 I agree with Mr. Schneier’s statement. Indeed,
           based on the documents I have reviewed, Google does not expect its users to be technical
           experts. Instead, Google designs its UI and privacy disclosures with the heterogeneous
           needs of the user top of mind, and relies on progressive disclosure to organize and display
           information in a way that is user-friendly.

     54.   Progressive disclosure is a long-standing approach to interface design that reconciles
           functionality and content with usability. 76 Progressive disclosure was first called the
           “Training-Wheels System” in the 1980s, with the process rooted in the understanding of
           human cognition. Progressive disclosure has been shown to improve efficiency and
           usability. 77 Fundamentally, progressive disclosure involves simply presenting only the
           most important and commonly-used features first and deferring more sophisticated
           options to secondary screens. 78 Progressive disclosure prioritizes the most important
           features, and lets users control what additional features or details they want or need to see
           next with the goal of simplifying the basic experience for users.

     55.   Thus, progressive disclosure lets individual users control and decide for themselves what
           information they want to consider and in what order, when interacting with an interface.
           This design flexibly accommodates different users’ needs, and allows both novice and
           experienced users to exercise choice and control. 79


75
   Schneier Report, ¶ 145.
76
   Nielsen, Jakob, “Progressive Disclosure,” Nielsen Norman Group, December 3, 2006, available at
www.nngroup.com/articles/progressive-disclosure/; “Progressive Disclosure,” Interaction Design Foundation,
available at https://www.interaction-design.org/literature/topics/progressive-disclosure.
77
   Galitz, Wilbert O. The essential guide to user interface design: an introduction to GUI design principles and
techniques. John Wiley & Sons, 2007, pp. 56-57.
78
   Carroll, John M. and Caroline Carrithers, “Training Wheels in a User Interface,” Communications of the ACM,
Vol. 27, No. 8 (August 1984): 800-806; Babich, Nick, “Progressive Disclosure: Simplifying the Complexity,”
Shopify Partners, August 5, 2019, available at www.shopify.com/partners/blog/progressive-disclosure.
79
   Nielsen, Jakob, “Progressive Disclosure,” Nielsen Norman Group, December 3, 2006, available at


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  56.    Information underlying mobile apps services and related technology disclosures is
         complex. Therefore, it is critical to maintain a user-friendly interface that is accessible to
         the highly diverse population of smartphone users. This is challenging as smartphone
         users represent most adults in the U.S. Therefore, the goal is to provide an easy and
         intuitive UI that will satisfy the many different needs and types of users who wish to
         learn more about their app privacy settings. A UI based on progressive disclosure offers
         users the most effective way to access the information they are looking for without
         overwhelming the user with an overload of information. 80

  57.    Moreover, the constantly evolving mobile app services markets and related user cognition
         are also important contextual considerations to keep in mind when evaluating the UI at
         issue as well. With mobile app services being in high demand, and users having
         heterogeneous needs and preferences, it makes sense to offer users control over the many
         choices they face when learning about and adjusting their settings. Progressive disclosure
         lets users control and tailor their interactions to their own preferences.

  58.    Developers are unable to predict exactly what will be important to each user in every
         situation as there are hundreds or even thousands of combinations of potential user
         actions available in a mobile operating system. Therefore, developers need to decide how
         best to group options that address the needs of diverse users while at the same time
         providing for control. Developers rely on a variety of different menus, hyperlinks, and
         icons group options to provide user control over navigation. These menus, hyperlinks,
         and icons allow users to navigate to the features, setting options and information that are
         most relevant to them. In mobile OS and app design, in which both users’ time and screen
         space, i.e., “real estate,” is limited, progressive disclosure is critically important. 81


www.nngroup.com/articles/progressive-disclosure/. Progressive disclosure stands in opposition to those who would
argue that instead of offering users options about what to do next in an interaction, users should instead be
overloaded with every single piece of information on every screen, regardless of its relevance to every user in every
context in every interaction.
80
   Google’s own search help pages offer informative steps for users to control their data, including their Location
History and Web & App Activity. See “Manage your Location History,” Google Account Help, available at
https://support.google.com/accounts/answer/3118687; “Find & control your Web & App Activity,” Google Account
Help, available at https://support.google.com/websearch/answer/54068.
81
   Nielsen, Jakob, “Defer Secondary Content When Writing for Mobile Users,” Nielsen Norman Group, July 31,
2011, available at www.nngroup.com/articles/defer-secondary-content-for-mobile/.
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     59.   Menu, hyperlinks, and icon navigational tools are necessary because it is simply not
           possible to include every detail of every single potentially relevant disclosure on every
           single screen. Thus, users control their interaction with disclosures through navigational
           tools, which are a key element of progressive disclosure. These navigational tools allow
           users to choose what information to access, where to click next, and so on, at any
           particular point in time. A good UI should be designed so that information desired by the
           broadest possible array of users can be quickly and easily accessed by users in the most
           flexible way possible.

     60.   As my UI analysis below in Section VII.B will show, Google’s UI design and privacy
           disclosure does not require its users, as Mr. Schneier states, to be “technical experts” to
           understand how user data is being saved or used. 82 Google’s practice of designing its
           Privacy Policy according to the principle of progressive disclosure enables the user to
           navigate and learn about Google’s privacy disclosures in a user-friendly way.

                  2. Good UI is Evolutionary

     61. Mr. Schneier states that Google has issued a total of nineteen versions of Google’s
           Privacy Policy and four versions of the Terms of Service (“TOS”) between the beginning
           of the class period to December 15, 2022. 83 Mr. Schneier further remarks that the “time
           span between revisions of these policies has at times been quite short, with as many as
           four revisions issued in the space of a year. 84 Mr. Schneier uses these observations to
           support his claim that “the many versions of these documents notwithstanding, their
           readability has not improved over time.” 85 Setting aside the flawed text analysis Mr.
           Schneier relies on to assess the readability of Google’s TOS and Privacy Policy, Mr.
           Schneier’s claims show that he fails to consider that a good UI design is necessarily
           iterative and evolves over time through user feedback.




82
   Schneier Report, ¶ 145.
83
   Schneier Report, ¶ 274.
84
   Schneier Report, ¶ 276.
85
   Schneier Report, ¶ 277.
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     62.   One of the key principles of UI design is giving users control over their experience. 86
           User control means giving users the freedom to decide what navigational choices to make
           during their interactions with an interface, such as which link to click, what menu to
           access, and so on, at any point during the interaction. Indeed, an extensive body of
           scholarly and industry research in online user experience and human-computer
           interaction supports the idea that positive experiences and successful interactions with
           computer devices arise from giving users control over their navigational choices. 87

     63.   Because it is impossible for providers to know exactly what information is likely to be
           most important to every particular user for whatever reason at every particular step of
           each interaction, providers must organize their user interfaces around solid principles of
           UI design. Some customer-oriented providers, such as Google, do their best to apply
           principles of good UI design by broadly organizing large amounts of information in a
           reasonable manner and then providing their users with options so users can be in control
           of the choices they make during interaction.

     64.   Nested navigational menu systems are considered a best practice for content-heavy sites
           and have become pervasive; most users are thus familiar with them. 88 Though such menu
           systems have evolved since the introduction of smartphones, the basic concepts of
           navigation which rely on progressive disclosure and lets users drill down on their options
           remain largely unchanged. These types of menus are the dominant style of operating
           system menus, appearing on iPhones, Android phones, web browsers and many types of
           software. As of 2021, approximately 85 percent of Americans own a smartphone. Thus,


86
   See, e.g., Rosala, Maria, “User Control and Freedom (Usability Heuristic #3),” Nielsen Norman Group,
November 29, 2020, available at https://www.nngroup.com/articles/user-control-and-freedom/; Marathe, Sampada,
and S. Shyam Sundar, “What drives customization? Control or identity?” In Proceedings of the SIGCHI conference
on human factors in computing systems, (May 2011): 781-790.
87
   Hoffman, Donna L., and Thomas P. Novak. “Marketing in Hypermedia Computer-Mediated Environments:
Conceptual Foundations,” Journal of Marketing, Vol. 60, No. 3 (1996): 50-68; Hoffman, Donna L., and Thomas P.
Novak, “Flow online: lessons learned and future prospects.” Journal of Interactive Marketing, Vol. 23, No. 1 (2009):
23-34; Marathe, Sampada, and S. Shyam Sundar, “What drives customization? Control or identity?” In Proceedings
of the SIGCHI conference on human factors in computing systems, (May 2011): 781-790.
88
   Budiu, Raluca, “Basic Patterns for Mobile Navigation: A Primer,” Nielsen Norman Group, November 15, 2015,
available at https://www.nngroup.com/articles/mobile-navigation-patterns/; Budiu, Raluca, “The State of Mobile
User Experience in 2018,” Nielsen Norman Group, January 14, 2018, available at
https://www.nngroup.com/articles/state-mobile-ux/state-of-mobile-ux-2018/.
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           most users have become familiar with navigating UI designed with progressive
           disclosure. 89

     65.   While applying principles such as progressive disclosure can improve usability, it is
           widely recognized that designing a UI requires extensive user testing and iteration, often
           even after the initial release of a product or application. 90 As usability expert Jakob
           Nielsen states, “[I]t is virtually impossible to design a user interface that has no usability
           problems from the start.” 91 Companies repeatedly iterate on the development of UI
           design as they receive feedback from users, whether it be to fix an existing problem
           experienced by users, or simply to improve the usability of the product by changing the
           design.

     66.   As I will discuss in further detail below, Google recognizes that good UI is evolutionary,
           and constantly strives to improve the user experience through improved UI design and
           privacy disclosures. For example, in a February 2020 presentation, Google recognized
           that user expectations surrounding privacy had shifted. In response to this change in user
           expectations, Google developed several tools to improve a user’s ability to control their
           privacy and the information Google collects, including developing an auto-delete
           function for WAA data, improving the quality and transparency of user metadata such as
           audio and location, and simplifying user controls for privacy settings. 92 Google is also
           aware that privacy disclosures are not static and evolve over time. Thus, as Mr. Schneier
           points out in his report, Google often updates its Privacy Policy in order to improve the
           readability for users. 93 The evolutionary nature of Google’s UI design and privacy




89
   Mobile Fact Sheet,” Pew Research Center, April 27, 2021, available at
https://www.pewresearch.org/internet/fact-sheet/mobile/.
90
   Nielsen, Jakob, “Iterative User Interface Design,” Nielsen Norman Group, November 1, 1993, available at
https://www.nngroup.com/articles/iterative-design/.
91
   Nielsen, Jakob, “Iterative User Interface Design,” Nielsen Norman Group, November 1, 1993, available at
https://www.nngroup.com/articles/iterative-design/.
92
   GOOG-RDGZ-00089849 (Presentation titled “My Activity – PDPO Flamingo Summit,” February 11, 2020, at -
855-858).
93
   Schneier Report, ¶ 274; “Updates: Privacy Policy,” Google Privacy & Terms, available at
https://policies.google.com/privacy/archive?hl=en-US; Miraglia Deposition, pp. 187:10-22, 217:19-218:1.
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           disclosure, as well as Mr. Schneier’s flawed text analysis to assess the readability of
           Google’s notice and consent procedures, will be covered in more detail below.

              B. Google’s Notice and Consent Procedures Are Not Confusing

     67.   Mr. Schneier claims that Google’s policies are “long, dense, and hard to read.” 94
           Additionally, Mr. Schneier also claims that Google’s Privacy Policy documents contain
           “numerous links to other pages on Google’s website,” and are overly complicated and
           confusing to users. 95 However, Mr. Schneier fails to account for the fact that Google
           applies the concept of progressive disclosure to its notice and consent documents as it
           does with other elements of its UI. Contrary to Mr. Schneier’s claims, Google’s notice
           and consent procedures, including the “numerous links to other pages on Google’s
           website,” 96 rely on good UI design that provides users with choices about what
           information they might find most useful.

     68.   It is my understanding that Google designed its Privacy Policy to cater to three audiences
           it identified: skippers, skimmers, and readers. 97 Google recognized that its users were
           heterogeneous. Within the context of the Privacy Policy, some users require additional
           details before making a decision to share information with Google in exchange for more
           personalized recommendations. On the other hand, there are users who feel as if they do
           not require any additional information, and are simply looking to access Google’s
           products and services.

     69.   Thus, Google developed its Privacy Policy as an interactive document that could cater to
           the needs of these heterogeneous users. For example, Google provided hyperlinks so
           users could, if interested, obtain more information about topics of interest. Google also
           relies on bolded and large fonts in order to capture the user’s attention. Moreover, Google
           frequently conducts qualitative user-testing to understand user perception towards the


94
   Schneier Report, ¶ 272.
95
   Schneier Report, ¶ 278.
96
   Schneier Report, ¶ 278.
97
   Order, Australian Competition and Consumer Commission v. Google LLC (No 2) [2022] FCA 1476, Federal
Court of Australia, December 9, 2022, available at
https://www.judgments.fedcourt.gov.au/judgments/Judgments/fca/single/2022/2022fca1476.
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           changes being made. 98 These are examples of some of the strategies that Google has
           employed to support the varying needs of its heterogeneous user base.

     70.   Google’s interface design with respect to disclosures at issue in this case is user-friendly,
           provides users with easy control over the choices they make, and evolves over time. To
           illustrate Google’s user-friendly UI design and privacy disclosures, I analyze the
           disclosures from the Activity Controls section in Google’s current Privacy Policy, and
           related WAA pages. 99 These disclosures, shown below, are concise by design to meet the
           needs of users who only want the key high level takeaways, while also maintaining
           flexibility for other users who choose to drill down for additional detail to learn more.




     71.   Specifically, Google’s use of hyperlinks lets users drill down on specific topics arising in
           the context of its service descriptions and related disclosures. For example, the far left
           panel above contains language describing “Activity Controls,” providing a high-level
           description of the types of data saved to the user’s Google Account. The page includes a
           link for users who wish to “Go to Activity Controls” (emphasis with red box added).

98
   See, e.g., GOOG-RDGZ-00090067 (Presentation titled “N3 UXR Strategy Overview and Approach,” May 5,
2020 at -078-081, -083).
99
   “Privacy Policy,” Google Privacy & Terms, December 15, 2022, available at https://policies.google.com/privacy;
“Activity Controls,” Google Account, available at https://myactivity.google.com/activitycontrols.
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        Users who click on the link and scroll down will see the center panel above, which
        describes “Web & App Activity.”

  72.   On this “Web & App Activity” page, users can “Turn Off” WAA, (emphasis with red
        box added). Users who opt to turn off WAA are provided with a pop-up, as shown in the
        far right panel, that details what users can expect now that WAA has been turned off. For
        example, Google makes it clear that when WAA is switched off, “new activity won’t be
        saved to your account,” and that Google will continue to use “existing activity” to
        “personalize” the user’s experience. More importantly, Google also highlights that their
        products and services still rely “on context and Other activity to be helpful,” and that
        switching WAA off means that Google “won’t save that info to your account.” Google’s
        inclusion of a variety of font styles and hyperlinks to other terms throughout the Privacy
        Policy and WAA controls allows users easy access to specific topics or control settings.
        This is a clear example of progressive disclosure, where Google organizes large amounts
        of information and presents it to users in a way that is user-friendly.

  73.   Google also frequently updates their Privacy Policy and WAA disclosures to reflect
        changes to their products and or data collection practices. For example, as Mr. Schneier
        claims, Google has updated its Privacy Policy nineteen times between June 28, 2016 and
        December 15, 2022. 100 To make it easier for users to review the changes, Google
        publishes the updated Privacy Policy alongside a comparison to the previous policy
        document. This allows users to quickly scan and review the updates made to the Privacy
        Policy. Mr. Miraglia also testified that some of the updates made by Google were made
        in order to improve the readability of the Privacy Policy to users. 101

  74.   Google also updates its WAA disclosures to keep the user informed on what happens
        when they switch off WAA. The image below compares three versions of the WAA
        disclosures from January 2017 until the present. 102


100
    Schneier Report, ¶ 274; “Updates: Privacy Policy,” Google Privacy & Terms, available at
https://policies.google.com/privacy/archive?hl=en-US.
101
    Miraglia Deposition, pp. 187:10-22, 217:19-218:1.
102
    GOOG-RDGZ-00154768 (Document titled “Notice of Filing,” November 26, 2020, at -880, -933); “Activity
Controls,” Google Account, available at https://myactivity.google.com/activitycontrols.
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75.   The far left panel is a disclosure from Google when users switch the WAA toggle from
      “on” to “paused” between January 2017 to October 2018. Google informs users that
      “even when this setting is paused, Google may temporarily store searches in order to
      improve the quality of the active search session,” and that pausing the user’s WAA
      “doesn’t delete any of your previous activity” (emphasis with red box added). Google
      later updated this WAA disclosure between October 2018 and October 2019, as shown in
      the center panel. In this version, Google built on the language of the previous disclosure
      and informed users that, when they pause WAA, the “setting will be paused on all sites,
      apps, and devices signed in to this account” (emphasis with red box added). Google also
      included the URL to the user’s Google Account and Google’s policy page in case users
      wanted to change this setting or “learn about the data that Google continues to collect and
      why” (emphasis with red box added).

76.   Since October 2019, Google has continued to improve the WAA disclosure, leading to
      the far right panel above. As discussed above, Google makes it clear to the users that
      even when they switch WAA off, “Google still relies on context and Other activity to be
      helpful” and that “some Google features temporarily use info about what you’re
      searching for, but won’t save that info to your account” (emphasis with red box added).

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  77.   The fact that there have been multiple versions of the TOS, Privacy Policy and WAA
        disclosure is indicative of Google’s culture of constant improvement and evolution. 103
        These examples show how Google adheres to key UI design principles such as
        progressive disclosure, and that good UI is evolutionary.

             C. Mr. Schneier’s Text Analysis Is Flawed

  78.   In an attempt to support his claim that Google’s notice and consent procedures are
        confusing, Mr. Schneier inputs the text of Google’s TOS from April 14, 2014 and
        Privacy Policy from June 28, 2016 into a “readability calculator” 104 and reports its
        results. 105 Based on the results of the readability calculator, but without presenting any
        support for what appropriate readability scores Google’s TOS and Privacy Policy should
        be, Mr. Schneier concludes that Google’s 2016 TOS and Google’s 2014 Privacy Policy
        are “long, dense, and hard to read,” 106 and that the readability scores of these two
        documents have only continued to deteriorate.

  79.   Mr. Schneier has not presented any evidence that a readability calculator is a valid proxy
        for users’ actual perceptions. He does not present any reason as to why he chose to input
        Google’s TOS and Privacy Policy through the specific readability calculator available at
        “Online-Utility.org” 107 in lieu of conducting an actual analysis of user perception on
        Google’s TOS and Privacy Policy. Readability formulas are designed to measure the
        length of words and sentences. 108 The calculator analyzes specific features of the text,

103
    Schneier Report, ¶ 274. See also, GOOG-RDGZ-00151130 (Document titled “2019 Company OKRs: Q2 scores
& rationale); GOOG-RDGZ-00173265 (Presentation titled “Trust is a relationship, not a transaction,” October 13,
2020 at -272, -284-285, -343).
104
    The “readability calculator” relied on by Mr. Schneier is a “free online software tool [which] calculates
readability” using a variety of readability formulas such as the Coleman Liau index, the Flesch Kincaid Grade Level,
ARI (Automated Readability Index), and SMOG. “Test Document Readability,” Online-Utility.org, available at
https://www.online-utility.org/english/readability_test_and_improve.jsp.
105
    Schneier Report, ¶ 269.
106
    Schneier Report, ¶ 272.
107
    I note that there are other readability calculators available online, such as readable.com,
readabilityformulas.com, and wordcalc.com. See, e.g., “Be Readable,” readable, available at https://readable.com/;
“Automatic Readability Checker,” Readability Formulas, available at https://readabilityformulas.com/free-
readability-formula-tests.php; “Readability Calculator,” wordcalc, available at
https://www.wordcalc.com/readability/.
108
    Jarrett, Caroline and Janice Redish, “Readability Formulas: 7 Reasons to Avoid Them and What to Do Instead,”


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        such as the number or words or the length of a sentence, and uses an equation to assign
        the body of text a single number. The scores from the readability calculator are generally
        used to “check [the] difficulty of words and sentences.” 109 The scores from the
        readability calculator can in no way be used as “precise indications of comprehension” or
        provide “summary assessments of reading ease or usability.” 110 Moreover, the calculator
        does not consider the context or content of the actual text, nor does it take into account
        whether the text being analyzed meets the needs of the user. In other words, it is simply a
        program that applies some formulas onto whatever text is copied or typed into the textbox
        provided, and not a measure of users’ perceptions.

  80.   Among the systems of measurement relied on by Mr. Schneier, the Flesch Reading Ease,
        Flesch-Kincaid Grade Level, and Automated Readability Index metrics are calculated
        using the average sentence length and/or average syllables per word. 111 Similarly, the
        SMOG Index and the Gunning Fog counts average sentence length and considers the
        percentage of long words or words with three or more syllables in calculations. None of
        these metrics take into account the purpose or the user’s perspective when reading
        Google’s TOS or Privacy Policy. Therefore, Mr. Schneier’s analysis is effectively only
        identifying patterns and sentence complexity within Google’s TOS and Privacy Policy,
        and does not consider the impact of UI design on the readability of the TOS and the
        Privacy Policy.

  81.   Moreover, Mr. Schneier has not established how these readability calculators are
        applicable to the issues in this matter, or even whether these readability calculators




UX matters, July 29, 2019, available at https://www.uxmatters.com/mt/archives/2019/07/readability-formulas-7-
reasons-to-avoid-them-and-what-to-do-instead.php.
109
    “When Should I Use Readability Formulas and When Should I Not?” Readability Formulas, available at
https://readabilityformulas.com/articles/when-should-i-use-readability-formulas.php.
110
    “When Should I Use Readability Formulas and When Should I Not?” Readability Formulas, available at
https://readabilityformulas.com/articles/when-should-i-use-readability-formulas.php.
111
    Schneier Report, ¶ 270; Jarrett, Caroline and Janice Redish, “Readability Formulas: 7 Reasons to Avoid Them
and What to Do Instead,” UX matters, July 29, 2019, available at
https://www.uxmatters.com/mt/archives/2019/07/readability-formulas-7-reasons-to-avoid-them-and-what-to-do-
instead.php; “The Automated Readability Index,” Readability Formulas, available at
https://readabilityformulas.com/automated-readability-index.php.
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        should be used in evaluating UI design or privacy disclosures. 112 In fact, academic
        research shows readability formulas have “many technical weaknesses” and “were
        developed for children’s schoolbooks, not adult technical documentation.” 113 When
        designing its Privacy Policy, Google is attempting to distill complex, technical concepts
        for a highly heterogeneous group of users in a way that is easy for them to understand.
        This involves design choices other than syllable length and number of words per
        sentence, which may be relevant considerations for a child’s schoolbook, but not for
        technical documentation. It is important to avoid “readability formulas [from] being used
        in contexts where they have no research base” since “a better way of assessing readability
        is user testing.” 114 Also problematic is that different readability calculators may calculate
        different scores for the same text, calling into question the reliability of Mr. Schneier’s
        findings. 115 In sum, the academic literature does not support the use of readability
        calculators in the assessment of whether technical documentation such as Google’s notice
        and consent procedures are confusing.

  82.   Even if a readability calculation were a valid proxy of users’ perception, Mr. Schneier
        fails to apply the readability calculator to the specific at-issue WAA or sWAA
        disclosures. Instead, Mr. Schneier simply applies the readability calculator to the entire
        Privacy Policy, which is less of a key focus in this matter.


112
    I note that Mr. Schneier claims that “[r]eadability calculators are a common tool to test the readability of
documentation, and have been used by Google to analyze proposed disclosures.” Mr. Schneier relies on a May 5,
2020 internal Google presentation as support that Google has used the “Flesch-Kincaid” formula as part of its
“consent comprehension procedure.” However, Mr. Schneier has not shown the results of that specific study, nor has
he presented evidence that it occurred. See Schneier Report, ¶ 269; GOOG-RDGZ-00090067 (Presentation titled
“N3 UXR Strategy Overview and Approach,” May 5, 2020, at -082).
113
    Redish, Janice, “Readability Formulas Have Even More Limitations than Klare Discusses,” ACM Journal of
Computer Documentation, Vol. 24, No. 3 (August 2000): 132-137, at p. 132.
114
    Redish, Janice and Jack Selzer, “The Place of Readability Formulas in Technical Communication,” Technical
Communication, Vol. 32, No. 4, (1985): 46-52, at p. 46.
115
    Zhou, Shixiang, Heejin Jeong, and Paul A. Green, “How Consistent Are the Best-Known Readability Equations
in Estimating the Readability of Design Standards?” IEEE Transactions on Professional Communication, Vol. 60,
No. 1 (March 2017): 97-111, at p. 97. See also, Redish, Janice, “Readability Formulas Have Even More Limitations
Than Klare Discusses,” ACM Journal of Computer Documentation, Vol. 24, No. 3 (August 2000): 132-137; Redish,
Janice and Jack Selzer, “The Place of Readability Formulas in Technical Communication,” Technical
Communication, Vol. 32, No. 4 (1985): 46-52; Jarrett, Caroline and Janice Redish, “Readability Formulas: 7
Reasons to Avoid Them and What to Do Instead,” UX matters, July 29, 2019, available at
https://www.uxmatters.com/mt/archives/2019/07/readability-formulas-7-reasons-to-avoid-them-and-what-to-do-
instead.php.
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  83.   Furthermore, Mr. Schneier’s use of the calculator is unreliable. To demonstrate the
        absurdity of Mr. Schneier’s findings, I use the same readability calculator to analyze the
        following sentence from Google’s Privacy Policy – “This Privacy Policy is meant to help
        you understand what information we collect, why we collect it, and how you can update,
        manage, export, and delete your information.” 116 The readability calculator provides the
        following output for this sentence. 117




  84.   As shown in the image above, the Gunning Fog Index calculated by Mr. Schneier’s
        readability calculator indicates that it requires 18.34 years of formal education to “easily
        understand the text on the first reading,” whereas other metrics such as the Flesch
        Kincaid Grade Level, SMOG and Automated Readability Index show that readers need to
        have between 15 to 16 of U.S. grade levels to understand the sentence. Setting aside the
        conflicting implications of these indices, short sentences are often assigned a lower grade
        level, even when they do not necessarily improve ease of reading. 118




116
     “Privacy Policy,” Google Privacy & Terms, December 15, 2022, available at https://policies.google.com/privacy.
117
     “Test Document Readability,” Online-Utility.org, available at https://www.online-
utility.org/english/readability_test_and_improve.jsp.
118
     “An Overview of Using Readability Formulas,” Readability Formulas, available at
https://readabilityformulas.com/articles/an-overview-of-readability-formulas.php.
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  85.   In fact, when the same sentence from Google’s Privacy Policy is broken into three
        similarly structured sentences – “This Privacy Policy is meant to help you understand
        what information we collect. This Privacy Policy is meant to help you understand why we
        collect it. This Privacy Policy is meant to help you understand how you can update,
        manage, export, and delete your information.”– the readability score improves, as shown
        in the image below.




  86.   Yet, the results do not necessarily imply that readers understand the three separate
        sentences better than the original sentence in Google’s Privacy Policy. Moreover, if
        Google attempted to edit their TOS or Privacy Policy to fit a specific readability score,
        Google would risk creating text that is “choppy and lacks cohesion.” 119

VIII. GOOGLE DOES NOT USE “DARK PATTERNS” IN WAA AND SWAA

  87.   Mr. Schneier claims that Google “fails to adequately disclose or provide notice of its data
        collection practices or to provide users with effective privacy controls” and that the
        “‘privacy controls’ addressed in this lawsuit (Web & App Activity (WAA) and
        Supplemental Web & App Activity (sWAA)) are merely an illusion.” 120 Mr. Schneier

119
    “An Overview of Using Readability Formulas,” Readability Formulas, available at
https://readabilityformulas.com/articles/an-overview-of-readability-formulas.php.
120
    Schneier Report, ¶ 3.
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         also claims that “Google[] uses dark patterns … to provide users and app developers with
         a false sense of security that Google respects users’ privacy choices.” 121 In support, Mr.
         Schneier references a series of past reports and government investigations as evidence of
         Google’s conduct. 122 However, Mr. Schneier has not explained how the behavior
         referenced in the literature he relies on is related to the claims at issue in this case. Mr.
         Schneier also does not adequately define “dark patterns,” nor has he analyzed the
         presence of “dark patterns” using any scientifically based methodology.

  88.    Mr. Schneier is a security technologist, and his expertise appears to be related to data
         security. Therefore, it is unclear what experience, if any, Mr. Schneier is relying on to
         assess the presence of “dark patterns” in Google’s UI design. Moreover, even if Mr.
         Schneier has the expertise, Mr. Schneier fails to indicate a methodology to show how he
         arrived at his specific claims that Google’s UI design exemplifies “dark patterns” that
         influence user behavior by providing a “false sense of security.” Thus, Mr. Schneier has
         neither the expertise nor a scientifically based methodology to support his conclusions.

  89.    “Dark patterns” are a nebulous construct built on a shaky foundation. There are
         numerous deficiencies of what constitutes a “dark pattern” and widespread
         inconsistencies within the “dark pattern” literature. As such, Mr. Schneier’s opinions are
         not based on scientific reasoning or evidence and therefore should not be relied upon.
         Moreover, the definitions and materials provided by Mr. Schneier fail to demonstrate
         Google “provide[s] users and app developers with a false sense of security that Google
         respects users’ privacy choices” relating to Google’s statements and disclosures
         surrounding WAA and sWAA. 123




121
    Schneier Report, ¶ 3.
122
    See, e.g., Schneier Report, ¶¶ 280-295.
123
    Schneier Report, ¶ 3.
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             A. Overview of Mr. Schneier’s Opinions regarding “Dark Patterns”

                  1. “Dark Patterns” Are a Nebulous Construct

  90.    Mr. Schneier claims that “Dark patterns” refers to a “variety of subversive user-design
         tricks intended to manipulate users.” 124 In his report, Mr. Schneier never clearly or
         rigorously defines what he means by “dark patterns.” He describes “dark patterns”
         generally as “subversive user interface designs that manipulate users into making
         decisions that serve Google’s purposes rather than their own.” 125 According to Mr.
         Schneier, the use of a “dark pattern” is intended to manipulate users to engage in
         behaviors at odds with their preferences rather than treat users’ preferences as paramount.

  91.    Harry Brignull, the user experience consultant Mr. Schneier refers to as having coined the
         term “dark patterns,” defines it on his blog as a “kind of bad design pattern, one that’s
         been crafted with great attention to detail, and a solid understanding of human
         psychology, to trick users into do things they wouldn’t otherwise have done.” 126 Beyond
         that, Mr. Brignull explains that “[b]lack-hat UX is different: it’s subtle,” and has no
         clearly defined guidelines. 127 Without explicit and commonly accepted guidelines that
         clearly define “evil design” and how to detect it, whether a particular user interface
         design is bad or good is left largely in the eye of the beholder.

  92.    Another blog post from Mr. Brignull that Mr. Schneier cites, this one on the edited blog A
         List Apart, illustrates a “continuum from honest interfaces to dark patterns” on which
         extreme “dark patterns” are, in Mr. Brignull’s opinion at least, “unarguably deceptive to



124
    Schneier Report, ¶ 161.
125
    Schneier Report, ¶ 3.
126
    Brignull, Harry, “Dark Patterns: dirty tricks designers use to make people do stuff,” Harry Brignull’s 90 Percent
of Everything, July 8, 2010, available at https://90percentofeverything.com/2010/07/08/dark-patterns-dirty-tricks-
designers-use-to-make-people-do-stuff/index.html. Elsewhere, Mr. Brignull describes “dark patterns” as “dirty tricks
designers use to make you do stuff.” Brignull, Harry, “Darkpatterns.org: naming and shaming sites that use black
hat, anti-usability design patterns,” Harry Brignull’s 90 Percent of Everything, August 16, 2010, available at
https://90percentofeverything.com/2010/08/16/darkpatterns-org-naming-and-shaming-sites-that-use-black-hat-anti-
usability-design-patterns/index.html.
127
    Brignull, Harry, “Darkpatterns.org: naming and shaming sites that use black hat, anti-usability design patterns,
Harry Brignull’s 90 Percent of Everything, August 16, 2010, available at
https://90percentofeverything.com/2010/08/16/darkpatterns-org-naming-and-shaming-sites-that-use-black-hat-anti-
usability-design-patterns/index.html.
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        users,” but “carefully placed on the right side of the law.” 128 This again illustrates the
        subjectivity around what constitutes a “dark pattern.” (See Figure 1)

             Figure 1: “The continuum from honest interfaces to dark patterns” 129




  93.   To date, the research on “dark patterns” is merely descriptive and the literature is highly
        fragmented. Interfaces that someone somewhere considers to be less than honest are
        categorized as some type of “dark pattern” and given a name, often sensationalistic (e.g.
        “sneaking” 130), that implies a deliberate intent to deceive. There is no single, consensus
        definition of what constitutes a “dark pattern,” no research that illuminates what makes a
        particular interface a “dark pattern,” no coherent specification of the cognitive
        mechanism by which “dark patterns” operate on users, nor standards or norms for
        identifying problematic “dark patterns.” 131 Indeed, the “current academic discourse about
        “dark patterns” is built on a shaky foundation.” 132 Until such time that the current




128
    Brignull, Harry, “Dark Patterns: Deception vs. Honesty in UI Design,” A List Apart, November 1, 2011,
available at https://alistapart.com/article/dark-patterns-deception-vs-honesty-in-ui-design.
129
    Figure 3 from Brignull, Harry, “Dark Patterns: Deception vs. Honesty in UI Design,” A List Apart, November 1,
2011, available at https://alistapart.com/article/dark-patterns-deception-vs.-honesty-in-ui-design.
130
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 5.
131
    Mathur, Arunesh, Jonathan Mayer, and Mihir Kshirsagar, “What Makes a Dark Pattern…Dark? Design
Attributes, Normative Considerations, and Measurement Methods,” CHI Conference on Human Factors in
Computing Systems (CHI ‘21), (May 8-13, 2021): 1-27.
132
    Mathur, Arunesh, Jonathan Mayer, and Mihir Kshirsagar, “What Makes a Dark Pattern…Dark? Design
Attributes, Normative Considerations, and Measurement Methods,” CHI Conference on Human Factors in
Computing Systems (CHI ‘21), (May 8-13, 2021): 1-27, at p. 1.
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         descriptive work on “dark patterns” can be grounded in scientific methods, attempting to
         classify a particular UI as a “dark pattern” is neither reliable nor valid. 133

  94.    In addition to being descriptive and highly fragmented, the literature lacks consistency.
         For example, even when authors agree on a category of “dark pattern,” there are
         inconsistent definitions of the behavior that falls under the category. Such inconsistency
         is plainly evident across definitions that Mr. Schneier invokes when introducing
         particular categories of “dark patterns.” For example, Mr. Schneier cites three sources,
         which he groups together as defining the “dark pattern” of “sneaking,” when arguing that
         Google’s WAA Help Page, disclosures accompanying the WAA and sWAA toggles, and
         disclosures to app developers exemplify “dark patterns.” 134 However, the example
         behaviors of “sneaking” are inconsistent across definitions as each applies to a different
         context, some of which are not relevant to the current matter. The three definitions that
         Mr. Schneier relies upon to define the category of “sneaking” are provided in Table 1
         below:




133
    I have reviewed the most recent literature surrounding “dark patterns” definitions, including sources not
considered by Mr. Schneier. My conclusion that there are inconsistent definitions of “dark patterns” and that there is
no scientific method to identify “dark patterns” remains unchanged. For example, one study showed that there are
over 62 types of “dark patterns” described in prior research. See Mildner, Thomas, Philip Doyle, Gian-Luca Savino,
and Rainer Malaka, “Rules Of Engagement: Levelling Up To Combat Unethical CUI Design,” CUI’22 Proceedings
of the 4th Conference on Conversational User Interfaces, No. 26, (July 2022): 1-5, at p. 3. Moreover, a 2022 study
conducted showed that there is no statistically significant difference between an end-user and a “dark pattern”
expert’s ability to identify “dark patterns.” See Keleher, Maxwell, Fiona Westin, Preethi Nagabandi, and Sonia
Chiasson, “How Well Do Experts Understand End-Users’ Perceptions of Manipulative Patterns?” NordiCHI’22
Nordic Human-Computer Interaction Conference, No. 52, (October 2022): 1-21. For the purposes of this report, I
only present my analysis of “dark pattern” sources relied upon by Mr. Schneier.
134
    Schneier Report, ¶¶ 311-313, 332, 385.
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                Table 1: Contrasting the Multiple Definitions of “Sneaking” Relied Upon by
                                               Mr. Schneier

      Colin M. Gray category of          FTC category of “sneaking or             EU category of “left in the
            “sneaking” 135                 information hiding” 136                        dark” 137

 We define sneaking as an attempt to   Automatically adding items to the      An interface is designed in a way
 hide, disguise, or delay the          shopping cart without a shopper’s      to hide information or data
 divulging of information that has     permission OR Tricking a               protection control tools or to
 relevance to the user. Sneaking       shopper into buying unwanted           leave users unsure of how their
 often occurs in order to make the     items by using a pre-checked box.      data is processed and what kind of
 user perform an action they may                                              control they might have over it
 object to if they had knowledge of    Hiding material information or         regarding the exercise of their
 it. Sneaking behaviors may include    significant product limitations from   rights.
 additional undisclosed costs or       people.
 undesired effects from a particular
 action.                                Example: hiding info in fine print,
                                       in lengthy terms of service
                                       documents, behind nondescript
                                       hyperlinks, or in pop-up boxes that
                                       only appear if someone hovers over
                                       the right thing.

Note: Emphasis added with bolded text

  95.    The inconsistency across the above three definitions is apparent. Specifically, Dr. Gray’s
         definition of “sneaking” involves scenarios where users affirmatively opt-in to a feature
         due to hidden, disguised, or a delayed disclosure of information and suffer undesired
         results. In contrast, the FTC’s definition of “sneaking or information hiding” is focused
         on consumer shopping experiences and relates to behavior during the checkout process
         where items are automatically added to a shopper’s cart without permission, or using pre-
         checked boxes to trick a shopper into buying unwanted items. Additionally, the EU’s
         category of “left in the dark” differs contextually from both Dr. Gray’s and the FTC’s
         definitions described above, as the category relates to data protection control tools. Thus,



135
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 6.
136
    Staff Report, “Bringing Dark Patterns to Light,” US Federal Trade Commission, September 2022, available at
https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14.2022%20-
%20FINAL.pdf, at pp. 22-23.
137
    Jelinek, Andrea, et al., “Dark patterns in social media platform interfaces: How to recognise and avoid them,”
European Data Protection Board, March 14, 2022, available at https://edpb.europa.eu/system/files/2022-
03/edpb_03-2022_guidelines_on_dark_patterns_in_social_media_platform_interfaces_en.pdf, at p. 8.
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         a comparison of the “sneaking” definitions shows that the contexts and behavior
         examples provided are highly inconsistent.

  96.    Mr. Schneier also relies on three sources for defining the “dark pattern” of “nagging”
         when arguing that Google’s WAA/sWAA “consent bump” prompt exemplifies a “dark
         pattern.” 138 Again, the three definitions are inconsistent as they vary widely in the level
         of user contact apparently needed to establish that “nagging” has occurred. The
         definitions cited by Mr. Schneier in defining the category of “nagging” are provided in
         Table 2 below:

              Table 2: Contrasting the Multiple Definitions of “Nagging” Relied Upon by Mr.
                                                 Schneier
      Colin M. Gray category of            FTC category of “nagging” 140           EU category of “continuous
            “nagging” 139                                                                prompting” 141

 We define nagging as a minor            Asking repeatedly and                  The Continuous prompting dark
 redirection of expected                 disruptively if a user wants to take   pattern occurs when users are
 functionality that may persist over     an action OR Making a request that     pushed to provide more personal
 one or more interactions. Nagging       doesn’t let the user permanently       data than necessary for the
 often manifests as a repeated           decline – and then repeatedly          processing purposes or to consent to
 intrusion during normal interaction,    prompting them with the request.       another use of their data, by being
 where the user’s desired task is                                               repeatedly asked to provide
 interrupted one or more times by        Example: asking users to provide       additional data and offered
 other tasks not directly related to     their data or turn on cookies then     arguments why they should provide
 the one the user is focusing on.        repeatedly presenting the choices as   it. Users are likely to end up giving
 Nagging behaviors may include           “Yes” or “Not Now” instead of          in, i.e. accepting to provide more
 pop-ups that obscure the interface,     “Yes” or “No.”                         data or to consent to another
 audio notices that distract the user,                                          processing, as they are wearied
 or other actions that obstruct or                                              from having to express a choice
 otherwise redirect the user’s focus.                                           each time they use the platform.


Note: Emphasis added with bolded text


138
    Schneier Report, ¶¶ 370-382. Mr. Schneier states that a “consent bump” refers to a “screen that enables the user
to give or revoke consent.” See Schneier Report, ¶ 377.
139
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 5.
140
    Staff Report, “Bringing Dark Patterns to Light,” US Federal Trade Commission, September 2022, available at
https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14.2022%20-
%20FINAL.pdf, at p. 24.
141
    Jelinek, Andrea, et al., “Dark patterns in social media platform interfaces: How to recognise and avoid them,”
European Data Protection Board, March 14, 2022, available at https://edpb.europa.eu/system/files/2022-
03/edpb_03-2022_guidelines_on_dark_patterns_in_social_media_platform_interfaces_en.pdf, at p. 14.
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  97.     There are clear differences across the above three definitions regarding the level of
          contact required to satisfy the criteria to establish the “dark pattern of “nagging.” For
          example, Dr. Gray’s definition of “nagging” involves interrupting a user one or more
          times and redirecting their attention to unrelated tasks. However, the FTC’s definition of
          “nagging” implies a higher level of interruption is required, as the behavior necessary to
          fulfill the definition is described as repeated and disruptive in nature. Finally, the EU’s
          category of “continuous prompting” differs in the level of “nagging” from both Dr.
          Gray’s and FTC’s definitions. More specifically, the EU’s category of “continuous
          prompting” requires repeated behavior and contains an element of user weariness, but the
          conduct does not need to be disruptive in nature as required by the FTC.

  98.     Mr. Schneier also identifies an additional number of “dark patterns” to support the
          argument that Google’s statements about privacy and user control exemplifies “dark
          patterns.” 142 The “dark patterns” include “aesthetic manipulation,” “misdirection,” and
          “emotional steering.” 143 The definitions cited by Mr. Schneier for each category are
          provided in Table 3 below:

            Table 3: Contrasting the Definitions of “aesthetic manipulation,” “misdirection,”
                        and “emotional steering” Relied Upon by Mr. Schneier

       Colin M. Gray category of                FTC category of                  EU category of “emotional
      “interface interference” and              “misdirection” 145                      steering” 146
         subcategory “aesthetic
            manipulation” 144

 We define interface interference as   Using style and design to focus       With the Emotional Steering dark
 any manipulation of the user          users’ attention on one thing in      pattern, wordings or visuals are
 interface that privileges specific    order to distract their attention     used in a way that conveys
 actions over others, thereby          from another.                         information to users in either a


142
    Schneier Report, ¶¶ 340-342.
143
    Schneier Report, ¶¶ 340-342.
144
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 7.
145
    Staff Report, “Bringing Dark Patterns to Light,” US Federal Trade Commission, September 2022, available at
https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14.2022%20-
%20FINAL.pdf, at p. 23.
146
    Jelinek, Andrea, et al., “Dark patterns in social media platform interfaces: How to recognise and avoid them,”
European Data Protection Board, March 14, 2022, available at https://edpb.europa.eu/system/files/2022-
03/edpb_03-2022_guidelines_on_dark_patterns_in_social_media_platform_interfaces_en.pdf, at p. 16.
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 confusing the user or limiting                                                 highly positive outlook, making
 discoverability of important action   Example: presenting the subtotal         users feel good or safe, or a highly
 possibilities… Interface              price in a bright green highlighted      negative one, making users feel
 interference manifests as numerous    box, then listing additional             anxious or guilty. The manner in
 individual visual and interactive     mandatory taxes and fees below in a      which the information is presented
 deceptions, and is thus our most      non-highlighted section so users         to users influences their emotional
 involved strategy with three          don’t notice their final total will be   state in a way that is likely to lead
 subtypes: hidden information,         higher.                                  them to act against their data
 preselection, and aesthetic                                                    protection interests
 manipulation…
 [Aesthetic manipulation relates to]
 instances where manipulation of
 aesthetic characteristics leads to
 misunderstanding of hierarchy,
 content type, or unrealistic sense
 of urgency.

Note: Emphasis added with bolded text

  99.   Although the three “dark pattern” categories clearly vary by name and behavior, Mr.
        Schneier invokes all three to support a singular argument and states that two of the three
        “roughly correspond” to one another. 147 However, there are distinct differences among
        the definitions that Mr. Schneier fails to recognize. This calls into question how he
        intended to apply these “dark patterns” categories to Google. Additionally, it is not
        possible to determine whether Mr. Schneier intended to group all three of the above
        definitions into the same category of “dark pattern,” as he fails to provide his perspective
        on how any of these three definitions apply to the facts of this case. What is clear, as
        described below, is that at least two of the definitions are not contextually applicable to
        Google’s statements about privacy and user control.

  100. A brief review of the definitions in Table 3 shows that there is an inconsistency in the
        “dark pattern” behavior described. Specifically, Dr. Gray’s definition of “aesthetic
        manipulation” focuses on the manipulation of user interfaces in a manner that creates a
        misunderstanding of hierarchy, content type, or an unrealistic sense of urgency. 148 An
        example of misunderstanding of hierarchy includes visually providing users with one or


147
    Schneier Report, ¶¶ 340-343. Mr. Schneier states that “Google’s behavior around privacy controls in general and
WAA/sWAA in particular exemplifies interface interference, misdirection, and emotional steering.”
148
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
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        more options in a hierarchical manner where one option takes precedence over others,
        when instead the options should be parallel and equal. 149 In contrast, the FTC’s definition
        of “misdirection” involves creating an interface that utilizes style and design to distract a
        user’s attention away from a portion of the screen. 150 Lastly, the EU’s category of
        “emotional steering” relates to using wording or visuals on the screen to influence a
        user’s emotional state in a negative or positive manner that is likely to lead them to act
        against their data protection interests. 151 Mr. Schneier states that “emotional steering”
        roughly corresponds to “aesthetic manipulation,” but the definitions are clearly not
        related to each other. 152

  101. As I discuss in detail below, Google designs its interfaces with the user in mind,
        providing users with control and choices according to the principle of progressive
        disclosure. 153 Additionally, Google’s UI design lets users review information at varying
        levels of granularity depending on their unique preferences, and decide whether they
        would like to, for example, click on a link to learn more. My analysis of Google’s UI
        below will show that Mr. Schneier’s “dark pattern” claims are unfounded and
        unsubstantiated.

                 2. Mr. Schneier’s Opinions Are Not Based on Scientific Reasoning or
                      Evidence

  102. In reviewing the Complaint, I was not able to locate even a single instance of the term
        “dark pattern” and I am unaware of any allegation in this case that Google’s UI relating
        to WAA and sWAA settings constitutes a “dark pattern.”



149
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 7.
150
    Staff Report, “Bringing Dark Patterns to Light,” US Federal Trade Commission, September 2022, available at
https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14.2022%20-
%20FINAL.pdf, at p. 23.
151
    Jelinek, Andrea, et al., “Dark patterns in social media platform interfaces: How to recognise and avoid them,”
European Data Protection Board, March 14, 2022, available at https://edpb.europa.eu/system/files/2022-
03/edpb_03-2022_guidelines_on_dark_patterns_in_social_media_platform_interfaces_en.pdf, at p. 16.
152
    Schneier Report, ¶ 342.
153
    See Section VII.A above.
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  103. Mr. Schneier’s reliance on “dark pattern” categories as applied to this case does not
        appear to be scientific testimony because, as stated earlier, the current descriptive work
        on “dark patterns” is not grounded in scientific methods. Additionally, Mr. Schneier fails
        to properly apply any definition of “dark patterns,” or any related methodology, to the
        facts of the case prior to drawing his conclusions. Rather, he simply compiles
        descriptions of various matters that do not involve application of “dark patterns”, and that
        have no connection to the facts of this case, for the purpose of shedding a negative light
        on Google. For example, soon after introducing the definition of a “dark pattern” in his
        report, Mr. Schneier provides examples of recent enforcement efforts by the FTC
        unconnected to Google. 154 These enforcement examples are completely unrelated to the
        facts of this matter. Specifically, the deceptive behavior cited across the cases provided
        relate to hiding full costs of leasing payment plans, hidden loan fees, misleading
        statements about free tax filing services, misrepresentations regarding credit card pre-
        approval, obstacles to canceling contracts, and duping consumers into making
        unintentional purchases. 155 Mr. Schneier also makes references to fines levied on Google
        by international organizations. 156 However, the fines relate to Google’s business
        relationships with device manufacturers, which is completely irrelevant to this case or to
        the concept of “dark patterns.”

  104. To the extent Mr. Schneier asserts that any attempt to influence a user into action is a
        “dark pattern,” that would imply that any and all consumer advertising or user-facing
        activity by any business could be construed as a “dark pattern.” It is the goal of business
        to persuade consumers to buy or consume certain products or services. Such goals are
        appropriate and do not constitute, in and of themselves, “dark patterns.” It is therefore not
        at all clear where Mr. Schneier proposes to draw the line between the legitimate efforts of
        businesses to influence consumers and deceptive efforts to trick consumers into doing
        things against their wishes. Yet, Mr. Schneier asserts without support that Google has
        somehow crossed that line.


154
    Schneier Report, ¶ 174.
155
    Schneier Report, ¶ 174.
156
    Schneier Report, ¶ 199-200.
                                                     44
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  105. For example, Mr. Schneier states that due to the scale of Google, and the range of
        information that it collects about its users, Google’s data collection practices “can be
        characterized as a form of pervasive monitoring.” 157 He then asserts that “[pervasive
        monitoring] is an attack on the privacy of internet users and organisations.” 158 However,
        Mr. Schneier makes this determination in the absence of evidence and without proper
        analysis. Rather than stating that Google’s data collection practices “can be characterized
        as a form of pervasive monitoring,” (emphasis added) Mr. Schneier should instead
        provide a clear definition of pervasive monitoring, apply it to the facts of this case to
        determine whether pervasive monitoring is or is not present, and then explain why the
        behavior constitutes a “dark pattern.” 159 Contrary to Mr. Schneier’s assertions, Google
        provides users with a myriad of privacy controls and users consent to the collection of
        their data.

             B. Google’s WAA and sWAA Do Not Exemplify “Dark Patterns”

  106. As stated earlier, this case involves individuals who turned off Google WAA and/or
        sWAA settings but whose devices continued transmitting data to Google as a result of
        code embedded within non-Google apps–namely the Google Analytics for Firebase SDK
        and the Google Mobile Ads SDK. Mr. Schneier’s main argument is that the disclosures
        surrounding WAA and/or sWAA settings exemplify a “dark pattern” because the
        disclosures do not include details regarding Google’s separate business-facing products
        and services, which operate independently from a user’s Google Account. In this section
        I detail why Google’s WAA and sWAA settings and their corresponding disclosures do
        not exemplify “dark patterns.”

  107. First, in my research I have not found any literature that would classify disclosures like
        those accompanying Google’s WAA and sWAA settings as a “dark pattern.” Moreover,
        the allegations at issue do not meet the criteria for any of the “dark pattern” category
        definitions that Mr. Schneier provides within his report, especially because the


157
    Schneier Report, ¶ 188.
158
    Schneier Report, ¶ 188; Farrell, Stephen and Hannes Tschofenig, “Pervasive monitoring is an attack,” Best
Current Practice, Vol. 188, Internet Engineering Task Force, (May 2014): 1-6, at p. 2.
159
    Schneier Report, ¶ 188.
                                                        45
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           allegations are about users who already have WAA and sWAA turned off, not users who
           were manipulated into doing anything they would not otherwise have done.

  108. Second, Mr. Schneier’s claim appears to rest on his own interpretation of the language in
           the disclosures surrounding Google’ WAA and sWAA, despite clear and unambiguous
           language that the WAA and sWAA settings were designed exclusively to manage the
           saving of activity in a user’s Google Account. Principles of good UI design support the
           appropriateness of limiting disclosures, especially in the context of disclosures relating to
           a user’s Google Account, to only what is relevant for a user’s Google Account. Providing
           information about the virtually unlimited set of features that the WAA settings do not
           control outside of their Google Accounts would overwhelm users and keep them from
           what they actually need to know about that setting.

  109. Third, Google not only encourages, but requires third-party apps that utilize the Firebase
           SDK to include disclosures in their privacy policy, which state that Google is collecting
           and saving information related to their activity on such apps. This makes sense from a UI
           design perspective: disclosures related to data collection pertaining to third-party apps
           belong in the third-party app user agreements.

                   1. Google’s WAA Help Page

  110. As mentioned in Section VIII.A.1, Mr. Schneier offers definitions of the “dark pattern”
           category of “sneaking” from several sources and interprets all the definitions as
           equivalent. However, the definitions are inconsistent, subjective, and lack a reliable or
           valid foundation. Nevertheless, Mr. Schneier cites these inconsistent sources in support of
           an argument that Google engages in “sneaking” and therefore Google’s WAA Help Page
           exemplifies “dark patterns.” Mr. Schneier claims that Google hides important information
           on the WAA Help Page, and “fails to explicitly distinguish between the collection and
           saving of web and app activity data within one’s ‘Google Account’ and the collection and
           saving of the same data outside of one’s ‘Google Account.’” 160




160
      Schneier Report, ¶ 315.
                                                    46
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  111. Mr. Schneier speculates that the “negative implication” of the language on the WAA
        Help Page is that “disabling WAA and sWAA will disable Google’s collection, retention,
        and utilization of data about one’s online activity” 161 as it relates to both a user’s Google
        Account, as well as Google’s other business-facing products and services that are entirely
        separate from a user’s Google Account. Mr. Schneier offers no evidence that his own
        interpretation of the language reflects a common user perception. Indeed, an empirical
        study that measures user perceptions related to WAA and sWAA settings would be
        required to reach such conclusions.

  112. In reaching his own interpretation that the disclosures within Google’s WAA Help Page
        applies more broadly than to a user’s “Google Account,” Mr. Schneier conveniently
        ignores that the WAA Help Page is in fact nested within the “Google Account Help”
        page, despite referencing it as such in his report. 162 In addition, the WAA Help Page
        explicitly states that it pertains to what is saved in a user’s Google Account. This is made
        clear in the very first line that appears in the help page, as it states “If Web & App
        Activity is turned on, your searches and activity from other Google services are saved in
        your Google Account,” 163 (emphasis added) a statement that Mr. Schneier also cites in his
        report. 164 Such disclosures that present only the information relevant for the context that
        the setting is designed to manage are consistent with the principles of good UI design.
        Mr. Schneier’s suggestion of providing information about features and products outside
        of the scope of a user’s Google Account that the WAA settings do not control would
        overwhelm users and would be inconsistent with the principles of good UI design.

  113. Mr. Schneier also analyzes the WAA Help Page in a vacuum. Mr. Schneier fails to
        communicate that users do not adjust their Web & App Activity settings from the WAA
        Help Page, but instead are required to navigate to the Activity Controls page to make any
        changes. By doing so, users are exposed to additional disclosures which clearly



161
    Schneier Report, ¶ 316.
162
    See, e.g., Schneier Report, fn. 362, 363, 364.
163
    “Find & control your Web & App Activity,” Google Account Help, available at
https://support.google.com/accounts/answer/54068.
164
    Schneier Report, ¶ 314.
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     communicate that all settings within the page apply only to controlling data saved in their
     Google Account. Accordingly, when a user turns WAA on or off, they have been
     exposed to numerous disclosures that state explicitly that the setting applies to saving
     activity in their Google Account. Similarly to the WAA Help Page, the Activity Controls
     page does not, nor is it supposed to, communicate that WAA, whether on or off, controls
     third-party apps’ use of analytics. Mr. Schneier also ignores the many informational
     hyperlinks that are available to users within the page, some of which provide context to
     WAA privacy controls. Below are screenshots that show the navigational path users can
     follow when they choose to turn off the WAA setting from Google’s WAA Help Page.




114. More broadly, the behavior described in Dr. Gray’s definition does not apply to Google’s
     WAA Help Page. As previously shown in Table 1, Dr. Gray defines “sneaking” as

            “an attempt to hide, disguise, or delay the divulging of information that has
            relevance to the user. Sneaking often occurs in order to make the user perform an
            action they may object to if they had knowledge of it. Sneaking behaviors may




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                 include additional undisclosed costs or undesired effects from a particular
                 action”. 165

  115. This case does not allege that users suffered undesired results when turning on the WAA
        toggle. It is about what users believe happens after they turn it off. Specifically, users
        allegedly do not understand that an entirely separate, business-facing product (Google
        Analytics) can still collect their information when they are using third-party websites like
        the New York Times. This cannot constitute “sneaking” because, as discussed above, the
        WAA toggle is only described as affecting a user’s Google Account. The WAA
        disclosures therefore cannot possibly result in “undesired effects” with respect to Google
        Analytics. Accordingly, Mr. Schneier’s reliance on Dr. Gray’s definition of “sneaking” to
        prove that Google’s WAA Help Page exemplifies a “dark pattern,” is unfounded.

  116. WAA disclosures similarly cannot result in “undesired effects” with respect to
        information that may be collected by apps that use Google AdMob or Ad Manager by
        embedding the Google Mobile Ads SDK (“GMA SDK”). The WAA disclosures present
        the relevant information that users need to know about the WAA setting to understand its
        function–controlling what user activity may be saved to a user’s account for purposes of
        personalization. These disclosures do not imply that GMA SDK cannot save app activity
        data at all. They do not, and are not intended to, communicate that WAA, whether on or
        off, controls third-party apps’ use of ads-related analytics. Once again, this cannot
        constitute “sneaking” because, as discussed above, the WAA toggle is only described as
        affecting a user’s Google Account.

  117. Mr. Schneier also fails to specify how Google’s WAA Help Page satisfies either of the
        other two definitions of “sneaking” he cites. Mr. Schneier’s approach reinforces my
        observation that there exists no objective foundation for identifying a “dark pattern.”




165
   Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 6.
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  118. Specifically, Mr. Schneier cites the FTC’s category of “sneaking or information hiding”
        to support his conclusion that Google’s WAA Help Page exemplifies “dark patterns.” 166
        As previously shown in Table 1, the FTC defines “sneaking or information hiding” as

                 “Automatically adding items to the shopping cart without a shopper’s permission
                 OR Tricking a shopper into buying unwanted items by using a pre-checked box

                 Hiding material information or significant product limitations from people
                 Example: hiding info in fine print, in lengthy terms of service documents, behind
                 nondescript hyperlinks, or in pop-up boxes that only appear if someone hovers
                 over the right thing.” 167

  119. Again, neither context discussed in the above definition applies to Google’s WAA Help
        Page. Specifically, the first portion of the FTC’s definition is in relation to “dark
        patterns” associated with consumer shopping experiences, which is not relevant to the
        WAA Help Page or topics discussed in this matter. Similarly, the second portion of the
        FTC’s definition of “sneaking or information hiding” relates to affirmatively hiding
        material information deep within lengthy documents, or behind nondescript hyperlinks
        and pop-up boxes. Here, the WAA Help Page clearly describes the purpose and benefits
        associated with the WAA toggle. Accordingly, Mr. Schneier’s reliance on the FTC’s
        definition of “sneaking” to prove that Google’s WAA Help Page exemplifies a “dark
        pattern” is unfounded.

  120. Mr. Schneier also relies on the EU’s category of “left in the dark” to support his
        conclusion that Google’s WAA Help Page exemplifies “dark patterns.” 168 The EU
        defines “left in the dark” as




166
    Schneier Report, ¶ 312.
167
    Staff Report, “Bringing Dark Patterns to Light,” US Federal Trade Commission, September 2022, available at
https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14.2022%20-
%20FINAL.pdf.
168
    Schneier Report, ¶ 313.
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                  “an interface is designed in a way to hide information or data protection control
                  tools or to leave users unsure of how their data is processed and what kind of
                  control they might have over it regarding the exercise of their rights.” 169

  121. The EU also provides examples of the ways users may be “left in the dark.” The
         scenarios include users being presented with conflicting information, ambiguous
         wording, or language discontinuity. None of the “left in the dark” scenarios apply here as
         the language in Google’s WAA Help Page clearly describes the purpose and benefits of
         the WAA toggle. Moreover, Mr. Schneier cannot credibly claim that Google leaves users
         in the dark about how third-party apps using Google Analytics for Firebase may use their
         data because Google requires all apps using its analytics SDKs to disclose their use of
         analytics to users. 170 This includes the Firebase and Google Mobile Ads SDKs. 171 Mr.
         Schneier fails to explain how Google’s WAA Help Page presents users with conflicting
         information, ambiguous wording related to activity saved outside of a user’s Google
         Account, or language discontinuity. Accordingly, Mr. Schneier’s reliance on the EU’s
         definition of “left in the dark” to prove that Google’s WAA Help Page exemplifies a
         “dark pattern” is unfounded.



169
    Jelinek, Andrea, et al., “Dark patterns in social media platform interfaces: How to recognise and avoid them,”
European Data Protection Board, March 14, 2022, available at https://edpb.europa.eu/system/files/2022-
03/edpb_03-2022_guidelines_on_dark_patterns_in_social_media_platform_interfaces_en.pdf, at pp. 2-3.
170
    See Google Analytics Terms of Service, Google Marketing Platform, available at
https://marketingplatform.google.com/about/analytics/terms/us/ (“You must post a Privacy Policy and that Privacy
Policy must provide notice of Your use of cookies, identifiers for mobile devices (e.g., Android Advertising
Identifier or Advertising Identifier for iOS) or similar technology used to collect data. You must disclose the use of
Google Analytics, and how it collects and processes data. This can be done by displaying a prominent link to the site
‘How Google uses information from sites or apps that use our services’, (located at
www.google.com/policies/privacy/partners/, or any other URL that Google may provide from time to time). You
will use commercially reasonable efforts to ensure that a User is provided with clear and comprehensive information
about, and consents to, the storing and accessing of cookies or other information on the User’s device where such
activity occurs in connection with the Service and where providing such information and obtaining such consent is
required by law.”).
171
    See, e.g., “Google Publisher Policies,” Google AdMob Help, available at
https://support.google.com/admob/answer/10502938 (“Publishers must: have and abide by a privacy policy that
clearly discloses any data collection, sharing and usage that takes place on any site, app, email publication or other
property as a consequence of your use of Google products. The privacy policy must disclose to users that third
parties may be placing and reading cookies on your users’ browsers, or using web beacons to collect information as
a result of ad serving on your website. To comply with this disclosure obligation with respect to Google’s use of
data, you have the option to display a prominent link to How Google uses data when you use our partners’ sites or
apps.”).
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  122. Mr. Schneier also cites articles, Google employee statements, and plaintiff testimony in
          support of his conclusions. However, my analysis in the table below shows that the
          sources relied upon by Mr. Schneier do not support the claims that he asserts.

  Table 4: Responses to Mr. Schneier’s Claims that Google’s WAA Help Page Exemplifies
                                    “Dark Patterns”
            Schneier Report                     Schneier’s Claims                   Response to Mr. Schneier’s
                                                                                             Claims

 ¶ 321, FN 366                          A 2022 CNet article, titled “Is          This article is about shutting off
 (Fogarty, Kelsey, and Zachary          Google tracking you? Here’s how to       location tracking, and its mentions
 McAuliffe, “Here’s How You Can         check and stop it,” directs users to     of WAA are ancillary and not
 Stop Google From Following You         “Stop Google from collecting your        relevant to this case. Mr. Schneier
 On Vacation,” CNET, May 4, 2023,       web and app activity” by turning off     makes a superficial connection
 available at                           the WAA controls, with no further        between the complaints raised by
 https://www.cnet.com/tech/services     discussion of the data collection that   the authors of this article and the
 -and-software/heres-how-you-can-       continues to occur even after this is    facts underlying Plaintiffs’
 stop-google-from-following-you-        done.                                    allegations. At issue in this case is
 on-vacation/)                                                                   app activity data that Google
                                                                                 received from developers using
                                                                                 GA4F. It is not the type of data
                                                                                 contemplated by this article, which
                                                                                 is GAIA-tied web and app activity,
                                                                                 not pseudonymized data that
                                                                                 Google processes for analytics
                                                                                 purposes.

 ¶ 322-324, FN 367-370                  Google’s employees were fooled,          Mr. Schneier does not give the full
 (Ruemmler Deposition, pp. 72:22-       too. In his deposition, Chris            picture. In his deposition, Mr.
 25, 73:1-3, 74:13-14, 79:18-20,        Ruemmler stated that he had been         Ruemmler explained that his
 135:20-25, 136:1, 155:16-25,           unclear about what exactly WAA           experience at Google was in the
 156:1-7)                               controlled in 2019, then again in        Workspace and Gmail team, where
                                        2020, even as he was involved in         “everything is GAIA tied.” 172 So,
                                        discussions about the name “Web &        he had assumed that “if it’s not
                                        App Activity” and the disclosures        GAIA tied, it’s not there.” Mr.
                                        made to users about WAA. He              Ruemmler’s knowledge on how
                                        described how, when the WAA              Google may collect user activity
                                        control is turned off, user activity     was rooted in his work separate
                                        continues to be collected by             from WAA. Mr. Ruemmler also
                                        Google—a concept that he, a              testified that he had a
                                        Google software engineer, had not        “misunderstanding with the way
                                        previously understood.                   WAA works,” and further stated
                                                                                 that “after gaining more
                                                                                 knowledge,” he became aware of
                                                                                 Google’s “other mechanisms used
                                                                                 to store the data at Google




172
      Deposition of Christopher Ruemmler, September 9, 2022 (“Ruemmler Deposition”), pp. 74:4-24, 75:23-77:11.
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                                                                                anonymously.” 173


 ¶ 324, FN 371                          Mr. Ruemmler encouraged                 The email from Mr. Ruemmler
 (GOOG-RDGZ-00024709, at -710-          revisions to the WAA Help Page in       referenced by Mr. Schneier shows
 711)                                   a July 2019 email, warning that         that Mr. Monsees responded by
                                        “[t]he WAA and other controls           stating that he has “discussed
                                        imply we don’t log the data, but        rewrites of all the UDC help center
                                        obviously we do. We need to             articles (including WAA/sWAA) to
                                        change the description to indicate      create a more consistent structure to
                                        even with the control off, Google       explain the kind of ‘if it’s on’ vs. ‘if
                                        retains this data and uses it for X     it’s off’ points” brought up by Mr.
                                        purposes” and to “indicate that         Ruemmler. 174 The testimony and
                                        WAA off is identical to being not       email both support the fact that
                                        logged into your account (data          Google is customer-centric and
                                        logged, but not tied to your            strives to improve its products for
                                        account).                               users.

 ¶ 325, FN 372                          Mr. Ruemmler reiterated his             As discussed above, Mr. Schneier
 (GOOG-RDGZ-00130381)                   concerns about the WAA Help Page        cherry picks excerpts from Mr.
                                        later that year in another email to     Ruemmler’s emails and does not
                                        colleagues: “Isn’t WAA off              pair them with Mr. Ruemmler’s
                                        supposed to NOT log at all? At least    own testimony on the points raised.
                                        that is what is implied from the        At deposition, Mr. Ruemmler
                                        WAA page [hyperlink]. So, if WAA        explained that he had a
                                        is off, how are we [Google] able to     “misunderstanding” about WAA. 175
                                        log at all?”                            He told Plaintiffs that his work was
                                                                                in the Workspace and Gmail team,
                                                                                where “everything is GAIA tied,”
                                                                                and that he does not “work in
                                                                                WAA.” So, he had assumed that “if
                                                                                it's not GAIA tied, it's not there.”
                                                                                Mr. Ruemmler stated that “after
                                                                                gaining more knowledge,” he
                                                                                became aware of Google’s “other
                                                                                mechanisms used to store the data




173
    Ruemmler Deposition, pp. 72:21-73:3 (“So I believe this is my misunderstanding with the way WAA works. So
this was back before I had more knowledge about the way WAA works. And I thought at that time if the opposite of
on and off, if it was off, well, we just didn't, you know, send any of this data to Google. But that’s not right. It’s
really you don't associate the data that's sent to Google with a GAIA ID, which we call keyed by GAIA ID.”), 74:4-
24, 75:23-77:11 (“But like I said, I work in Workspace. Everything is GAIA tied. So if it’s not GAIA tied, it’s not
there; right? There's no notion of something other than GAIA tied. That’s just my background. . .So I probably had
the impression back then that when WAA is on, it’s associated with a particular user in My Activity and when WAA
is off, well, there’s no association anymore because you can't GAIA tie it anymore to save it, so there’s no data
being sent; right? But I don’t believe that's the way it works. Again, I don’t work in WAA. . . Right now, after
gaining more knowledge, I believe there’s other mechanisms used to store the data at Google anonymously. . . What
do you mean by “anonymously”?. . .Not tied to a GAIA ID.”).
174
    GOOG-RDGZ-00024709 (Email from Chris Ruemmler titled “Word changes for WAA bit,” July 25, 2019, at -
709-711).
175
    Ruemmler Deposition, pp. 72:21-73:3.
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                                                                                at Google anonymously.” 176

 ¶ 327-330, FN 373-375                 Plaintiff Sal Cataldo testified that     Four people’s testimony on their
 (Santiago Deposition, pp. 39:12-15,   Google’s disclosures about WAA           impression of WAA disclosures
 145:11-15; Harvey Deposition, pp.     list “what gets saved,” then state       cannot be generalized across all of
 83:15-22; Rodriguez Deposition,       that, “To let Google save this           Google’s users. Indeed, each
 pp. 94:18-97:8)                       information, Web & App Activity          plaintiff testified that
                                       must be on.” Mr. Cataldo                 notwithstanding their impressions
                                       continued: “So if I don’t want to let    of WAA after initiating this case,
                                       Google save that information, I turn     they have not changed their
                                       it off.” Mr. Cataldo summarized his      behavior and continue to use apps
                                       understanding as follows: “That’s        on their Android devices. 177 This
                                       pretty simple. That’s pretty             testimony thus cannot be used to
                                       elementary.”                             support Mr. Schneier’s claim that
                                                                                Google’s WAA Help Page
                                       Plaintiff Julian Santiago likewise       exemplifies “dark patterns.”
                                       testified: “If I had web-and-app         Moreover, Mr. Schneier has not
                                       activity on, I would be giving           conducted a study on user’s
                                       Google permission to collect my          perception on Google’s WAA help
                                       private—my information. I have           page.
                                       web-and-app activity off. Therefore,
                                       I did not give them permission.” He
                                       continued: “They make a very clear
                                       in the web-and-app activity page
                                       that web-and-app activity must be
                                       on for all those things that they list
                                       out, those bullet points to track. So
                                       if it’s off, they’re not tracking.”

                                       Plaintiff Susan Lynn Harvey
                                       likewise testified: “When [WAA] is
                                       on, you can include...sites and apps
                                       that use Google services.... And to
                                       let Google save this information,
                                       I’m supposed to have turned it on.
                                       And I turned it off so that couldn’t
                                       be done.”

                                       Plaintiff Anibal Rodriguez likewise
                                       testified: “[W]hen WAA is on, it
                                       does say...you can include
                                       additional activities.... Also and it
                                       does say here: ‘To let Google save
                                       this information, Web & App
                                       Activity must be turned on.’ So if I
                                       say I don’t want it on, I would
                                       assume that everything you’re

176
   Ruemmler Deposition, pp. 74:12-24, 75:23-77:11.
177
   Deposition of Sal Cataldo, February 17, 2022 (“Cataldo Deposition”), pp. 187:25-188:13; Deposition of Julian
Santiago, March 7, 2022 (“Santiago Deposition”), pp. 154:19-155:11; Deposition of Susan Harvey, October 27,
2022 (“Harvey Deposition”), pp. 250:7-252:4; Deposition of Anibal Rodriguez, October 16, 2022 (“Rodriguez
Deposition”), pp. 82:22-84:15.
                                                        54
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                                         telling me that comes along with it
                                         being on would be turned off.”

 ¶ 331, FN 376                           As Google’s Vice President of            Mr. Schneier uses the quote out of
 (GOOG-RDGZ-00188868, at -887)           Marketing Cassidy Morgan put it in       context. The document cited by Mr.
                                         a 2020 interview, “What drives           Schneier appears to be a
                                         users crazy is when we do stuff that     compilation of conversations with
                                         feels clandestine” and “when we do       Google's PrivacyNative team and
                                         stuff that they don’t have the ability   various stakeholders. Ms. Morgan,
                                         to have an exit door.” Google’s          as Mr. Schneier points out, is
                                         systems do not provide an exit from      Google’s Vice President of
                                         collection of data from users’ app       Marketing. Ms. Morgan is not
                                         usage and other online activity,         commenting on Google’s WAA and
                                         even as they claim to provide such       sWAA controls when making the
                                         an exit by means of the WAA and          statements cited by Mr. Schneier.
                                         sWAA controls.




  123. In sum, Mr. Schneier introduces three definitions related to the “dark pattern” of
           “sneaking” and, based solely on his personal interpretation of the language in Google’s
           WAA Help Page concludes that it exemplifies “dark patterns.” In doing so, he ignores the
           stated purpose of the page and the explicit communication by Google that the WAA
           controls apply to whether certain data is saved to the user’s Google Account. Mr.
           Schneier fails to account for the fact that principles of good UI design, not to mention
           common sense, require exactly this type of concise disclosure–not a lengthy description
           of everything but the kitchen sink the WAA control does not do, no matter how unrelated
           to its functionality.

                   2. Disclosures Accompanying the WAA and sWAA Toggles

  124. Mr. Schneier also invokes the “dark pattern” category of “sneaking” to conclude that
           Google’s disclosures accompanying the WAA and sWAA toggles, including the
           “Activity Controls” page, exemplify “dark patterns.” 178 Mr. Schneier argues that the
           Activity Controls subsection of the Privacy Policy fails to “inform users that these
           ‘activity controls’ will not prevent Google from collecting and saving data about users’




178
      Schneier Report, ¶ 332.
                                                          55
      Case
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        web and app activity, and that the controls merely decide whether the data will be
        explicitly associated with the user’s Google Account.” 179

  125. Similar to the claims Mr. Schneier made about Google’s WAA Help Page, Mr.
        Schneier’s claim about the disclosures around the WAA and sWAA toggles also rest on
        his own interpretation of the language in these disclosures, rather than any common user
        perception of the meaning of this language. Despite acknowledging that the Activity
        Controls are nested within the “Privacy Policy” page and state that users can “Decide
        what types of activity you’d like saved in your account” 180 (emphasis added), Mr.
        Schneier complains that they do not disclose that data is saved anywhere else. The
        disclosure also states that “if you have Web & App Activity turned on, your searches and
        activity from other Google services are saved in your account so you can get more
        personalized experiences like faster searches and more helpful app and content
        recommendations….” 181 (emphasis added) Accordingly, when a user reads the Activity
        Controls subsection of the Privacy Policy, they have been exposed to numerous
        disclosures that state explicitly that the setting applies to saving activity in their Google
        Account. The Activity Controls subsection does not communicate anything regarding
        Google’s business-facing analytics services or whether they could continue functioning
        despite WAA being off. Below is a screenshot of the Activity Controls subsection within
        the Privacy Policy:




179
    Schneier Report, ¶ 333.
180
    Schneier Report, ¶ 333.
181
    “Privacy Policy,” Google Privacy & Terms, December 15, 2022, available at
https://policies.google.com/privacy.
                                                      56
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  126. Again, the Privacy Policy explicitly communicates to users what the Activity Controls
           actually do, without overwhelming users with information about what the activity
           controls do not do. This approach is consistent with the principles of good UI design that
           support the appropriateness of limiting disclosures to only what is most relevant to a user,
           in this case the types of activity that are saved to a Google Account for the purpose of
           personalization.

  127. Users receive a number of additional disclosures prior to adjusting their Web & App
           Activity settings on the Activity controls page that also clearly communicate that the
           settings within the page apply only to controlling data saved in their Google Account. 182
           Screenshots of the Activity controls page, as well as relevant hyperlinked subsections
           within the Safety Center Privacy controls page are shown below:


182
      “Activity controls,” Google Account, available at https://myactivity.google.com/activitycontrols.
                                                           57
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  128. The screenshots above show that directly underneath the two introductory sentences of
           the Activity controls page, an instruction and link appears which states “Safer with
           Google You control what data gets saved to your account. Learn more.” (emphasis
           added) Additionally, there is a description of WAA data, including details on how
           Google can use WAA data to improve its products and services to users. Furthermore,
           should the user want to “Learn More” about what data gets saved to their Google
           Account, users can click on the provided link. The link leads users to the Safety Center
           Privacy controls page, which begins with the title “Privacy tools that put you in control”
           (emphasis in red box added) and describes various settings in detail, all provided to assist
           the user in protecting their privacy. 183 Additionally, towards the bottom of such a page
           users are presented with a section titled “ACTIVITY CONTROLS Control what data gets
           saved to your Google Account.” 184 (emphasis in text and red box added) This section also
           explicitly communicates that Activity controls allow users to “decide what types of




183
      “Privacy controls,” Google Safety Center, available at https://safety.google/intl/en/privacy/privacy-controls/.
184
      “Privacy controls,” Google Safety Center, available at https://safety.google/intl/en/privacy/privacy-controls/.
                                                            58
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          activity are tied to [their] account” (emphasis in text and red box added) and
          communicates to the user that only “specific” types of data can be paused.

      129.         Mr. Schneier also cites an email from Chris Ruemmler, a Google employee, to
          support his conclusions. However, Mr. Schneier mischaracterizes Chris Ruemmler’s
          email, as my analysis below shows that the email is taken out of context and does not
          support the claims asserted by Mr. Schneier.

Table 5: Responses to Mr. Schneier’s Claims that Google’s Disclosures Accompanying the
                 WAA and sWAA Toggles Exemplify “Dark Patterns”

         Schneier Report Source                  Schneier’s Claims                  Response to Mr. Schneier’s
                                                                                             Claims

 ¶ 334, FN 378                          In August 2019, Chris Ruemmler           As discussed in Table 4 above, Mr.
 (GOOG-RDGZ-00130322)                   commented regarding Google’s             Schneier repeatedly cherry picks
                                        “Activity Controls” page: “I don't       Mr. Ruemmler’s emails and
                                        see how this text can't need             disregards Mr. Ruemmler’s own
                                        modification. An "on/off' toggle         testimony about how the WAA
                                        means the off state is the opposite      toggle worked. At deposition, Mr.
                                        of the on state. If the on state is we   Ruemmler explained that he had a
                                        log your activity, the off state is we   “misunderstanding” about WAA. 185
                                        don't log your activity. But, the        He told Plaintiffs that his work was
                                        proposal is to temporarily log           in the Workspace and Gmail team,
                                        activity, so something needs to          where “everything is GAIA tied,”
                                        change here.”                            and that he does not “work in
                                                                                 WAA.” So, he had assumed that “if
                                                                                 it's not GAIA tied, it's not there.”
                                                                                 Mr. Ruemmler stated that “after
                                                                                 gaining more knowledge,” he
                                                                                 became aware of Google’s “other
                                                                                 mechanisms used to store the data
                                                                                 at Google anonymously.” 186




  130. Mr. Schneier relies on the three previously defined “dark patterns” of “sneaking” to
          conclude that Google’s disclosures accompanying the WAA and sWAA toggles,
          including the “Activity Controls” page, exemplify “dark patterns.” However, he does so
          without conducting any kind of analysis. Even a brief inspection shows that the
          definitions of the “dark pattern” category of “sneaking” are contextually inapplicable to

185
      Ruemmler Deposition, pp. 72:21-73:3
186
      Ruemmler Deposition, pp. 74:12-24, 75:23-77:11.
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        such disclosures and the “Activity Controls” page. Instead, Google’s disclosures
        accompanying the WAA and sWAA toggles, including the “Activity Controls” page,
        explicitly communicate that the WAA controls apply to data saved to the user’s Google
        Account. As a result, Mr. Schneier conclusions are unfounded.

                3. Google Statements about Privacy and User Control

  131. As discussed in Section VIII.A.1, Mr. Schneier cites the “dark pattern” categories of
        “aesthetic manipulation,” “misdirection,” and “emotional steering” to support the
        argument that Google statements about privacy and user control exemplify “dark
        patterns.” 187 Specifically, Mr. Schneier argues that:

                “Google’s behavior around privacy controls in general and WAA/sWAA in
                particular exemplifies interface interference, misdirection, and emotional steering.
                Google repeatedly reassures users that they are in control of their privacy, and
                over the data that Google collects and saves. These substantial-sounding
                assurances reflect the objective of helping users to feel comfortable and to make
                privacy choices deemed most favorable by Google.” 188

  132. However, Mr. Schneier fails to indicate how Google’s behavior around privacy controls
        in general and WAA/sWAA directly satisfies any of the three definitions. For example,
        as discussed above both the “dark patterns” of interface interference and misdirection
        involve some form of the manipulation of aesthetics, style, or design of a user
        interface. 189 Therefore at the very least both “dark patterns” appear to be contextually
        inapplicable to general statements or so called reassurances made by Google. In addition,
        Mr. Schneier argues that Google is somehow reassuring users that they are in control of
        their privacy as a tactic to influence such users to make choices most favorable to
        Google. In support, Mr. Schneier cites a page from an internal Google document
        regarding guidance for translating consent-bump text. 190 However, the document is not


187
    Schneier Report, ¶ 340-342.
188
    Schneier Report, ¶ 343.
189
    Schneier Report, ¶ 340-341.
190
    GOOG-RDGZ-00149527 (Document titled “Draft: Documenting consent bump for translators, December 8, at -
529).
                                                   60
      Case
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        demonstrative of an intent to influence users to make choices most favorable to Google.
        Instead, it pertains to a Google objective to accurately translate changes to its Privacy
        Policy in other languages. Additionally, Mr. Schneier conveniently ignores high-level
        “key concepts” related to the drafting of text that are listed within the very page he cites,
        which include “transparency,” “simple words,” and “real choice.” 191 Such concepts
        demonstrate a clear intent on Google’s part to provide users with choices when adjusting
        privacy settings, and serve as examples of Google designing UI and privacy disclosures
        with its users in mind.

  133. Mr. Schneier also claims that Google’s Privacy Policy fails to “make the subtle but
        meaningful distinction that turning off the WAA and/or sWAA settings does not prevent
        Google, by means of Google services like Firebase, AdMob, and the AdManager, from
        collecting and saving information relating to your activity on third-party apps you install
        and use.” 192 In support, Mr. Schneier quotes the Activity Controls subsection of Google’s
        Privacy Policy which states:

                 “[I]f you have Web & App Activity turned on, your searches and activity from
                 other Google services are saved in your account so you can get more personalized
                 experiences like faster searches and more helpful app and content
                 recommendations. Web & App Activity also has a subsetting that lets you control
                 whether information about your activity on other sites, apps, and devices that
                 use Google services, such as apps you install and use on Android, is saved in
                 your Google Account and used to improve Google services.” 193

  134. Mr. Schneier draws conclusions not by focusing on what the Privacy Policy actually says,
        but instead by what it does not say. While Mr. Schneier emphasizes text in the above
        passage regarding activity recorded on third-party apps, he overlooks the language in the
        quoted text which clarifies that the WAA setting allows users to “control whether
        information about [their] activity on other sites, apps, and devices that use Google


191
    GOOG-RDGZ-00149527 (Draft: Documenting consent bump for translators, December 8, at -528-529).
192
    Schneier Report, ¶ 345.
193
    “Privacy Policy,” Google Privacy & Terms, December 15, 2022, available at https://policies.google.com/privacy.
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        services, such as apps you install and use on Android, is saved in [their] Google
        Account.” 194 (emphasis added) This means that when WAA is turned off, the same data is
        not saved in the user’s Google Account. It does not imply that third-party apps cannot
        nonetheless use Google Analytics and collect certain information. Accordingly, the
        Activity Controls subsection of the Privacy Policy explicitly communicates to users that
        activity controls enable users to control the information saved to their Google Account,
        without overwhelming users with information about what the activity controls do not do.
        Additionally, as stated in Section VIII.B.2, Mr. Schneier fails to consider the fact that
        users are required to navigate from the Privacy Policy to the Activity controls page to
        change Web & App Activity settings.195 Once at the Activity controls page, users are
        exposed to additional information which clearly communicates that the settings within
        the page only apply to controlling data saved in their Google Account. 196 (emphasis
        added)

  135. The “Sites and apps that use Google services” subsection contains a link which provides
        users with the ability to learn more about “...How Google uses information from sites or
        apps that use our services.” 197 Text within the linked Google Advertising Privacy &
        Terms page makes it clear to users that third-party sites and apps collect information and
        share it with Google. For example, the page specifically states that “Many websites and
        apps use Google services to improve their content and keep it free. When they integrate
        our services, these sites and apps share information with Google.” 198

  136. Third-party app user agreements serve as another source of information that
        communicates to users that Google is collecting and saving information related to their
        activity on such apps. In fact, Google requires third parties that utilize the Firebase SDK
        to include such disclosures in their privacy policies. 199 A review of third-party app user


194
    “Privacy Policy,” Google Privacy & Terms, December 15, 2022, available at https://policies.google.com/privacy.
195
    “Privacy Policy,” Google Privacy & Terms, December 15, 2022, available at https://policies.google.com/privacy.
196
    “Activity Controls,” Google Account, available at https://myactivity.google.com/activitycontrols.
197
    “Privacy Policy,” Google Privacy & Terms, December 15, 2022, available at https://policies.google.com/privacy.
198
    “Technologies,” Google Privacy & Terms, available at https://policies.google.com/technologies/partner-sites.
199
    See Google Analytics Terms of Service, Google Marketing Platform, available at
https://marketingplatform.google.com/about/analytics/terms/us/.
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        agreements shows that users are notified that Google may collect data related to their
        activity. For example, the Apple App Store Preview of the NY Times app contains an
        App Privacy section which provides users with a link to their privacy policy. 200 Within
        the linked New York Times Company Privacy Policy, users are notified that

                 “Google Analytics is one of the analytics providers we use. You can find out how
                 Google Analytics uses data and how to opt out of Google Analytics.” 201
                 (emphasis added; links to Google privacy pages underlined)

  137. When users click on the “how Google Analytics uses data” link, the same Google
        Advertising Privacy & Terms page discussed above appears, again making it clear to
        users that third-party sites share information about their activity with Google. 202 The
        same applies to users of the Lyft app. Lyft’s Privacy Policy states the following:

                 “Cookies, Analytics, and Third-Party Technologies. We collect information
                 through the use of “cookies”, tracking pixels, data analytics tools like Google
                 Analytics, SDKs, and other third-party technologies to understand how you
                 navigate through the Lyft Platform and interact with Lyft advertisements, to make
                 your Lyft experience safer, to learn what content is popular, to improve your site
                 experience, to serve you better ads on other sites, and to save your preferences…”
                 (emphasis added; links to Google privacy pages underlined) 203

  138. Not only does Lyft’s Privacy Policy notify users that they collect user activity through
        Google Analytics, but it also provides a “Google Analytics” link that leads users to the
        same Google Advertising Privacy & Terms page. 204

  139. Mr. Schneier also refers to Google public statements, statements by Google employees,
        and deposition testimony by the plaintiffs when forming conclusions. However, the table


200
    “The New York Times app,” Apple App Store Preview, available at https://apps.apple.com/us/app/the-new-york-
times/id284862083.
201
    “The New York Times Company Privacy Policy,” The New York Times, March 16, 2023, available at
https://help.nytimes.com/hc/en-us/articles/10940941449492-The-New-York-Times-Company-Privacy-Policy-.
202
    “Technologies,” Google Privacy & Terms, available at https://policies.google.com/technologies/partner-sites.
203
    “Lyft Privacy Policy,” Lyft, December 12, 2022, available at https://www.lyft.com/privacy.
204
    “Technologies,” Google Privacy & Terms, available at https://policies.google.com/technologies/partner-sites.
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           below demonstrates that the sources cited by Mr. Schneier cannot be relied upon to
           support the claims that he asserts.

 Table 6: Responses to Mr. Schneier’s Claims that Google’s Statements about Privacy and
                        User Control Exemplify “Dark Patterns”

         Schneier Report Source                Schneier’s Claims                Response to Mr. Schneier’s
                                                                                         Claims

 ¶ 349-350, FN 392-393                 Congressional testimony by Google     Mr. Schneier fails to acknowledge
 (“LIVE: Google CEO Sundar             CEO Sundar Pichai, who responded      that Mr. Pichai’s statement is
 Pichai testifies on data collection   to the chairman’s opening question    accurate. Users have access to
 (C-SPAN),” YouTube, December          about the ubiquity of Android data    privacy control tools. Mr. Schneier
 11, 2018, available at                collection by asserting that its      makes it appear as if privacy is an
 https://www.youtube.com/watch?v=      extent is “a choice users make.” In   all or nothing approach. He claims
 WfbTbPEEJxI; Pichai, Sundar,          May 2019, Mr. Pichai broadcast this   that “there is not any ‘control’ that
 “Google’s Sundar Pichai: Privacy      message again in a New York           will allow users to entirely prevent
 Should Not Be a Luxury Good”,         Times op-ed extolling the             Google from collecting app-activity
 The New York Times, May 7, 2019,      company’s commitment to privacy       data that Google collects.” 205 Yet,
 available at                          and user control: “To make privacy    Google provides users with access
 https://www.nytimes.com/2019/05/      real, we give you clear, meaningful   to various controls where they can
 07/opinion/google-sundar-pichai-      choices around your data.”            adjust their settings to control how
 privacy.html)                                                               and what data Google collects about
                                                                             them.

 ¶ 354, FN 403                         Google technical writer David         Mr. Schneier takes this quote from
 (GOOG-RDGZ-00149701, at -702)         Warren acknowledged that Google       an email where Google employees
                                       is “intentionally vague” about the    are comparing versions of a
                                       distinction between data saved in a   ”consent bump” disclosure in two
                                       user’s Google Account and data        languages. We have previously
                                       “collected outside of their Google    established this disclosure is
                                       Account.”                             contextually irrelevant here, as this
                                                                             disclosure was relevant to users
                                                                             turning on WAA/sWAA controls
                                                                             and the users in this case turned
                                                                             WAA and sWAA off. Nevertheless,
                                                                             I clarify this excerpt’s context. In
                                                                             this email, an engineer editing the
                                                                             Dutch version takes an excerpt from
                                                                             Mr. Warren’s comments in an
                                                                             unknown document about the
                                                                             English version of the ”consent
                                                                             bump.” Within that excerpt is Mr.
                                                                             Warren’s statement that the
                                                                             disclosure is “intentionally vague”
                                                                             because “the technical details
                                                                             [behind the consent bump] are
                                                                             complex” which “could sound
                                                                             alarming to users (for something
                                                                             that we feel shouldn’t sound


205
      Schneier Report, ¶ 353.
                                                       64
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                                                                                alarming).” Though Mr. Schneier
                                                                                attempts to use this excerpt to imply
                                                                                that Google uses “dark patterns,” it
                                                                                is actually the opposite. It is an
                                                                                example of just one of the many
                                                                                ways Google provides users with
                                                                                information regarding its data
                                                                                collection practices without
                                                                                overwhelming them with technical
                                                                                information that may be more
                                                                                confusing than helpful.” 206

 ¶ 355, FN 404                         Rajni Posner, Google’s Brand             Mr. Warren was making the point
 (GOOG-RDGZ-00207105, at -106)         Strategist for User Trust Marketing,     that the user controls what data
                                       suggested rewording the phrase           Google saves from the users. Mr.
                                       “what data Google saves and uses         Schneier’s use of the term “false
                                       across Google services” to the           sense of agency” is problematic, as
                                       passive voice, as “what data is          it assumes that users do not actually
                                       saved and used across Google             have control over their own privacy.
                                       services.” David Warren's reply          On the contrary, as shown above in
                                       illustrates the nuances of language      Section VI.B, Google provides
                                       designed to engender a false sense       users with control over the
                                       of agency on the part of the end         company’s collection of their data.
                                       user with respect to the matter of
                                       privacy: “I like Rajni's suggestion.
                                       It’s true that we try to use active
                                       voice as a rule, but I like her
                                       construction in this case because of
                                       the slight ambiguity it introduces.
                                       I've even written some strings in the
                                       past that make the user the agent
                                       when saving data, like “Choose
                                       what data you want to save...” If
                                       we’re pushing the control story,
                                       then, in a sense, it’s the user
                                       choosing what data to save, so let’s
                                       remove Google as the agent in this
                                       case.”

 ¶ 356-358                             The deposition testimony from the        Mr. Santiago and Ms Harvey’s
 (Santiago Deposition, p. 107:1-9;     named Plaintiffs in this case            testimony on their impression of
 Harvey Deposition, October 27,        illustrates the effect of Google’s use   WAA disclosures cannot be
 2022, p. 94:8-18)                     of dark patterns, including              generalized across all of Google’s
                                       “Aesthetic Manipulation,” in its         users and used to support Mr.
                                       statements about privacy and user        Schneier’s claim that Google’s
                                       control.                                 WAA Help Page exemplifies “dark
                                                                                patterns.” Moreover, Mr. Schneier
                                       For example, Plaintiff Julian            has not conducted a study on user’s
                                       Santiago testified: “[R]ight on the      perception on Google’s WAA
                                       first page of the privacy policy,        settings and privacy disclosures.
                                       Google is letting me know what


206
      GOOG-RDGZ-00149701 (Email from Jen Mueller titled “Effect of flipping SWAA,” June 10, 2016 at -702).
                                                        65
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                                         they are putting me in control of my
                                         information. And if I opt out of
                                         sharing that information of Google
                                         collecting that information, then
                                         they shouldn’t be collecting and
                                         tracking that information.”

                                         Plaintiff Susan Lynn Harvey
                                         likewise testified: “I was offered an
                                         option to be able to turn off data
                                         collection to where it wouldn’t be
                                         saved or used or stored or anything,
                                         and that wasn’t done.”

 ¶ 359, FN 405                           Notwithstanding Google’s                Mr. Schneier is mischaracterizing
 (Miraglia Deposition, pp. 96:15-        promises, Google employees have         Mr. Miraglia’s testimony. First, Mr.
 97:6)                                   confirmed that there is no way for      Schneier chooses to ignore that Mr.
                                         users to prevent Google from            Miraglia testified earlier that he “is
                                         collecting and saving information       not familiar []enough with how
                                         relating to their activity on non-      Analytics works or the Firebase
                                         Google apps that use Google             product to give [Plaintiff’s Counsel]
                                         services such as Firebase. Consider     good answers about how settings
                                         this exchange from the deposition       control that data.” 207 Moreover, Mr.
                                         of Eric Miraglia:                       Schneier also chooses to ignore that
                                                                                 Google collects user data on apps
                                         Counsel: So I’m just trying to ask at   that use Google Firebase “on behalf
                                         a more...general level, not focusing    of the developer” such that
                                         only on Firebase or...Analytics, but    developers can “understand how
                                         whether you’re aware of any             their app is performing.” 208
                                         Google control that would just full
                                         stop Google from collecting any
                                         data about a user’s app activity.

                                         Witness: I’m not aware of any
                                         setting that—that’s shaped exactly
                                         the way you described it.

 ¶ 360, FN 406                           There is also no way for users to       Mr. Schneier is mischaracterizing
 (Fair Deposition, p. 79:6-10;           actually delete so-called               the testimony of Mr. Fair. First, Mr.
 Miraglia Deposition, pp. 134:14-        “pseudonymous” data that Google         Schneier fails to acknowledge that
 137:19)                                 has collected. Greg Fair, formerly      Mr. Fair's full response included
                                         Google’s Product Manager for            confirmation that when users switch
                                         Privacy and Data Protection, has        off the WAA setting, “data is not
                                         testified that “I’m not aware of a      stored into the [user’s] account.”
                                         specific control that the user can      Mr. Fair also confirms that when
                                         delete something from Google. The       users “go into My Activity to delete
                                         controls that we have in the My         a search, individual search or
                                         Activity space talk about deleting a    multiple searches, that is deleted
                                         piece of data from your account.”       from that repository that’s



207
      Miraglia Deposition, p. 95:4-12.
208
      Miraglia Deposition, pp. 93:24-94:14.
                                                          66
      Case
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                                                                                associated with the account.” 209
                                                                                Moreover, Mr. Schneier also
                                                                                chooses to ignore that the context
                                                                                for Mr. Fair’s response that he was
                                                                                “not aware of a specific control that
                                                                                the user can delete something from
                                                                                Google” was due to a
                                                                                miscommunication. Mr. Fair was
                                                                                under the impression that Plaintiff
                                                                                Counsel was asking him about
                                                                                deleting “Google code” or
                                                                                “Google’s intellectual property and
                                                                                the algorithm that Google has
                                                                                developed over time.” 210

 ¶ 362, FN 407                          Google’s behavior toward                Mr. Schneier fails to explain how
 (“Google to turn on activity           enterprise customers also calls to      Google Workspace is relevant to
 tracking for many users who turned     mind dark patterns. In March 2022,      this case. Mr. Schneier ignores that
 it off,” Hacker News, February 2,      Google removed the WAA control          the purpose of this change (as
 2022 available at                      from the administrator console for      discussed by the user riverguardian,
 https://news.ycombinator.com/item      Google Workspace, a suite of            who claims to be the Product
 ?id=30171800)                          enterprise services including Gmail,    Manager for this new feature in the
                                        Calendar, Docs, Contacts, Drive,        same thread) is the following: “Web
                                        Google Chat, and Keep; added a          and App Activity is designed to
                                        new “Google Workspace Search            store search activity across all
                                        History” setting to individual users’   Google services, and we’re splitting
                                        My Activity page; and switched that     Workspace data out since it's
                                        setting on by default, even if their    governed by strict data handling
                                        organization’s Workspace                guarantees, with the hope that more
                                        administrator had previously            people will feel comfortable getting
                                        disabled the WAA setting.               the benefits of better search in
                                                                                Workspace without having to opt-
                                                                                into search history being tracked for
                                                                                all Google services.” 211 Moreover,
                                                                                the Google webpage describing this
                                                                                change also contains a FAQ for
                                                                                users looking to “delete or opt out
                                                                                of Google’s Workspace history.” 212




209
    Deposition of Greg Fair, October 3, 2022 (“Fair Deposition”), p. 79:6-18.
210
    Fair Deposition, pp. 80:6-82:6.
211
    “Google to turn on activity tracking for many users who turned it off,” Hacker News, February 2, 2022, available
at https://news.ycombinator.com/item?id=30171800.
212
    “Save and Manage Search Activity,” Google Workspace Admin Help, available at
https://support.google.com/a/answer/11194328#zippy=%2Ccan-users-delete-or-opt-out-of-google-workspace-
search-history.
                                                        67
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                  4. Google’s WAA Controls for Location Privacy

  140. In his report, Mr. Schneier also claims that Google’s “use of two different controls for
         location privacy” exemplifies “dark patterns.” 213 It is my understanding that Mr. Schneier
         is referring to the WAA and Location History settings as the two different controls that
         Google provides to users for location privacy. The claims at issue here do not involve
         location privacy controls and Mr. Schneier has not indicated why such controls could be
         relevant to the current matter. Setting aside the issue of relevance, Mr. Schneier attempts
         to support his claim by providing two definitions corresponding to the “dark pattern”
         categories of “hidden information” and “conflicting information,” as well as citing
         several legal settlements and internal Google communication as evidence in support. 214
         However, without applying the definitions to the case at hand, Mr. Schneier incorrectly
         draws the conclusion that Google’s controls for location privacy exemplify “dark
         patterns.”

  141. Google’s use of two different controls for location privacy is not an example of
         “conflicting information,” as defined by the EU and cited by Mr. Schneier. Specifically,
         the EU defines the “dark pattern” category of “conflicting information” as:

                  “Giving pieces of information to users that conflict with each other in some way.
                  Users are likely to be left unsure of what they should do and about the
                  consequences of their actions, therefore likely not to take any and to just keep the
                  default settings.” 215

  142. Based on my understanding of the Schneier Report, Mr. Schneier has not stated in any
         form that the two different controls used for location privacy conflict with each other in
         any way. Instead Mr. Schneier is simply arguing that the existence of two different
         location privacy controls itself exemplifies a “dark pattern.” Accordingly, the above
         definition is contextually not applicable here.


213
    Schneier Report, ¶ 366.
214
    Schneier Report, ¶¶ 364-369.
215
    Jelinek, Andrea, et al., “Dark patterns in social media platform interfaces: How to recognise and avoid them,”
European Data Protection Board, March 14, 2022, available at https://edpb.europa.eu/system/files/2022-
03/edpb_03-2022_guidelines_on_dark_patterns_in_social_media_platform_interfaces_en.pdf, at p. 64.
                                                         68
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  143. Mr. Schneier’s reliance on the definition of “hiding information” by Dr. Gray is also
        misplaced. The use of two different controls for a privacy setting is not an example of
        “hiding information.” Specifically, Dr. Gray defines the “dark pattern” category of
        “hiding information” as:

                 “options or actions relevant to the user but not made immediately or readily
                 accessible. Hidden information may manifest as options or content hidden in fine
                 print, discolored text, or a product’s terms and conditions statement. The primary
                 motivator behind hidden information is the disguising of relevant information as
                 irrelevant.” 216

  144. Mr. Schneier has not provided any rationale to explain how Google’s use of two different
        controls for location privacy meets the above definition of “hiding information.” Even a
        brief inspection shows that the use of two different controls for location privacy is not an
        example of “options or content hidden in fine print, discolored text, or a product’s terms
        and conditions statement.” 217 Additionally, the two different controls for location privacy
        are readily accessible from within the same page. For example, both controls for location
        privacy, WAA and Location History settings, are clearly provided and able to be turned
        off in the Activity controls page, which Mr. Schneier references as a page that users
        visit. 218

  145. Google’s use of two different controls for location privacy is not evidence of a “dark
        pattern” but instead logical because WAA and Location History are different account-
        level settings, and therefore it is appropriate that they would have separate consent flows.
        More specifically, WAA is a setting that stores a user’s Google activity data to My
        Activity in their Google Account. 219 The user location information that is saved through



216
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 7.
217
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 7.
218
    Schneier Report, ¶ 333.
219
    “My Google Activity,” Google My Activity, available at https://myactivity.google.com.
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        Web & App Activity is stored in a user’s Google Account when the user has Web & App
        Activity enabled and is engaging with a Google product. For example, when a user
        searches for “gas station” using Google Search or Google Maps, Google collects the
        search term as well as IP address and location information, so that the search results
        returned will show nearby options. 220 Clearly, it is reasonable for users to understand that
        WAA relies on location information.

  146. Location History is distinct from WAA. Location History is a Google Account-level
        setting that saves a private map of where the user goes with his or her signed-in devices,
        even when the user is not using a Google service. 221 Location History is turned off by
        default and users must opt in to enable it. 222 Opting in to Location History provides users
        with benefits across Google products and services including personalized maps, help
        finding your phone, real-time traffic updates, and more useful ads. 223 Location History
        also allows Google to build a user’s Google Maps Timeline, which users can review and
        delete at any time at https://maps.google.com/timeline. 224 This description of Location
        History makes clear that it is distinct from WAA.

  147. Mr. Schneier also relies on international court decisions, unrelated settlements, and
        Google employee statements to support his conclusions. However, my analysis in the
        table below shows that the sources should not be relied upon to support the claims that
        Mr. Schneier asserts.




220
    “Find & control your Web & App Activity,” Google Account Help, available at
https://support.google.com/accounts/answer/54068.
221
    “Manage your Location History,” Google Account Help, available at
https://support.google.com/accounts/answer/3118687.
222
    “Manage your Location History,” Google Account Help, available at
https://support.google.com/accounts/answer/3118687.
223
    “Manage your Location History,” Google Account Help, available at
https://support.google.com/accounts/answer/3118687.
224
    “Manage your Location History,” Google Account Help, available at
https://support.google.com/accounts/answer/3118687.
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 Table 7: Responses to Mr. Schneier’s Claims that Google’s WAA Controls for Location
                         Privacy Exemplify “Dark Patterns”

     Schneier Report Source                    Schneier’s Claims                  Response to Mr. Schneier’s
                                                                                           Claims

¶ 367, FN 413                          In 2022, an Australian federal court    Mr. Schneier has not shown why
(“Google LLC to pay $60 million        fined Google $42.6 million (US          the findings of the Australian
for misleading representations,”       dollars) for making misleading          federal court are relevant to this
Australian Competition and             representations about the collection    specific case. The Australia federal
Consumer Commission, August 12,        and use of location data on Android     court decision was specific to the
2022, available at                     phones. The Australian                  “the collection and use of their
https://www.accc.gov.au/media-         investigation targeted Google’s         personal location data on Android
release/google-llc-to-pay-60-          practice of implying to users that      phones between January 2017 and
million-for-misleading-                the “Location History” setting was      December 2018” and is irrelevant to
representations)                       the sole control by which users         the claims of this case.
                                       could authorize Google to collect
                                       their location data. In fact, WAA
                                       also controlled that collection. Both
                                       had to be set to “off,” and WAA
                                       was turned on by default.

¶ 368, FN 414-415                      In October 2022, the Arizona            Mr. Schneier has not shown why
(Cordoba Perez, Angela, Jose R.        Attorney General announced an $85       Google’s settlement with the
Gonzalez, “Arizona announces           million settlement with Google for      Arizona Attorney General is
$85M settlement with Google for        the same issue, calling the practice    relevant to this case. The Arizona
allegedly tracking users’ location     of requiring two coordinated            matter was specific to Google’s
deceptively,” azcentral.com,           settings for disabling location         alleged location-tracking practices,
October 4, 2022, available at          tracking “deceptive and unfair.”        and is irrelevant to the claims of this
https://tinyurl.com/25fjepva; Foley,   414 And in November, Google             case.
Tony, “Cybersecurity Policy            settled with the attorneys general of
Report, Google Settles With State      forty other states for $391.5 million
AGs Over Location-Tracking,”           for the same reason.
Vital Law, November 14, 2022,
available at
https://shorturl.at/gtAQS)


¶ 369, FN 416                          Google employees had recognized         Mr. Schneier appears to take this
(GOOG-RDGZ-00041092, at -093)          the problems with this deceptive        quote out of context. The quote is
                                       practice. Danny Sullivan, Google’s      from a comment Mr. Sullivan made
                                       Public Liaison for Search, observed,    in a document of unknown context,
                                       “This is so convoluted how we do it     and the document’s relevance to the
                                       that I have to point to our help page   case is unclear. Moreover, the
                                       rather than the actual control—and      content of Mr. Sullivan’s comment
                                       then hope people can scroll to the      appears to be more related to
                                       right place on the help page to         Google Maps Timeline and
                                       discover that while we have one         Location History in Activity
                                       control for Location History in         Controls, and not about WAA and
                                       Activity Controls, they have to         sWAA data collection.
                                       jump to Google Maps Timeline and
                                       figure out they should click on the
                                       small trash can icon. I sure didn’t


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                                      get that, at first. [...] Overall, it’s
                                      still mind-numbing to try and figure
                                      this all out even when you work at
                                      Google.”




                 5. Google’s WAA/sWAA “Consent Bump” Prompt

  148. Mr. Schneier claims that Google repeatedly asks users to enable the WAA and sWAA
        settings, if not already turned on, and ultimately classifies such behavior under the “dark
        pattern” of “nagging.” 225 However, he fails to indicate why “consent bumps” are relevant
        to the current matter, as the claims at issue involve user expectations regarding data
        collection after turning WAA and sWAA controls off, and not with regard to users
        turning on WAA and sWAA controls. Setting aside Mr. Schneier’s misplaced focus on
        “consent bumps,” a brief inspection shows that Mr. Schneier’s conclusion that Google’s
        WAA/sWAA “consent bump” prompt exemplifies “dark patterns” is unsupported.

  149. As mentioned in Section VIII.A.1, Mr. Schneier relies on three definitions to establish
        the “dark pattern” category of “nagging” to support his conclusion regarding Google’s
        WAA/sWAA “consent bump.” However, as stated above the definitions are inconsistent
        as they vary in the level of user contact needed to establish that “nagging” has occurred.
        In addition, a review of Dr. Gray’s definition of “nagging” illustrates the subjectiveness
        problem in the “dark pattern” literature. Specifically, Dr. Gray defines nagging as “a
        minor redirection of expected functionality that may persist over one or more
        interactions.” 226 (emphasis added) Accordingly, simply one minor interruption is
        sufficient to satisfy Dr. Gray’s definition of “nagging.” Such a result is absurd on its face
        as it implies that any and all “pop-ups,” “audio notices,” and “other actions” that attempt




225
   Schneier Report, ¶¶ 371, 373-374.
226
   Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 5.
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        to capture a user’s focus could be construed as a “dark pattern,” even those meant to
        improve user experience. 227

  150. With regard to the FTC and EU definition of “nagging,” Mr. Schneier does not provide
        sufficient support to satisfy either of the two definitions relied upon. Specifically, Mr.
        Schneier cites statements made by Eric Miraglia and a filing in the Calhoun v. Google,
        LLC case as support for the existence of Google’s WAA and sWAA “consent bump”
        prompt. 228 Both sources state that users are prompted with the “consent bump” when they
        sign into their Google Account. 229 However, Mr. Schneier does not provide any
        information with regard to how often Google users sign into their account or how often
        they would be prompted, and therefore fails to prove that the “consent bump” occurs
        “repeatedly and disruptively” or in a “continuous” manner that leaves users “wearied” as
        the FTC and EU require respectively. 230

  151. Mr. Schneier also discusses a 2016 Google document as an example of “nagging” that
        highlights the user “consent bump” flow for WAA and sWAA settings, and claims that
        “both visually and verbally, the [] consent flow subtly discouraged users from disabling
        their account’s WAA and sWAA settings.” 231 Mr. Schneier’s claim is baffling and
        completely misplaced as the “consent bump” is only shown to users who already have
        their WAA and sWAA settings turned off.

  152. Contrary to Mr. Schneier’s claim, the “consent bump” flow that Mr. Schneier refers to in
        his report is designed according to the principles of progressive disclosure. 232 Users are



227
    Gray, Colin M., Yubo Kou, Bryan Battles, Joseph Hoggatt, and Austin L. Toombs, “The Dark (Patterns) Side of
UX Design,” Proceedings of the 2018 CHI Conference on Human Factors in Computing Systems, No. 534 (April
2018): 1-14, at p. 5.
228
    Schneier Report, ¶¶ 375-378.
229
    Schneier Report, ¶¶ 375-378.
230
    Staff Report, “Bringing Dark Patterns to Light,” US Federal Trade Commission, September 2022, available at
https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14.2022%20-
%20FINAL.pdf, at p. 24; Jelinek, Andrea, et al., “Dark patterns in social media platform interfaces: How to
recognise and avoid them,” European Data Protection Board, March 14, 2022, available at
https://edpb.europa.eu/system/files/2022-03/edpb_03-
2022_guidelines_on_dark_patterns_in_social_media_platform_interfaces_en.pdf, at p. 2.
231
    Schneier Report, ¶¶ 374, 379.
232
    GOOG-RDGZ-00149771 (Presentation titled “Consent flow - page 1,” at -771-775).
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           able to accept turning on the WAA and sWAA setting on the first screen or choose “more
           options.” If “more options” is chosen, on the very next screen users are presented with an
           option to decline, decline and review key privacy settings, or turn onWAA and sWAA
           features, in that order. Stated another way, if the first screen provides a user with all of
           the information they believe they need to make a decision, they can accept to turn on
           WAA and sWAA features. If not, then in the very next screen they are provided with the
           ability to accept, deny, or learn more about the features. Google’s use of two different
           screens for the “consent bump” is not evidence of a “dark pattern” but instead a logical
           and user-friendly way to progressively present options without information overload.

  153. Mr. Schneier also cites Google employee statements to assert specific claims. However,
           my analysis in the table below shows Mr. Schneier mischaracterizes the substance of the
           statements and therefore such sources should not be relied upon to support the respective
           conclusions made by Mr. Schneier.

Table 8: Responses to Mr. Schneier’s Claims that Google’s WAA/sWAA “Consent Bump”
                          Prompt Exemplifies “Dark Patterns”

         Schneier Report Source                  Schneier’s Claims                  Response to Mr. Schneier’s
                                                                                             Claims

 ¶ 374-376, FN 419-421                   As explained by Eric Miraglia,          Mr. Schneier does not mention that
 (Miraglia Deposition, pp. 55:10-12,     “users would be presented with a        the purpose of Narnia 2.0 is to “give
 57:23-58:1, 60:2-5, 60:8-16, 72:10-     screen where they would see what        users simple powerful controls that
 13; GOOG-RDGZ-00145258, at -            the settings were currently set to,     allow them to be in the state that
 258)                                    and they’d have a chance to update      they want to be in to get the product
                                         their preferences.... [A]s soon as      experience that they want.” 233
                                         you signed in to your Google            Google was not trying to deceive or
                                         account, you would see that             manipulate its users with the
                                         screen.... [W]e also used push          “Consent Bumps,” but rather
                                         notifications as another                designed its UI to provide users
                                         mechanism.”                             with information regarding the
                                                                                 benefits of WAA and sWAA.
                                         In an internal email discussion, Eric
                                         Miraglia noted that “sWAA was off
                                         by default from 2014, when it was
                                         introduced, until mid-2016, when
                                         Narnia 2.0 came along.”According
                                         to Mr. Miraglia, Narnia 2.0
                                         “introduced a consent flow that
                                         specifically reminded users about


233
      Miraglia Deposition, pp. 57:23-58:16.
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                                       how these settings and others
                                       worked and allowed users who
                                       didn’t have them on to turn them
                                       on.... The general direction of
                                       Narnia 2.0...was to refine the way
                                       our settings worked to give users
                                       more control and simpler control
                                       over the way data was collected and
                                       used.”

 ¶ 379-380, FN 426                     A 2016 document by Google                 This entire discussion is irrelevant
 (GOOG-RDGZ-00149527, at -529-         technical writer David Warren notes       because it focuses on the
 530)                                  that the first objective of the new       appropriate consent bump language
                                       WAA/sWAA consent bump was                 for users enabling WAA. This case
                                       not to clearly inform users of the        is about users who disable WAA.
                                       full scope of data collection, but to
                                       “Help users feel comfortable              Mr. Schneier is mischaracterizing
                                       choosing ACCEPT.” Mr. Warren              the context of Mr. Warren’s notes
                                       then listed “Preferred user actions       within the 2016 document. First,
                                       [...] from most to least favorable”...    with regards to Mr. Schneier’s
                                                                                 claims that the “first objective of
                                       Warren continued: “A user should          the new WAA/sWAA consent
                                       be able to read the consent bump in       bump,” Mr. Warren was
                                       layers from little to more detail.        commenting specifically on the text
                                       We’d like the user to feel                of the “consent bumps,” as the
                                       comfortable clicking ACCEPT as            objective “Help users feel
                                       quickly as possible. In other words,      comfortable choosing accept,” is
                                       if the user stops at layer 1 [i.e., the   listed right underneath the heading
                                       page title], and clicks ACCEPT,           “Objectives of text.”
                                       that’s fine.... [M]any users will
                                       blindly choose ACCEPT, having             Moreover, Mr. Schneier distorts the
                                       already bought into a relationship        context of the document. The
                                       with Google based on trust.” The          quotes that Mr. Warren relies on are
                                       wording of titles, page summaries,        specifically focused on the text and
                                       and paragraphs, Warren noted,             the structure of the “consent bump.”
                                       should all be focused on making           Google, being a customer-centric
                                       users feel good about Google; they        company, designs its UI and
                                       should be “reassuring to the user”        privacy disclosures with its users in
                                       and “as simple as possible to             mind. Mr. Schneier fails to
                                       contribute to the sense of simplicity     acknowledge that the documents
                                       and transparency we want the user         listed “Transparency,” “Simple
                                       to feel.” A secondary                     words,” and “Real choice” as key
                                       “CUSTOMIZE” page “might offer             concepts when designing the
                                       more details around each setting          “consent bumps,” and that Google
                                       definition, but even if the               makes it clear to the users that
                                       explanation isn’t any more detailed,      ultimately it’s the user’s choice to
                                       the page allows the user to modify        “accept to turn on these settings.” 234
                                       the 2 settings individually, an
                                       important means to convey a sense
                                       of control.” Making the option to
                                       accept Google’s preferred option on


234
      GOOG-RDGZ-00149527 (Draft: Documenting consent bump for translators, December 8, at -528-529).
                                                        75
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                                      a first screen, and requiring users to
                                      click through to a secondary screen
                                      to reject that option, is also an
                                      important means to steer users
                                      towards Google’s preferred
                                      outcome.

 ¶ 381, FN 427                        Sneaking also occurs through close       Mr. Schneier mischaracterizes the
 (GOOG -RDGZ-00209109, at -112-       parsing of language used in the          context of this document. It is
 114)                                 WAA/sWAA disclosures, and by             unclear from the email exchange
                                      omission of relevant information. In     what exactly Mr. Schneier considers
                                      a 2019 email exchange, software          to be evidence of sneaking. When
                                      engineer Chenjun Wu stated, “We          reading the email chain as a whole,
                                      have a few existing systems like         it shows that Mr. Wu was
                                      online web conversion tracking and       attempting to determine whether
                                      store sales direct that do not respect   certain forms of tracking should be
                                      WAA or sWAA today, and                   controlled by the WAA and sWAA
                                      enforcing that will have significant     toggles. Additionally, it is important
                                      impact on the product.” Fellow           to note that it appears Mr. Bubeck
                                      engineer Uwe Bubeck replied,             had a clear understanding from
                                      “conversion tracking wouldn’t be         reading the WAA and sWAA
                                      generally subject to sWAA [...]          disclosures, indicating that these
                                      [T]hose controls would only apply        disclosures were clearly phrased
                                      if conversions were also used for        and user-friendly.
                                      subsequent personalization. [...]
                                      When I look at the controls
                                      language by the letter, WAA and
                                      sWAA are scoped to
                                      personalization. I see no statement
                                      being made about collection for
                                      conversion tracking/measurement,
                                      which I believe means that it might
                                      still be allowed even under sWAA
                                      opt out.”




                   6. Google’s Disclosures to App Developers

  154. Mr. Schneier claims that Google Analytics for Firebase Terms of Service and Google
           Analytics for Firebase Use Policy “exemplify the dark pattern of sneaking because
           Google never informs app developers that data collection via Google services (like
           Google Analytics for Firebase) will override the privacy controls (like WAA) that Google
           offers users.” 235 Mr. Schneier argues that Google instead directs app developers to a page




235
      Schneier Report, ¶ 385.
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        that reiterates a promise to users regarding control over the collection of the user’s
        activity on non-Google apps. 236

  155. Specifically, in order to abide by Google’s Analytics Terms of Service and Google’s
        Analytics for Firebase Terms of Service, app developers are required to disclose their use
        of Google Analytics and are informed that “[t]his can be done be done by displaying a
        prominent link to the site ‘How Google uses data when you use our partners’ sites or
        apps’” in their privacy policies. 237 Mr. Schneier focuses on portions of that page to
        illustrate why developers allegedly believe that users’ control over the collection of their
        activity on non-Google apps cannot be overridden. He states:

                 The subsection of “How Google Uses Information from Sites or Apps that Use
                 Our Services” titled “How you can control the information collected by Google
                 on these sites and apps” informs readers that they can use “My Activity...to
                 review and control data that’s created when you use Google services, including
                 the information we collect from the sites and apps you have visited.” 238

  156. Mr. Schneier ignores language within the same Google page that appears directly under
        “How Google Uses Information from Sites or Apps that Use Our Services” which states
        that “Many websites and apps use Google services to improve their content and keep it
        free. When they integrate our services, these sites and apps share information with
        Google.” 239 Accordingly, this page does not only communicate to app developers a
        promise to users regarding control over the collection of their data. The page also makes
        it clear to developers that users are notified that third-party sites and apps collect
        information and share it with Google.

  157. Additionally, Google’s Analytics for Firebase Terms of Service cited by Mr. Schneier
        communicates to app developers that they must provide notice to users about the


236
    Schneier Report, ¶ 386.
237
    Schneier Report, ¶ 386; “Google Analytics Terms of Service,” Google Marketing Platform, available at
https://marketingplatform.google.com/about/analytics/terms/us/; “Technologies,” Google Privacy & Terms,
available at https://policies.google.com/technologies/partner-sites.
238
    Schneier Report, ¶ 386.
239
    “Technologies,” Google Privacy & Terms, available at https://policies.google.com/technologies/partner-sites.
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        collection of their data, and as Mr. Schneier states “recommends” the page above as one
        way of notifying users. 240 In other words, there are various ways third-party apps can
        notify users about the collection of their data. For example, Lyft’s Privacy Policy to users
        states:

                  “Cookies, Analytics, and Third-Party Technologies. We collect information
                  through the use of “cookies”, tracking pixels, data analytics tools like Google
                  Analytics, SDKs, and other third-party technologies to understand how you
                  navigate through the Lyft Platform and interact with Lyft advertisements, to make
                  your Lyft experience safer, to learn what content is popular, to improve your site
                  experience, to serve you better ads on other sites, and to save your
                  preferences.” 241

  158. The above language in Lyft’s Privacy Policy demonstrates (as with many other third-
        party app policies) that app developers understand that Google collects user activity
        through Google Analytics and SDK and that they are required to disclose this data
        collection to their users, which is unrelated to any account-level privacy controls that
        Google offers to its users.

                  7. Google Employee Statements Regarding WAA/sWAA

  159. Mr. Schneier also refers to multiple examples of Google employees identifying
        challenges regarding Google’s WAA and sWAA disclosures and claims that the
        “evidence in this case suggests that Google employees agree with [him].” 242 However,
        Mr. Schneier has not conducted any methodological studies on user perception regarding
        the WAA and sWAA disclosures. Instead, Mr. Schneier cites a series of deposition
        testimonies and internal communications from Google employees regarding feedback on
        WAA/sWAA disclosures and other Google products, and uses that to speculate about




240
    Schneier Report, ¶ 386.
241
    “Lyft Privacy Policy,” Lyft, December 12, 2022, available at https://www.lyft.com/privacy.
242
    Schneier Report, ¶ 389.
                                                        78
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        what the user is likely to perceive in this matter. Mr. Schneier then concludes that Google
        purportedly “ignored” the concerns of its employees. 243

  160. Tables 9 to 13 contains the Google employee statements Mr. Schneier relies on to
        support his claim that Google employees “agree with [him]” with respect to the alleged
        problems with Google’s WAA and sWAA disclosures. After reviewing the documents in
        detail, I conclude that the documents cited by Mr. Schneier contain the following issues:
        1) the documents were unrelated to Google Analytics for Firebase and the Firebase
        platform, 2) the context of the documents were unclear, 3) Mr. Schneier is
        mischaracterizing/misunderstanding the documents or testimony, and 4) the studies cited
        by Mr. Schneier are not relevant to the US market. I will now provide specific examples
        which highlight why Mr. Schneier’s document review is problematic.

  161. Table 9 below contains sources relied on by Mr. Schneier that are unrelated to Google
        Analytics for Firebase and the Firebase platform. For example, Mr. Schneier references
        an email from Dave Kleidermacher (currently Google’s Vice President of Engineering
        for Android) which discusses the implementation of a switch at the device or account
        level which will prevent user activity from being tracked in any app, as well as testimony
        from Mr. Miraglia stating that he was “‘not aware of any setting that’s scoped’ that
        way.” 244 However, Mr. Schneier failed to mention that the context for Mr.
        Kleidermacher’s email and Mr. Miraglia’s testimony was actually discussing the
        enhancement of Google’s incognito mode to make it “more prevalent and more useful to
        users.” 245 Neither Mr. Kleidermacher’s email nor Mr. Miraglia’s testimony was related to
        WAA or Firebase SDK. This is but one example of how Mr. Schneier relies on quotes
        that are unrelated to Google Analytics for Firebase and the Firebase platform.




243
    Schneier Report, Section 11.7.
244
    Schneier Report, ¶ 391; Miraglia Deposition, pp. 128:21-129:3.
245
    Miraglia Deposition, pp. 130:18-131:9.
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      Table 9: Responses to Mr. Schneier’s Claims Regarding Google Employee Statements
        Which Are Unrelated to Google Analytics for Firebase and the Firebase Platform

         Schneier Report Source                 Schneier’s Claims                 Response to Mr. Schneier’s
                                                                                           Claims

 ¶ 391, FN 436                         In a 2018 email thread, Dave            Mr. Schneier is taking the document
 (GOOG-RDGZ-000150939)                 Kleidermacher—now Google’s              out of context. The document cited
                                       Vice President of Engineering for       is about Google’s incognito mode,
                                       Android—wrote, “If a user could         and not about WAA and sWAA
                                       flip the switch at the device (or       data collection. Additionally, the
                                       account) level and have confidence      email chain references user
                                       in not having activity tracked in       behavior observations from
                                       ANY app, it would completely            Google’s “Pinecone studies,” which
                                       change the way privacy-conscious        are almost entirely based in Europe.
                                       users and influencers view Google
                                       (and Android).”

 ¶ 391, FN 437                         However, when asked in October          Mr. Schneier takes Mr. Miraglia’s
 (Miraglia Deposition, pp. 128:21-     2022 whether such a switch had          testimony out of context. His
 129:3)                                ever been implemented, Eric             testimony was in connection with
                                       Miraglia replied that he was “not       the 2018 email thread discussed
                                       aware of any setting that’s scoped”     above and had nothing to do with
                                       that way.                               WAA or Google Analytics for
                                                                               Firebase. As previously stated, this
                                                                               document is about incognito mode.
                                                                               At deposition, Mr. Miraglia
                                                                               explained that “[i]n this context”
                                                                               what he would have been
                                                                               “advocating for is. . .to make
                                                                               incognito mode more prevalent and
                                                                               more useful to users.” 246

 ¶ 396, FN 444                         Mr. Ruemmler also expressed his         Mr. Ruemmler testified that the
 (GOOG-RDGZ-00043816)                  concerns about the clarity of           contents of the email cited by Mr.
                                       Google’s disclosures about              Schneier is focused on the “Gmail
                                       Google’s “My Activity” page, and        ads issue,” which is not relevant to
                                       about the range of information—         this case. 247 The excerpt which Mr.
                                       and misinformation—about users’         Schneier cites comes from a longer
                                       doings online that are collected and    thread where Mr. Ruemmler poses
                                       stored:                                 various questions to members of the
                                                                               PDPO about the type of information
                                       “I’ve uncovered several problems        that a user might see in their My
                                       with My Activity over the last few      Activity page beyond “Gmail data,”
                                       weeks and wonder what its actual        or Gmail search history,” which he
                                       purpose is within Google. I             was familiar with. His questions are
                                       understand this is where search         based on a misconception about the
                                       history for google.com is stored and    scope and the goal of the My
                                       it allows users to view and delete      Activity tool, which Mr. Monsees
                                       that history. That is great. Anything   clarifies is “a centralized tool to


246
      Miraglia Deposition, p. 131:4-9.
247
      Ruemmler Deposition, pp. 165:14-168:20.
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                                    else beyond search data, is quite       manage information in your Google
                                    frankly confusing. For instance, I      Account about ‘the things you do
                                    found that very detailed Google Pay     on and with Google services.’” 248
                                    data is being included in My            He adds that “[d]ata may be stored
                                    Activity which was quite shocking       based on the
                                    to me. I would expect that data to      legal basis for which is collected --
                                    stay in Google Pay and not have a       not all data at Google is stored or
                                    copy in My Activity. I also found       used the same way.” 249 Mr.
                                    false “Ads” activity that was not       Ruemmler’s comments do not
                                    only incorrect but not useful even if   prove anything but that Google has
                                    it had been correct.... I also turned   a culture of openness and
                                    off WAA and still received both of      innovation where all employees–
                                    the above entries in My Activity.       even those with little exposure to
                                    Based on the external                   WAA–can escalate perceived issues
                                    documentation, it sounds like           to the PDPO. Moreover, as
                                    turning off WAA should result in an     described in Table 4 above, at
                                    empty My Activity, but that is not      deposition, Mr. Ruemmler
                                    the case. I’m OK with that, but it      explained that he had a
                                    should be very clear that WAA is        “misunderstanding” about WAA. 250
                                    not associated with everything in       He told Plaintiffs that his work was
                                    My Activity and I don’t believe that    in the Workspace and Gmail team,
                                    is the case today.... The whole         where “everything is GAIA tied,”
                                    WAA story is also quite confusing.      and that he does not “work in
                                                                            WAA.” So, he had assumed that “if
                                    “My Activity is confusing at best       it's not GAIA tied, it's not there.”
                                    for your average user.... The           Mr. Ruemmler stated that “after
                                    product is not cohesive and thus        gaining more knowledge,” he
                                    confusing.”                             became aware of Google’s “other
                                                                            mechanisms used to store the data
                                                                            at Google anonymously.” 251


 ¶ 397, FN 453                      In a chat exchange that same month,     Mr. Schneier’s excerpt is about an
 (GOOG-RDGZ-00159759)               Principal Engineer Othar Hansson        unrelated product. In the first line,
                                    described his feelings about            Mr. Hansson makes clear that he is
                                    Google’s consent settings: “imagine     commenting on the “consent
                                    how this looks to a normal user. I      settings in the Discover feed.” The
                                    feel like I only understand it myself   “Discover” product and how it
                                    because I took AP Google History.”      interacts with WAA are unrelated to
                                                                            Google Analytics for Firebase or
                                                                            the Firebase platform, and thus are
                                                                            not relevant to this case.

 ¶ 398, FN 457                      Google has also conducted               Mr. Schneier appears to be taking
 (GOOG-RDGZ-00090236, at -239)      “numerous” user studies that have       the quotes out of context. The


248
    GOOG-RDGZ-00043816 (Email from Chris Ruemmler titled “My Activity Support/Viability,” July 20, 2020, at
-816).
249
    GOOG-RDGZ-00043816 (Email from Chris Ruemmler titled “My Activity Support/Viability,” July 20, 2020, at
-817).
250
    Ruemmler Deposition, pp. 72:21-73:3.
251
    Ruemmler Deposition, pp. 74:12-24, 75:23-77:11.
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                                     concluded that “WAA just isn’t     presentation is titled “Retention
                                     clear to users.”                   Cards Launch in Personalized
                                                                        Privacy Checkup,” and includes
                                                                        initial insights as to how “user[s]
                                                                        interacted with these three retention
                                                                        cards" within WAA, Location
                                                                        history, and YouTube History.
                                                                        These Privacy Checkup retention
                                                                        cards are not the disclosures at issue
                                                                        in this case.




  162. Tables 10 and 11 below contain sources relied on by Mr. Schneier, including emails,
        internal messages, documents and presentations, whose context is unclear. For example,
        Mr. Schneier references several internal documents and emails from Google employees
        providing feedback on how “WAA isn’t understood” or how there is an “ongoing
        struggle that people don’t understand what Web & App Activity is.” 252 However, these
        comments are taken out of context (or the context is unknown). Accordingly, it is
        impossible for Mr. Schneier to determine if these documents are even relevant to the
        claims of the case.

  163. Moreover, contrary to Mr. Schneier’s claims, this feedback from Google employees
        clearly shows that Google develops products with a goal of improving user experience.
        The documents that Mr. Schneier references are examples of Google’s customer-centric
        culture, and how Google strives to “meet[] user needs and… lead the industry” with
        respect to privacy. 253 Google frequently makes adjustments to its UI design and privacy
        disclosures page in response to user feedback. For example, Eric Miraglia testified that
        “learnings that came back from research studies had significant impact on the
        product.” 254 Miraglia further provided an example of how Google “add[ed] videos to the




252
    See, e.g., GOOG-RDGZ-00171164 (Email from Tess Lueth titled “[For XFN review],” February 8, 2019, at -
164); GOOG-RDGZ-00087964 (Email from Brenda Chen titled “WAA Retention,” April 3, 2019, at -964). See
also, Schneier Report ¶ 397; GOOG-RDGZ-00203674 (Outline for Sarah’s Feb 13, 2020 Privacy UX Kickoff Talk);
GOOG-RDGZ-00129096 (Email from Arne de Booij titled “Re: Program Review: Privacy Surfaces,” October 22,
2020).
253
    GOOG-RDGZ-00203674 (Outline for Sarah’s Feb 13, 2020 Privacy UX Kickoff Talk, at -675).
254
    Miraglia Deposition, p. 217:5-17.
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        Privacy Policy page” as an attempt to “increase end user comprehension of all of the
        written texts [Google] had about privacy.” 255

  Table 10: Responses to Mr. Schneier’s Claims Regarding Google Employee Statements
                   Where Context of Email or Messages are Unclear

       Schneier Report Source                  Schneier’s Claims               Response to Mr. Schneier’s
                                                                                        Claims

 ¶ 393, FN 439                         Mr. Ruemmler reiterated his          As discussed in Table 4 above, Mr.
 (GOOG-RDGZ-00089546)                  concerns in several 2020 email       Schneier repeatedly cherry picks
                                       exchanges with colleagues: “Web      excerpts from Mr. Ruemmler’s
                                       and App Activity is the worst name   emails and disregards points raised
                                       ever. This is part of the problem    in Mr. Ruemmler’s own testimony.
                                       with the WAA bit. What does it       At deposition, Mr. Ruemmler
                                       ACTUALLY control? It is not          explained that he worked primarily
                                       obvious at all from our              within the Workspace and Gmail
                                       documentation. We need to be very    team, where “everything is GAIA
                                       clear about what is controlled by    tied.” 256 So, he had assumed that “if
                                       this flag.”                          it’s not GAIA tied, it’s not there.”
                                                                            Mr. Ruemmler also stated that
                                                                            “after gaining more knowledge,” he
                                                                            became aware of Google’s “other
                                                                            mechanisms used to store the data
                                                                            at Google anonymously.” 257

 ¶ 397, FN 445                         In a February 2019 email, Group      Mr. Schneier cites this as an
 (GOOG-RDGZ-00171164)                  Product Marketer Ruchi Bezoles       example of a Google employee’s
                                       wrote that “WAA isn’t understood     concern about Google’s disclosures
                                       either.”                             pertaining to WAA/sWAA. Mr.
                                                                            Schneier fails to mention that he
                                                                            took this quote from the middle of a
                                                                            sentence where Ruchi Bezoles
                                                                            appears to be passing on someone
                                                                            else’s comment with no additional
                                                                            context. Without the context of that
                                                                            conversation, Mr. Schneier cannot
                                                                            draw a reliable inference from those
                                                                            words. Furthermore, this email
                                                                            thread includes comments to a
                                                                            document titled “[For XFN review]
                                                                            Privacy Advisor in Maps film
                                                                            script” which does not help us
                                                                            understand one way or another what
                                                                            Ruchi was commenting on and
                                                                            whether their comments can help us
                                                                            understand what users understood


255
    Miraglia Deposition, pp. 187:10-22, 217:19-218:1.
256
    Ruemmler Deposition, pp. 74:4-24.
257
    Ruemmler Deposition, pp. 75:23-77:11.
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                                                                         Google to do with their data when
                                                                         they toggled WAA off.

¶ 397, FN 447                   In an April 2019 email, UX               Mr. Schneier cites this as an
(GOOG-RDGZ-00087964)            Researcher Brenda Chen described         example of a Google employee’s
                                the “ongoing struggle that people        concern about Google’s disclosures
                                don’t understand what Web & App          pertaining to WAA/sWAA.
                                Activity is.”                            However, the author Brenda Chen
                                                                         appears to be commenting on a
                                                                         document whose content is
                                                                         unknown and whose relevance to
                                                                         the issues in this case has not been
                                                                         established.

¶ 397, FN 449                   In a July 14, 2020, email, Group         This email thread appears to be
(GOOG-RDGZ-00044478, at -482)   Product Manager J.K. Kearns wrote        about a variety of experiments with
                                an email stating that “To me, it feels   products such as Google Search and
                                like a fairly significant bug that a     the disabling of on-device search
                                user can choose to turn off WAA,         history for certain users. Mr.
                                but then we still collect and use the    Schneier has not demonstrated why
                                data (even locally).”                    or how these experiments and
                                                                         corresponding employee
                                                                         deliberations should apply to
                                                                         Google employees’ or users'
                                                                         impressions about WAA disclosures
                                                                         generally.

¶ 397, FN 450                   In a July 2020 chat exchange             The context of Meagan Pi’s remarks
(GOOG-RDGZ-00169704)            discussing WAA and sWAA,                 cannot be established as they are in
                                Google Vice-President Meagan Pi          response to a screenshot. Without
                                remarked that “I think I barely          observing the contents of the
                                understand what all of these mean        screenshots, it is unclear whether
                                and most users won’t have a clue.”       the chat exchange is relevant to this
                                                                         case.

¶ 397, FN 451                   In an August 2020 email, Senior          This email exchange is related to
(GOOG-RDGZ-00044356)            Financial Analyst Henry Wong             Google’s Search product and is not
                                noted that “users who have turned        relevant to this case.
                                off WAA...have given us a clear
                                signal that they do not want Google
                                to know what they are searching
                                for” and while “technically we
                                don’t,” “it just feels like we are
                                tracking them even though they told
                                us not to.”

¶ 397, FN 452                   In an October 2020 email, Product        Mr. Schneier inaccurately attributes
(GOOG-RDGZ-00129096, at -097)   Manager Sam Heft-Luthy of                the comment to Sam Heft-Luthy.
                                Google’s Privacy and Data                The email exchange contains
                                Protection Office noted that “we’re      “Highlights” from a “Program
                                stretching ourselves thin, especially    Review: Privacy Surface” meeting
                                given that we are doing a lot to get     within Google. Heft-Luthy was
                                users to understand a system that is     merely summarizing the key


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                                    just fundamentally difficult to get      takeaways from the meeting.
                                    (WAA, GAP, etc.).”
                                                                             If anything, this quotation
                                                                             demonstrates Google’s culture of
                                                                             improvement and its desire to help
                                                                             users understand their settings. 258

 ¶ 397, FN 454                      Also in October 2020, UX Manager         Mr. Schneier fails to acknowledge
 (GOOG-RDGZ-00129042, at -043)      Kalle Buschmann remarked more            that the quote from Kalle
                                    generally that “It is not only our       Buschmann was a proposed
                                    consent that is too convoluted, the      response to a “trick question”
                                    underlying approach and systems to       regarding two different types of
                                    capturing and using data as well.        Google requests (in-context consent
                                    We can’t fix the ‘surface’               and WAA requests). Buschmann
                                    experience without radically             appears to be commenting on the
                                    changing the machine. Only then          nuances of the question at-hand,
                                    humans (users or Googlers) will          and not, as Mr. Schneier contends,
                                    have a chance to understand it....       making an assertion about WAA
                                    Our goal is to give people a good        disclosures.
                                    sense of where their data is used....”

 ¶ 397, FN 455                      Likewise, that same month, Senior        Mr. Schneier fails to acknowledge
 (GOOG-RDGZ-00129084)               Interaction Designer Elyse Bellamy       that the quote he relies on from the
                                    stated that “from my perspective we      chat exchange is commentary from
                                    don’t (as a company) have a very         Elyse Bellamy on images of
                                    even approach to determining what        passages whose content is
                                    we need to ask permission for, and       unknown. Mr. Schneier assumes
                                    what we don’t—also, how much             that Bellamy’s comment is relevant
                                    contextual information is                to this case, but does not provide
                                    appropriate/necessary to get             any additional context as to what
                                    consent.”                                she is commenting on.

                                                                             Mr. Schneier fails to mention that in
                                                                             this same document, Arne De Booij
                                                                             discusses how Google’s permission
                                                                             scheme is context dependent, and
                                                                             that there are many contexts to
                                                                             consider, such as “at sign-in,” “at
                                                                             first launch,” “at xth launch,” and
                                                                             “after action X is taken.” 259 This
                                                                             underscores that privacy design is
                                                                             contextual and individualized, and
                                                                             that UI design and privacy
                                                                             disclosure must take into account
                                                                             heterogeneity among users.




258
    GOOG-RDGZ-00129096 (Email from Arne de Booij titled “Program Review: Privacy Surfaces,” October 22,
2020, at -097).
259
    GOOG-RDGZ-00129084 (Email from Elyse Bellamy containing chat history, October 21, 2020, at -086).
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  Table 11: Responses to Mr. Schneier’s Claims Regarding Google Employee Statements
               Where Context of Presentations or Documents are Unclear

         Schneier Report Source                  Schneier’s Claims                 Response to Mr. Schneier’s
                                                                                            Claims

 ¶ 397, FN 448                           In her outline for a February 2020     Mr. Schneier does not provide
 (GOOG-RDGZ-00203674, at -675)           presentation on user interface         sufficient context surrounding the
                                         design and privacy, Senior UX          comment to make a reliable
                                         Director Sarah Hammond offered         connection to the allegations in this
                                         WAA as an example of a control         case. As Arrne De Booij stated at
                                         that’s “a tricky one to understand.”   deposition, it is unclear what
                                                                                Hammond’s perspective or conflict
                                                                                was, and what Hammond “meant by
                                                                                ’tricky.’” 260 Mr. Schneier is
                                                                                attempting to generalize an internal
                                                                                Google communication to fit his
                                                                                claims.

 ¶ 398, FN 458                           For example, one User Experience       Mr. Schneier does not acknowledge
 (GOOG-RDGZ-00151484, at line            Research study included as a “key      that the excel sheet where this “key
 38)                                     insight” that “WAA settings are        insight” was obtained from does not
                                         hard to understand.”                   describe or specify the scope of the
                                                                                study, or what the objective of the
                                                                                study was. Moreover, it is also
                                                                                unclear whether the study involved
                                                                                participants in the U.S., Europe, or
                                                                                elsewhere. Therefore, the
                                                                                applicability of this study to this
                                                                                case is unclear.

 ¶ 398, FN 459                           Additionally, an April 2020 study      Mr. Schneier does not consider that
 (GOOG-RDGZ-00182573, at -581)           titled “Retention Controls             this presentation appears to be
                                         Comprehension” found that “all         assessing user perception of “newly
                                         participants expected turning WAA      introduced retention controls” and
                                         toggle off to stop saving their        specifically, whether Google would
                                         activity” and “all participants        continue to save activity to their
                                         expected turning off toggle to stop    account when they turned the WAA
                                         their activity from being saved.”      toggle off, not whether this would
                                                                                affect the use of this activity by
                                                                                third-party apps using Google
                                                                                analytics, which is the user
                                                                                expectation at issue in this case. 261
                                                                                Mr. Schneier also fails to mention
                                                                                that “learnings that came back from
                                                                                research studies had significant
                                                                                impact on the product,” and that
                                                                                Google “add[ed] videos to the
                                                                                privacy policy page” as an attempt
                                                                                to “increase end user


260
      Deposition of Arne De Booij, February 7, 2023 (“De Booij Deposition”), pp. 119:23-120:17.
261
      Fair Deposition, p. 186:14-25.
                                                          86
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                                                                    comprehension of all the written
                                                                    texts [Google] had about
                                                                    privacy.” 262




  164. Table 12 below contains deposition testimonies and internal communications from
        Google employees that were mischaracterized by Mr. Schneier in his report. One
        prominent example which Mr. Schneier relies upon is a series of internal communications
        from Chris Ruemmler, where Ruemmler appears critical of the WAA documentation and
        disclosure. Mr. Schneier proceeds to state that David Monsees subsequently
        acknowledged in his testimony that Google did not make any “responsive modifications”
        to the WAA and sWAA disclosures. 263 However, there are several issues with the
        narrative that Mr. Schneier has developed, based on the communications testimony of
        Mr. Ruemmler and Mr. Monsees.

  165. First, Mr. Schneier failed to highlight the fact that the July 2019 email from Mr.
        Reummler concerning the WAA Help Page was due to a “misinterpretation” and
        “misunderstanding” by Mr. Ruemmler on WAA data. 264 Mr. Ruemmler testified that he
        did not work on the product, and was unclear as to how Google’s data collection practices
        differed between the different WAA settings. 265 Second, Mr. Schneier’s claim that Mr.
        Monsees confirmed that there were no “responsive modifications made to Google’s
        WAA and sWAA disclosures” is also incorrect. 266 In his testimony, Mr. Monsees merely
        testified that he was not “aware of any changes to Google Analytics for Firebase third-
        party developer disclosures particularly given the context of this discussion with Mr.
        Ruemmler.” 267 Contrary to Mr. Schneier’s claims, Mr. Monsees testimony did not
        indicate that there were no modifications being made to Google’s WAA and sWAA
        disclosures for other users.


262
    Miraglia Deposition, pp. 187:10-25, 217:19-218:1.
263
    Schneier Report, ¶¶ 393-394.
264
    Ruemmler Deposition, pp. 84:3-85:8.
265
    Ruemmler Deposition, pp. 115:16-116:19.
266
    Schneier Report, ¶ 394; Monsees Deposition, pp. 235:5-236:4.
267
    Monsees Deposition, pp. 235:5-236:4.
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  Table 12: Responses to Mr. Schneier’s Claims Regarding Google Employee Statements
             Where Mr. Schneier Mischaracterizes Documents or Testimony

       Schneier Report Source              Schneier’s Claims                  Response to Mr. Schneier’s
                                                                                       Claims

 ¶ 390, FN 435                     In a 2018 internal document, David      Mr. Schneier is mischaracterizing
 (GOOG-RDGZ-00018270)              Monsees described the                   the context of this document. This
                                   “opportunity” for improvement of        document does not show that
                                   Google’s existing user data controls    Google is “far from transparent,” 268
                                   (UDC): “UDC’s value prop                but rather that Google employees
                                   [proposition] is not clear, what is     recognize that there is an
                                   the overall purpose of the settings.    opportunity to improve Google UI
                                   WAA and sWAA are too big and            design and privacy disclosures for
                                   non-specific for users to               users. 269
                                   understand; what is ‘web & app’....
                                   UDC covers a lot, but only controls     Moreover, this document discusses
                                   a fraction of the information that      “UDC” generally and compliance
                                   Google uses to personalize.”            with the GDPR (“[a]ddress[ing]
                                                                           GDPR granular/specific...
                                                                           requirements.”). 270 It is not clear
                                                                           from the document whether this is
                                                                           about the US versions of these
                                                                           settings.

 ¶ 392, FN 438                     “[I]t appears we have a real            Mr. Ruemmler explained the
 (GOOG-RDGZ-00024709, at -709-     problem here with accurately            context of this statement during his
 710)                              describing what happens when            deposition, which Mr. Schneier
                                   WAA is disabled. We should fix the      ignores. Mr. Ruemmler explained
                                   current wording to reflect reality      that his work at Google was specific
                                   and if we make the change to temp       to the Workspace and Gmail team,
                                   GAIA logging, then we need to be        where “everything is GAIA tied.” 271
                                   very clear about what data is           Mr. Ruemmler thus was under the
                                   collected with WAA off. [...]           impression that if WAA was off, no
                                   [G]iven the way on/off works, one       data was sent to Google because
                                   has to then assume that disabled        there would be no resulting GAIA
                                   (off) would be the exact opposite of    tied data to send. Mr. Schneier
                                   what is described for what happens      repeats excerpts of Ruemmler’s
                                   when the WAA bit is on. Today, we       misunderstanding discussed at
                                   don’t accurately describe what          Table 4 above to generalize that
                                   happens when WAA is off.... If I        Google employees repeatedly
                                   choose not to store data in my          identified problems with Google’s
                                   account, then Google should not         disclosures regarding WAA, but
                                   have access to the data either as the   that does not make it a wide-spread
                                   data should not be in the account.      misunderstanding.
                                   What you are stating is WAA (or
                                   any of the other controls) does not     Mr. Monsees responded to this


268
    Schneier Report, ¶ 390.
269
    See, e.g., Heft-Luthy Deposition, p. 25:4-7.
270
    GOOG-RDGZ-00018270 (Document titled “Goal of UDC 1.0,” at -270).
271
    Ruemmler Deposition, pp. 74:4-24, 75:23-77:11.
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                                     actually control what is stored by        statement by stating that he has
                                     Google, but simply what the user          “discussed rewrites of all the UDC
                                     has access to. This is really bad. If     help center articles (including
                                     we are storing data that the user         WAA/sWAA) to create a more
                                     does not have access to, we need to       consistent structure to explain the
                                     be clear about that fact. In this case,   kind of ’if it’s on’ vs. ’if it’s off’
                                     the user has a false sense of security    points” brought up by Mr.
                                     that their data is not being stored at    Ruemmler. 272 The testimony and
                                     Google, when in fact it is.”              email both support the fact that
                                                                               Google is customer-centric and is
                                                                               constantly working to improve its
                                                                               products for users.


 ¶ 393, FN 440, 441                  “I’m looking for something that           Mr. Schneier fails to mention that
 (GOOG-RDGZ-00130745, at -746-       explicitly describes all of the knobs     while Mr. Ruemmler does state that
 747)                                and their default states. I don’t think   WAA was “in a busted state today,”
                                     I could describe what exactly is          within the same email chain, Mr.
                                     enabled and disabled by                   Ruemmler provided an update
                                     WAA/SAA/etc. based on current             which states that WAA “is being
                                     documentation.” WAA, Mr.                  fixed (hooray!).” Furthermore, as
                                     Ruemmler asserted, was                    discussed in Table 4 above, Mr.
                                     “completely broken" with “no way          Ruemmler testified that he had a
                                     for the user to determine what this       “misunderstanding with the way
                                     actually controls.”                       WAA works” and that “after
                                                                               gaining more knowledge,” he
                                                                               became aware of Google’s “other
                                                                               mechanisms used to store the data
                                                                               at Google anonymously.” 273

 ¶ 394, FN 442                       But in his deposition, Mr. Monsees        Mr. Schneier mischaracterizes Mr.
 (Monsees Deposition, pp. 235:5-25   acknowledged that no further action       Monsees’ testimony. Mr. Monsees
 and 236:1-5)                        was taken to address Mr.                  testified that he was not “aware of
                                     Ruemmler’s concerns, nor were any         any changes to Google Analytics
                                     responsive modifications made to          for Firebase third-party developer
                                     Google’s WAA and sWAA                     disclosures particularly given the
                                     disclosures.                              context of this discussion with Mr.
                                                                               Ruemmler.” 274 The testimony was
                                                                               related to a July 2019 email from
                                                                               Mr. Ruemmler, where Mr.
                                                                               Ruemmler clarified that his
                                                                               concerns were primarily due to a
                                                                               misinterpretation and
                                                                               misunderstanding of WAA data. 275

                                                                               Additionally, Mr. Ruemmler
                                                                               himself also testified that he thought


272
    Ruemmler Deposition, Exhibit 7.
273
    Ruemmler Deposition, pp. 72:21-73:3, 75:23-77:11.
274
    Deposition of David Monsees, September 15, 2022 (“Monsees Deposition”), pp. 235:5-236:4.
275
    Ruemmler Deposition, pp. 115:16-116:19.
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                                                                          Mr. Monsees took Mr. Ruemmler’s
                                                                          concerns seriously. 276


 ¶ 397, FN 446                     In a February 2019 product design      Mr. Schneier erroneously claims
 (GOOG-RDGZ-00046758, at -759)     document, a Google developer           that the quoted text is the “business
                                   described the business rationale for   rationale for [Google’s] decision to
                                   its decision to require users to       require users to enable WAA for
                                   enable WAA for personalization in      personalization in apps that
                                   apps that previously had not needed    previously had not needed it.” The
                                   it: “The steering committee elected    quote Mr. Schneier references is
                                   to turn off personalization for        actually found in the “Background"
                                   WAA-off users and coupling             section of the document, and is
                                   logging policy with personalization    meant to provide context for
                                   decisions, due to concerns over loss   Google’s proposed changes to
                                   of data for analysis and high          WAA-off Logging. Moreover, as is
                                   percentage of users with WAA-off       clearly stated in the “Objective”
                                   at the time (30–40%). The resulting    section, the purpose of this change
                                   product behavior is very confusing     to Google’s WAA-off Logging is
                                   to users, particularly the growing     the following: “Users with Web and
                                   class concerned about privacy.”        App Activity (WAA) off have not
                                                                          provided [consent for Google to log
                                                                          personal features],” and that the
                                                                          “goal of this project is to change
                                                                          WAA-off logging” to reduce “user
                                                                          frustration.” 277 This quote shows
                                                                          that Google responds to users’
                                                                          privacy preferences, and was
                                                                          looking to provide users with
                                                                          “appropriately scoped
                                                                          personalization controls" while
                                                                          “respecting the user’s privacy
                                                                          preferences.” 278

                                                                          Additionally, the same document
                                                                          contains a section labeled “Privacy
                                                                          Considerations,” which describes
                                                                          what Google considers are “user
                                                                          expectation[s] when WAA is
                                                                          disabled,” and that Google was
                                                                          “working with Legal to determine if
                                                                          any user-facing policy changes are
                                                                          needed for the logging rollout.” 279
                                                                          This is an example of Google’s


276
    Ruemmler Deposition, p. 168:6-20.
277
    GOOG-RDGZ-00046758 (Document titled “Design Doc for Changing WAA-off Logging,” June 25, 2020, at -
759).
278
    GOOG-RDGZ-00046758 (Document titled “Design Doc for Changing WAA-off Logging,” June 25, 2020, at -
759).
279
    GOOG-RDGZ-00046758 (Document titled “Design Doc for Changing WAA-off Logging,” June 25, 2020, at -
768).
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                                                                       customer-centric culture, and how
                                                                       they often considered UI design and
                                                                       privacy disclosure changes with the
                                                                       user in mind.


 ¶ 397, FN 456                    Elsewhere Ms. Bellamy noted, “Not    The source cited by Mr. Schneier
 (GOOG-RDGZ-00203679, at -680)    only are the implications of WAA     supports the idea that privacy
                                  extremely broad and varied, but      concerns are contextual and
                                  people use Google in such diverse    individualized. Google, being a
                                  ways—much of the language            customer-centric company,
                                  intended to be comprehensive feels   understands that its users are
                                  vague and hard-to-parse for non-     heterogeneous and have varying
                                  engineers/lawyers.”                  expectations for privacy
                                                                       disclosures. Based on my UI
                                                                       analysis on Google’s Privacy
                                                                       Policy, it is evident that Google
                                                                       considers user heterogeneity when
                                                                       developing its UI design and
                                                                       privacy disclosures, as Google’s UI
                                                                       design and privacy disclosures are
                                                                       user-friendly and employ industry
                                                                       best practices.



  166. Finally, Table 13 below contains user studies cited by Mr. Schneier whose findings are
        focused on areas outside of the U.S. Yet, Mr. Schneier treats them as representative of
        users located in the U.S. For example, Mr. Schneier cites a June 2020 research proposal
        as support that most respondents “believe that turning off WAA will result in no data
        being collected from their activity and no personalization in Google’s products and
        services.” 280 However, Mr. Schneier fails to acknowledge that the “N3 Research Project”
        was primarily “related to account creation in Europe.” 281 In another instance, Mr.
        Schneier references a user study concerning “user understanding of Google’s user device
        controls. 282 As Mr. Schneier points out, the study “consisted entirely of German citizens
        with a specific interest in privacy.” 283 Mr. Schneier has not shown how or why this study
        is relevant to the US market.




280
    GOOG-RDGZ-00043294 (Document titled “N3 Research Request -                  ,” June 8, 2020 at -299).
281
    De Booij Deposition, pp. 99:1-6, 102:3-8.
282
    Schneier Report, ¶ 398.
283
    Schneier Report, ¶ 398.
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  Table 13: Responses to Mr. Schneier’s Claims Regarding Google Employee Statements
                   Where the Study is Not Relevant to the US Market

       Schneier Report Source                  Schneier’s Claims                  Response to Mr. Schneier’s
                                                                                           Claims

 ¶ 398, FN 460                         In a June 2020 research proposal,      Mr. Schneier does not consider that
 (GOOG-RDGZ-00043294, at -299)         senior research manager Arne De        the source refers to “N3 Research
                                       Booij anticipated that “Most           request,” which according to De
                                       respondents will believe that          Booij, is related to the Narnia 3
                                       turning off WAA will result in no      project. According to De Booij, the
                                       data being collected from their        Narnia 3 project was primarily
                                       activity and no personalization in     “related to account creation in
                                       Google products and services.”         Europe.” 284 Mr. Schneier has not
                                                                              shown how or why the results of a
                                                                              study focused in Europe would be
                                                                              applicable to the US.

 ¶ 398, FN 461                         In his deposition, Mr. De Booij        As Mr. Schneier himself points out,
 (De Booij Deposition, pp. 80:9-       acknowledged that the subject pool     the study consisted “entirely of
 96:22)                                for a study of user understanding of   German citizens with a specific
                                       Google’s user device controls,         interest in privacy.” It is therefore
                                       including the WAA/sWAA                 not indicative of the average U.S.
                                       controls, was “not a general           user. Moreover, De Booij testified
                                       population representative sample,”     that the study was largely prepared
                                       but consisted entirely of German       by a third-party vendor, which
                                       citizens with a specific interest in   means that “they did most of the
                                       privacy. A series of one-on-one        research work” that resulted in the
                                       interviews with the research           recommendation that Mr. Schneier
                                       subjects yielded the                   excerpts here. Mr. De Booij stated
                                       recommendation, “Be more explicit      that he could not tell from that
                                       of the effects of                      report “what they meant by
                                       activation/deactivation. Use simple    ‘explicit’ in this particular example
                                       language.” This recommendation         for this particular study.” 285 Thus, it
                                       implies that even privacy-conscious    would be inappropriate for Mr.
                                       individuals did not understand         Schneier to pontificate on what this
                                       Google’s privacy disclosures, or       recommendation implies and then
                                       “the effects of                        proceed to apply the
                                       activation/deactivation” of user       recommendation to this case when
                                       controls.                              Google’s own senior research
                                                                              manager felt unqualified to do so. 286




284
    De Booij Deposition, pp. 99:1-6, 102:3-8.
285
    De Booij Deposition, p. 96:7-12.
286
    De Booij Deposition, pp. 80:21-81:12, 95:22-96:12.
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IX.     CONCLUSION

 167. Mr. Schneier has failed to consider that users choose to use Google and benefit from
        Google services and the personalization options Google offers, including WAA and
        sWAA. Google may collect user data to improve user interaction with Google by
        identifying and developing products and features users want. Google is a highly
        customer-centric business that operates in a technologically complex environment. As a
        result, Google strives to make its interface easy to use and transparent to its highly
        diverse and heterogeneous user base. Google’s culture of focusing on the user, and its
        desire to consistently improve its products and services has led to users repeatedly
        choosing to use Google’s products and services.

 168. Mr. Schneier has failed to consider that users are heterogeneous and have different
        privacy preferences. Google’s UI design caters to the needs of these heterogeneous users,
        and provides users with control over the company’s collection of data.

 169. Mr. Schneier’s claims that Google’s notice and consent procedures are confusing has no
        merit and is unsupported by any scientific (or other) methodology.

 170. Mr. Schneier’s text analysis of Google’s TOS and privacy policies is methodologically
        flawed and not valid. Mr. Schneier has not presented any evidence as to why a readability
        calculator is a valid proxy for users’ actual perceptions, nor does he apply the readability
        calculator to the specific at-issue WAA or sWAA disclosures. Google’s UI design and
        user-facing disclosures, including the terms of service and privacy policies criticized by
        Mr. Schneier, are user-friendly and evolutionary. Google adopts key principles of UI
        design such as providing progressive disclosure and giving users control over their
        navigational choices to satisfy the user’s need, resulting in notice and consent procedures
        that are user-friendly and evolutionary.

 171. Mr. Schneier’s conclusion that Google’s WAA and sWAA user interface and disclosures
        exemplify “dark patterns” is not supported by any scientifically based methodology.
        “Dark patterns” are a nebulous and subjective construct, and Mr. Schneier appears to
        have developed his conclusions based on his mischaracterization or misinterpretation of
        Google documents and his own misunderstandings of the “dark patterns” literature. The

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     disclosures at issue–including the WAA and sWAA disclosures and disclosures made to
     third-party developers–do not exhibit “dark patterns” under any of the numerous
     definitions Mr. Schneier seeks to employ.

172. Mr. Schneier also inappropriately mischaracterizes deposition testimony and internal
     communications from Google employees regarding WAA and sWAA disclosures and
     other Google products. He takes those statements out of context and twists them to say
     that Google employees agree with him with respect to the issues in this case. In fact, in
     many cases, there is direct evidence that those statements concern entirely different
     issues. Mr. Schneier’s conclusion that Google purportedly “ignored” the concerns of its
     employees is incorrect, as many of the documents demonstrate Google’s repeated
     commitment to providing users with transparency and control. Mr. Schneier also ignores
     relevant testimony and other context that make clear that some Google employees
     misunderstood the company’s WAA product and data collection practices at the time they
     made the statements in question.

173. Contrary to Mr. Schneier’s assertions, the disclosures accompanying the WAA toggle
     and on the WAA help page are examples of user-friendly UI design. They explain what
     WAA does–save certain activity in a user’s account for purposes of personalization–
     accurately and in an understandable manner. It would not be good UI design or be
     beneficial for the user to describe in the WAA disclosures the many dimensions of data
     collection outside of a user’s Google Account that WAA does not control. This would
     overwhelm the user with information unrelated to WAA’s functionality, such as, when
     WAA is off, whether analytics can still be used on third-party apps like Lyft or the New
     York Times. By requiring that this information appear in the privacy policy of the
     individual apps, Google is providing the user with the information they need to
     understand WAA without overwhelming the user with confusing and irrelevant
     information. This is appropriate and good UI design.

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Signed on the 31st day of May, 2023 in Encinitas, CA.




                                                        ______________________________
                                                           Donna L. Hoffman




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                                          Appendix A

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      M.A., L.L. Thurstone Psychometric Laboratory, University of North Carolina, Chapel Hill,
      NC, 1980. (Quantitative Psychology.)

      A.B., University of California, Davis, California, 1978. (Psychology.)

Academic Appointments

      The George Washington University, July 1, 2013-present
      Louis Rosenfeld Distinguished Scholar and Professor of Marketing
      Co-Director, Center for the Connected Consumer

      University of California, Riverside, 2006-2013
      Albert O. Steffey Chair of Marketing (2011-2013); Chancellor’s Chair (2006-2011)
      Co-Director, UCR Sloan Center for Internet Retailing
      Department Chair, Management and Marketing (2006-2011)
      Cooperating Faculty, Department of Psychology (2007-2013)

      Vanderbilt University
      Professor of Marketing, 2000-2006.
      Co-Director, Vanderbilt University Sloan Center for Internet Retailing, 2003-2006
      Co-Founder & Co-Director, eLab Research Laboratory, 1994-2006.
      Director, Electronic Commerce Concentration 1999-2006.
      Marketing Area Head, 2002-2003, 2005-2006
      Associate Professor of Marketing, 1993-2000.
      Founder & Director, Electronic Commerce Emphasis at Owen, 1995-1999. (Emphasis
      converted to formal concentration in 1999).

      University of Texas (Dallas)
      Associate Professor, 1991-1993.
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       Columbia University
       Associate Professor, Graduate School of Business, 1987-1990.
       Assistant Professor, 1984-1987.
       Associate in Business, 1983-1984.

Visiting Scholar Appointments

       University of Hong Kong (HKU), January 12-29, 2019
       Visiting Scholar, Faculty of Business and Economics, Department of Marketing

       University of California, San Diego, Fall 2013, Spring 2018
       Visiting Scholar, Rady School of Management

       University of Southern California, Fall 2010
       Visiting Scholar, Marshall School of Business

       Stanford University
       Visiting Scholar, Center for Electronic Business and Commerce (Summer 2000)
       Visiting Scholar, Department of Marketing (Summer 1997)

       UCLA
       Visiting Associate Professor, Anderson Graduate School of Management (Summer 1989)

Professional Experience

       Interval Research Corporation, Palo Alto, CA, 1995-1999
       Visiting Scholar (summer)

       Research Triangle Institute, N.C., 1980-1981
       Social Science Analyst


Special Appointments

       President’s Information Technology Advisory Committee (PITAC), Socio-Economic and
       Workforce Panel, 1998.
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Academic Honors and Awards

2021   Best Article Award, Journal of Consumer Research. Awarded for Hoffman and Novak
       (2018), “Consumer and Object Experience in the Internet of Things: An Assemblage
       Theory Approach,” (Volume 44) April 2018.
2021   GWSB Dean’s Awards for Excellence: Senior Faculty Research Award
2020   Finalist for Academy of Marketing Science Best JAMS Article Award Published in 2019
2019   Winner of the Lazaridis Prize for the Best Paper on the Practice of Marketing as it relates
       to Innovation, Technology, and Interactivity, awarded by the American Marketing
       Association (AMA) TechSIG
2019   Journal of Consumer Research Best Reviewer Award
2019   Society for Consumer Psychology Fellow
2012   University of Pennsylvania Future of Advertising Center/Wharton Customer Analytics
       Initiative “Innovative Approaches to Measuring Advertising Effectiveness” Winner for
       proposal “Crowdsourcing Ad Effectiveness: Can Emergent Segments Produce the Most
       Effective Online Ads? ($7,500)
2012   MSI Ideas Challenge Winner for proposal “Idea Wars: Developing a Collaborative
       Research Agenda for the Gamification of Marketing” ($10,000)
2012   Finalist, Paul. D. Converse Award for Outstanding Contributions to the Science of
       Marketing
2011   National Science Foundation Grant # IIS-1114828, “Motivations, Expectations and Goal
       Pursuit in Social Media,” PI ($413,756 for two years)
2011   Robert B. Clarke Outstanding Educator of the Year Award (Direct Marketing Educational
       Foundation)
2011   Marketing Science Institute “Challenges of Communications and Branding in a Digital
       Era” research proposal competition winner ($8,750)
2011   Robert D. Buzzell MSI Best Paper Award Honorable Mention for “The ‘Right’ Consumers
       for the Best Concepts: Identifying and Using Emergent Consumers in Developing New
       Products” (Hoffman, Kopalle and Novak)
2009   Thomson Reuters’ Essential Science Indicators cited Professors Donna Hoffman and Tom
       Novak’s Journal of Interactive Marketing (2009) article as a “Fast Breaking Paper” (one
       of the most cited in the past two years) in the entire field of Economics and Business,
       November 2009.
2009   Google/WPP Marketing Research Award (First Round Inaugural Year), “Are Brand
       Attitudes Contagious?” $55,000, with Tom Novak
2008   Marketing Science Institute Research Grant Award, The "Right" Consumers for the Best
       Concepts: A Methodology for Identifying Emergent Consumers for New Product
       Development, $6,750, with Tom Novak and Praveen Kopalle.
2008   National Science Foundation, Global Environment for Network Innovations (GENI) End-
       User Opt-In Initiative
2007   Alfred P. Sloan Foundation Research Networking Workshop Grant Award ($15,000)
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2007   National Retail Federation Ray M. Greenly Shop.org Scholarship ($2500) to the UCR
       Sloan Center for Internet Retailing – awarded to Hector Rosales, UCR undergraduate
2005   Sheth Foundation/Journal of Marketing Award for long-term contributions to marketing
       for the article “Marketing in Hypermedia Computer-Mediated Environments:
       Conceptual Foundations, published in the Journal of Marketing (1996).
2005   Stellner Distinguished Scholar for 2005-2006, University of Illinois at Urbana-Champaign.
2004   Member of marketing department ranked #2 in research impact per faculty member
       (based on median citation rates) among the top 46 business schools in the United
       States.
2003   ISI Essential Science Indicators cited Professors Donna Hoffman and Tom Novak’s
       Marketing Science (2000) article as “Emerging Research Front” in the entire field of
       Economics and Business, December 2003.
2003   ISI Essential Science Indicators cited Professors Donna Hoffman and Tom Novak for the
       highest percentage increase in total citations in the entire field of Economics and
       Business, July 2003.
2003   AACSB International Effective Practice: eLab
2002   University of North Carolina Distinguished Graduate Alumni
       http://gradschool.unc.edu/centennial/distinguished_graduate.html
1999   With Professor Tom Novak, voted as one of the top two Internet scientists by over 600
       U.S. and European scientists and marketing managers in a survey conducted by the
       ProfNet Institute for Internet Marketing in Dortmund, Germany.
1999   EDSF Excellence in Education Award for Innovation in Higher Education (sponsored by
       Xerox).
1997   EFF (Electronic Frontier Foundation) Honorary Fellow.
1996   TLA/SIRS Freedom of Information Award.
1991   William O'Dell Award for "Correspondence Analysis: The Graphical Representation of
       Categorical Data in Marketing Research," Journal of Marketing Research, 1986.
1991   American Marketing Association Second Annual Advanced Research Techniques Forum
       Best Paper Award and Best Presentation Award for "Asymmetric Residual Maps for
       Market Structure Analysis.”
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Research Interests

    •   Consumer and smart object experience of AI using assemblage theory and object-
        oriented ontology perspectives
    •   Impact of anthropomorphism of AI
    •   Computational approaches (machine learning and NLP methods) for understanding
        consumer-smart object experience from IoT interaction data
    •   Self-extension and self-expansion theories of consumers’ relationships with objects
    •   Online consumer behavior and digital marketing strategy

Research Impact

36728 citations in Google Scholar (as of February 2023) + 651 from my 2000 HBR article which
Google Scholar doesn’t seem to be indexing at the moment:
Google Scholar Page: https://scholar.google.com/citations?user=FY9GUJgAAAAJ&hl=en

    •   h-index=47 (at least 47 articles cited at least 47 times)
    •   i10-index=82 (82 papers with 10 or more citations)

The 1996 Journal of Marketing article on marketing in computer-mediated environments is the
most widely cited Journal of Marketing article from 1995-2007 and the #1 most cited paper in the
entire marketing discipline between 1990-2002 (Stremersch, Verniers and Verhoef 2007).

The 2000 Marketing Science article on online customer experience is one of the “all time most
highly cited articles” and the top article in terms of “all time citations per year” in Marketing Science
(Shugan 2008), as well as the 14th most cited paper in the entire marketing discipline between 1990-
2002 (Stremersch, Verniers and Verhoef 2007)




Journal Publications

    1. Novak, T.P. and D.L. Hoffman (2023), “Automation Assemblages in the Internet of
       Things: Discovering Qualitative Practices at the Boundaries of Quantitative Change,”
       Journal of Consumer Research, 49(5), 811-837. Published Online April 7, 2022.

    2. Hildebrand, C., F. Efthymiou, B. Francesc, W.H. Hampton, D.L. Hoffman and T.P. Novak
       (2020), “Voice Analytics in Business Research: Conceptual Foundations, Acoustic Feature
       Extraction, and Applications,” Journal of Business Research, 121 (December), 364-374.
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   3. MacInnis, Deborah J., Vicki G. Mortwitz, Simona Botti, Donna L. Hoffman, Robert V.
      Kozinets, Donald R. Lehmann, John G. Lynch, Jr., Cornelia Pechmann (2020), “Creating
      Boundary-Breaking Marketing-Relevant Consumer Research,” Journal of Marketing,
      84(2), 1-23.

   4. Novak, T.P. and D.L. Hoffman, (2019), “Relationship Journeys in the Internet of Things: A
      New Framework for Understanding Interactions Between Consumers and Smart
      Objects,” Journal of the Academy of Marketing Science, special issue on Consumer
      Journeys: Developing Consumer-Based Strategy, 47(2), 216-237.
             Finalist for Academy of Marketing Science Best JAMS Article Award published
             in 2019

   5. Hoffman, D.L. and T.P. Novak (2018), “The Path of Emergence Experience in the
      Consumer IoT: From Early Adoption to Radical Changes in Consumers’ Lives,” Marketing
      Intelligence Review: IoT Experiences, 10(2), 10-17.

   6. Hoffman, D.L. and T.P. Novak (2018), “Consumer and Object Experience in the Internet
      of Things: An Assemblage Theory Approach,” Journal of Consumer Research, 44(6), April,
      1178-1204. Lead article.
             Winner of the 2021 Journal of Consumer Research Best Article Award.

               Winner of the 2019 Lazaridis Prize for the Best Paper on the Practice of
               Marketing as it relates to Innovation, Technology and Interactivity, awarded by
               the American Marketing Association (AMA) TechSIG.

   7. Verhoef, P., Stephen, A., Kannan, P.K., Luo, X., Abhishek, V., Andrews, M., Bart, Y., Datta,
      H., Fong, N., Hoffman, D., Hu, M., Novak, T., Rand, W., and Zhang, Y. (2017), “Consumer
      Connectivity in a Complex, Technology-Enabled, and Mobile-Oriented World with Smart
      Products,” Journal of Interactive Marketing, 40 (November), 1-8.

   8. Hoffman, D.L., T.P. Novak and H. Kang, (2017), “Let’s Get Closer: How Regulatory Fit
      Drives Feelings of Connectedness in Social Media,” Journal of the Association for
      Consumer Research, issue on “The Consumer in a Connected World,” 2(2).

   9. White, T., T. P, Novak and D. L. Hoffman (2014), “No Strings Attached: When Giving It
      Away Versus Making Them Pay Leads to Negative Net Benefit Perceptions in Consumer-
      Retailer Exchanges,” Journal of Interactive Marketing, 28 (August), 184-195.

   10. Yadav, Manjit S, Kristine De Valck, Thorsten Hennig-Thurau, D.L. Hoffman and Martin
       Spann (2013), “Social Commerce: A Contingency Framework for Assessing Marketing
       Potential,” Journal of Interactive Marketing, 27 (November), 311-323.
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   11. Hoffman, D.L. and T.P. Novak (2012), “Toward a Deeper Understanding of Social Media,”
       Journal of Interactive Marketing. (Editorial, Co-Editor, Special Issue on “Social Media”),
       26(May), 69-70.

   12. Hoffman, D. L. (2011), “Web 2.0 for B2Bs: Strategic Brief,” European Business Review,
       November-December, 72-73.

   13. Hoffman, D.L. and Novak. T.P (2011), “Marketing Communication in a Digital Era,”
       Marketing Management, Fall, 20(3), 37-42, American Marketing Association. Cover
       article. (Invited article to commemorate the 50th Anniversary of the Marketing Science
       Institute.)

   14. Hoffman, D.L. and M. Fodor (2010), “Can You Measure the ROI of Your Social Media
       Marketing?” Sloan Management Review, 52(1), Fall, 41-49.

   15. Hoffman, D., Kopalle, P., Novak, T. (2010) The “Right” Consumers for Better Concepts:
       Identifying Consumers High in Emergent Nature to Develop New Product Concepts,”
       Journal of Marketing Research, 47 (October).
               Honorable Mention: 2011 Robert D. Buzzell MSI Best Paper Award for
               significant contribution to marketing practice and thought.

   16. Hoffman, D.L. (2009), “Managing Beyond Web 2.0,” McKinsey Quarterly, July.

   17. Hoffman, D.L., Novak, T.P. (2009), “Flow Online: Lessons Learned and Future Prospects,”
       Journal of Interactive Marketing, 23(1), February, Anniversary Issue, 23-34.
              Most cited article during the period 2007-2011.

   18. Novak, T.P., Hoffman, D.L. (2009), “The Fit of Thinking Style and Situation: New
       Measures of Situation-Specific Experiential and Rational Cognition,” Journal of Consumer
       Research, 36(1), December, 56-72.

   19. Neslin, S., Novak, T., Baker, K., Hoffman, D. (2009), “An Optimal Contact Model for
       Maximizing Online Panel Response Rates,” Management Science, 55(5), May, 727-737.

   20. Hoffman, Donna L., Thomas P. Novak, and Alladi Venkatesh (2004), “Has the Internet
       Become Indispensable?” Communications of the ACM, 47(7), July, 37-42.

   21. Hoffman, Donna and Thomas P. Novak (2005), “A Conceptual Framework for
       Considering Web-Based Business Models and Potential Revenue Streams” International
       Journal of Marketing Education, 1(1).
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   22. Chatterjee, P., D.L. Hoffman and T.P. Novak (2003), “Modeling the Clickstream:
       Implications for Web-Based Advertising Efforts,” Marketing Science, 22(4), 520-541.

   23. Hoffman, Donna L., Thomas P. Novak and Ann Schlosser (2003), “Consumer Attitudes
       Toward Software Filters and Online Content Ratings: A Policy Analysis,” Journal of Public
       Policy and Marketing, 22(1), 41-57.

   24. Novak, Thomas P., Donna L. Hoffman, and Adam Duhachek (2003) “The Influence of
       Goal-Directed and Experiential Activities on Online Flow Activities,” Journal of Consumer
       Psychology, 13(1&2), 3-16. Lead article.

   25. Straub, Detmar, Donna L. Hoffman, Bruce Weber and Charles Steinfield (2002), “Toward
       New Metrics for Net-Enhanced Organizations,” Information Systems Research, 13(3),
       September. (Editorial)

   26. Straub, Detmar, Donna L. Hoffman, Bruce Weber, and Charles Steinfield (2002),
       “Measuring e-Commerce in Net-Enabled Organizations,” Information Systems Research.
       13 (2), June. (Editorial)

   27. Hoffman, D. L. (2000), “The Revolution Will Not Be Televised,” Editorial, Marketing
       Science, Winter, 19(1), 1-3. (Editorial)

   28. Hoffman, D.L. and T.P. Novak (2000), “How to Acquire Customers on the Web,”
       May/June, Harvard Business Review, 179-188.

   29. Hoffman, D.L., T.P. Novak and A. Schlosser (2000), "The Evolution of the Digital Divide:
       How Gaps in Internet Access May Impact Electronic Commerce," Journal of Computer-
       Mediated Communication, 5(3),
       http://www.ascusc.org/jcmc/vol5/issue3/hoffman.html.
       Reprinted in: Hoffman, D.L., T.P. Novak and A. Schlosser (2003), "The Evolution of the
       Digital Divide: How Gaps in Internet Access May Impact Electronic Commerce," New
       Directions in Research on E-Commerce, Charles Steinfield, Editor, 245-292, Purdue
       University Press.

   30. Novak, T.P., D.L. Hoffman, and Y.F. Yung (2000), “Measuring the Customer Experience in
       Online Environments: A Structural Modeling Approach,” Marketing Science, Winter,
       19(1), 22-44.

   31. Hoffman, D.L., T.P. Novak, and M.A. Peralta (1999), “Building Consumer Trust Online,”
       April, Communications of the ACM, Volume 42, Number 4, April, 80-85.
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   32. Hoffman, D.L, T.P. Novak, and M.A. Peralta (1999), “Information Privacy in the
       Marketspace: Implications for the Commercial Uses of Anonymity on the Web,” The
       Information Society, Volume 15, Number 2, April-June, 129-140.

   33. Hoffman, D.L. and T.P. Novak (1998), “Division on the Internet?” Science, 281 (August
       14), 919d (response to letters regarding “Bridging the Racial Divide on the Internet”).

   34. Hoffman, D.L. and T.P. Novak (1998), "Bridging the Racial Divide on the Internet,"
       Science, Volume 280, 390-391, April 17.

   35. Novak, T.P. and D.L. Hoffman (1997), "New Metrics for New Media: Toward the
       Development of Web Measurement Standards," World Wide Web Journal, Winter, 2(1),
       213-246. Russian translation reprinted as a chapter in Research on the Internet,
       Humanitarian and Social Aspects, A. Voiskounsky, ed.

   36. Hoffman, D.L. and T.P. Novak (1997), "A New Marketing Paradigm for Electronic
       Commerce," The Information Society, Special Issue on Electronic Commerce, 13 (Jan-
       Mar.), 43-54. German translation reprinted in THEXIS, special issue on "Online
       Marketing," (1997), Jan., 39-43.

   37. Hoffman, D.L., W.D. Kalsbeek and T.P. Novak (1996), "Internet and Web Use in the
       United States: Baselines for Commercial Development," Special Section on "Internet in
       the Home," Communications of the ACM, 39 (December), 36-46.

   38. Hoffman, D.L. and T.P. Novak (1996), “Perspectives: The Future of Interactive
       Marketing,” Harvard Business Review, 74 (November-December), 161.

   39. Hoffman, D.L. and T.P. Novak (1996), "Marketing in Hypermedia Computer-Mediated
       Environments: Conceptual Foundations," Journal of Marketing, 60 (July), 50-68.
       Reprinted in: Marketing Communication Classics, (2000), Maureen FitzGerald and David
       Arnott, eds. London: Business Press, pp. 261-290.

               Winner of the 2005 AMA Sheth Foundation/Journal of Marketing Award for
               long-term contributions to the marketing discipline.
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   40. Hoffman, D.L., T.P. Novak, and P. Chatterjee. (1995), "Commercial Scenarios for the
       Web: Opportunities and Challenges," Journal of Computer-Mediated Communication,
       Special Issue on Electronic Commerce, 1(3). Lead article.
       Reprinted in: Electronic Commerce: Profiting from Business On-line, (1996) Layna
       Fischer, ed., Lighthouse Point FL: Future Strategies Inc., Book Division, pp. 107-136.
       Reprinted in: Readings in Electronic Commerce (1996), Ravi Kalakota and Andrew
       Whinston, eds., Reading, MA: Addison-Wesley, pp. 29-53. Reprinted in: Web Marketing
       Insider (1996). [www.ideacentral.com/wmi/hoffman1.html]

   41. Hoffman, D.L. & Holbrook, M.J. (1993) The Intellectual Structure of Consumer Research:
       A Bibliometric Study of Author Co-Citations in the First 15 Years of JCR. Journal of
       Consumer Research, 19(4), March, 505-517.

   42. Hoffman, D.L. & de Leeuw, J. (1992) Interpreting Multiple Correspondence Analysis as
       an MDS Method. Marketing Letters, 3(3).

   43. Kopalle, P. & Hoffman, D.L. (1992) Generalizing the Sensitivity Conditions in an Overall
       Index of Product Quality. Journal of Consumer Research, 18 (4), March, 530-535.

   44. Hoffman, D.L. & Batra, R. (1991) Viewer Response to Programs: Dimensionality and
       Concurrent Behavior. Journal of Advertising Research, (August-September), 31(4), 46-56.

   45. Novak, T.P & Hoffman, D.L. (1990). Residual scaling: An alternative to correspondence
       analysis for the graphical representation of residuals from log-linear models.
       Multivariate Behavioral Research, 25(July), 351-370.

   46. Hoffman, D.L. & Novak, T.P. (1988). A short SAS macro for performing the basic
       equations of correspondence analysis. TRAC, 7(3), Computer Corner, 93-94.

   47. DeSarbo, W. & Hoffman, D.L. (1987). Constructing MDS Joint Spaces from Binary Choice
       Data: A New Multidimensional Unfolding Model for Marketing Research. Journal of
       Marketing Research, 24 (February), 40-54.

   48. Hoffman, D.L. & Franke, G. (1986). Correspondence Analysis: The Graphical
       Representation of Categorical Data in Marketing Research. Journal of Marketing
       Research, 23 (August), 213-227. Reprinted in Multidimensional Scaling: Concepts and
       Applications, P. Green, F. Carmone and S. Smith (Eds.), Allyn and Bacon, Inc. (1993)

               Winner of the 1991 William O'Dell Award for long-run contributions to
               marketing.
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   49. DeSarbo, W. & Hoffman, D.L. (1986). Simple and Weighted Multidimensional Unfolding
       Threshold Models for the Spatial Representation of Binary Choice Data. Applied
       Psychological Measurement, 10(3), 247-264.

   50. Hoffman, D.L. (1985). An argument for qualitative ratings. Television Quarterly, 21(4),
       39-44.

Papers Under Review and in Preparation for Submission

   51. Hildebrand, C., D.L. Hoffman and T.P. Novak, “Dehumanization in the IoT: Experiential
       Consequences of Syntactically Constricted Human-Machine Interaction,” in preparation
       for submission to Journal of Consumer Research.

   52. Hoffman, D.L. and T.P. Novak, “An Assemblage Theory Approach to Innovation in the
       Internet of Things, in preparation for submission to the Journal of Product Innovation
       Management, Thought Leader Special Issue.

   53. Hoffman, D.L. and T.P. Novak, “Human-Centric versus Object-Oriented Perspectives on
       Perceptions of AI,” target: Journal of Marketing.

   54. Novak, T.P. and D.L. Hoffman, “Enabling and Constraining Experiences: Theory,
       Measurement, and Application,” two studies completed, target: Journal of Consumer
       Research.

Working Papers and Monographs

   1. Hoffman, D.L. and T.P. Novak (2016), “How to Market the Smart Home: Focus on
      Emergent Experience, Not Use Cases,” January 15. Working paper available at:
      https://ssrn.com/abstract=2840976.

   2. Hoffman, D.L. and T.P. Novak, (2015), “Emergent Experience and the Connected
      Consumer in the Smart Home Assemblage and the Internet of Things,” August 20.
      Monograph. 152 pages. Available at SSRN: http://ssrn.com/abstract=2648786

   3. Hoffman, D.L. and T.P. Novak (2014), “Online Experience in Social Media: Two Paths to
      Feeling      Close    and     Connected,”     working      paper     available    at:
      https://ssrn.com/abstract=1990005.

   4. Hoffman, D.L. and T.P. Novak (2012), “Why Do People Use Social Media? Empirical
      Findings and a New Theoretical Framework for Social Media Goal Pursuit,” working paper
      available at: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=1989586
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Edited Books

Hoffman, D.L. And T.P. Novak, Eds. (2005), Beyond the Basics: Research-Based Rules for
     Internet Retailing Advantage. eLab Press, Vanderbilt University.

Refereed Chapters in Books

   1. Hoffman, D.L., T.P. Novak, and Y. Li (2015), “Online Consumer Behavior,” In Mansell, R.
      and Ang, P-H (Eds), The International Encyclopedia of Digital Communication and
      Society, Wiley-Blackwell-ICA Encyclopedias of Communication. Malden and Oxford:
      Wiley.

   2. Hoffman, D. L., T.P. Novak and R. Stein (2013), “The Digital Consumer,” chapter in The
      Routledge Companion to Digital Consumption, Eds., Russell Belk and Rosa Llamas,
      Routledge, Taylor And Francis Group.

   3. Hoffman, D.L. and T.P. Novak (2012), “Social Media Strategy,” in Handbook on
      Marketing Strategy, eds., Venkatesh Shankar and Gregory S. Carpenter, Edward Elgar
      Publishing, Ltd., 198-216.

   4. Hoffman, D.L. (2012), “Internet Indispensability, Online Social Capital, and Consumer
      Well-Being,” Chapter to appear in Transformative Consumer Research for Personal and
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       Feb 16-18.

   61. D.L. Hoffman, T.P. Novak, and R. Stein (2012), “The Determinants of Online Social
       Identity,” Society for Consumer Psychology Annual Conference, Las Vegas, NV, Feb 16-
       18.

   62. D.L. Hoffman and T.P. Novak (2012), “Need Satisfaction During Social Media Goal
       Pursuit: The Role of Motivational Orientation and Identification with Online Social
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Donna L. Hoffman                                                                May 2023

       Groups,” Annual Meeting of the Society for Personality and Social Psychology, San
       Diego, CA, January 26-28.

   63. D. L. Hoffman (2011), “MSI 50th Anniversary Special Session in Support of Consumer
       Behavior Research,” Association for Consumer Research North American Conference, St.
       Louis, MO, October 13-16, 2011.

   64. D.L. Hoffman and T.P. Novak (2011),” Beyond Facebook: Emerging Trends for a Post-
       Social Media World,” MSI Conference on Marketing in the Digital Age,” October 5,
       Berkeley.

   65. D.L. Hoffman and T.P. Novak (2011), “Why People Use Social Media,” INFORMS
       Marketing Science Conference 2011, Rice University, June 9-11.

   66. D. L. Hoffman and T.P. Novak (2010), “, "Retweet: A Digital Meditation on The Power of
       Twitter,” original film, Association for Consumer Research North American Conference,
       Jacksonville, FL, October 7-10.

   67. D.L. Hoffman and T.P. Novak (2010), “Roles and Goals: Consumer Motivations to Use
      the Social Web,” INFORMS Marketing Science Conference 2010, Cologne, Germany,
      June 16-19.

   68. D.L. Hoffman and T.P. Novak (2010), “Are Brand Attitudes Contagious? Consumer
       Response to Organic Search Trends,” INFORMS Marketing Science Conference 2010,
       Cologne, Germany, June 16-19.

   69. D.L. Hoffman, T.P. Novak and J. Silva-Risso (2010), “Validating Brand Tracking Data
       Against Organic Brand Search Trends,” INFORMS Marketing Science Conference 2010,
       Cologne, Germany, June 16-19.
   70. Hoffman, D.L. (2010), “Social Metrics for Social Media,” Internet Metrics Session, MSI
       Pre-Conference Workshop on Marketing Spending, March 1.

   71. Hoffman, D.L (2010), “Session One: Allocating Across the Media Mix,” panelist, MSI
       Conference on Effective Marketing Spending, UCLA, March 2-3.

   72. D.L. Hoffman and T.P. Novak (2009), “Are Brand Attitudes Contagious? Consumer
       Response to Organic Search Trends,” Google and WPP Marketing Research Awards
       Conference 09, New York City, November 3.
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   73. Hoffman, D.L. (2009), “Navigating the Networked Rivers of the Social Web: Emerging
       Themes for Consumer Behavior Research on Web 2.X,” ACR Roundtable, Association for
       Consumer Research Annual Conference, Pittsburgh, PA, October 22-25.

   74. Hoffman, D.L. (2009), “The “Right” Consumers for the Best Concepts: Identifying and
       Using Emergent Consumers in Developing Innovations,” MSI Customer Insights for
       Innovation Conference, University of Miami School of Business, Coral Gables, FL, June
       18-19.

   75. Hoffman, D.L. (2009), “Decomposing Morris: A Curious Correspondence Analysis,”
       “Morrisfest” Symposium, Graduate School of Business, Columbia University, May 8,
       (Invited)

   76. Hoffman, D.L. P. Kopalle, and T.P. Novak (2008), “The “Right” Consumers for the Best
       Concepts: A Methodology for Identifying Emergent Consumers for New Product
       Development,” ACR North American Conference, Hyatt Regency Hotel, San Francisco,
       CA, October 23-26. (presenter)

   77. Hoffman, D.L. (2008), “Generating Customer Insights from the “Social Web:” Are
       Marketers Ready to Give Up Control?,” Direct Marketers Educational Foundation
       (DMEF) Direct/Interactive Marketing Research Summit, Las Vegas Hilton, Las Vegas, NV,
       October 11-12. (Invited)

   78. Hoffman, D.L. (2008), “Generating Customer Insights from the ‘Social Web’: Are You
       Ready to Give Up Control?,” MSI Board of Trustees Meeting and Conference on New
       Insights on Customer Behavior, Langham Hotel, Boston, MA, April 10-11.

   79. Hoffman, D.L., P. Kopalle, and T.P. Novak (2008), “The ‘Right’ Consumers for Concept
       Development: Development and Validation of a Scale to Measure Emergent Nature,”
       UC/USC Marketing Colloquium, University of California, Irvine, April 4. (presenter)
   80. Hoffman, D.L. (2008), “The Evolution of Customer Experience: 10 Trends You Can’t
       Afford to Miss,” (presentation and panel moderator) MSI/Sloan Conference on
       Leveraging Online Media and Online Marketing, UCR Palm Desert Campus and Hotel
       Miramonte Resort, February 6-8.

   81. Hoffman, D.L. (2008), “User Generated Content,” MSI/Sloan Conference on Leveraging
       Online Media and Online Marketing, UCR Palm Desert Campus and Hotel Miramonte
       Resort, February 6-8.
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   82. Hoffman, D.L. (2007), “Cognitive Augmentation: Can the Internet Make You Smarter
       and More Creative?” Sloan Center for Internet Retailing Networking Workshop,
       Riverside, CA, May 3-4.

   83. Hoffman, D.L. and Novak, T.P. (2006), “Subject Recruitment and Panel Management:
       Experience and Observations Based on our Work Creating eLab and eLab 2.0,” ACR
       Roundtable on Doing Better Web-Based Research, ACR North American Conference,
       Orlando, FL, September 28-October 1. (presenter)

   84. Hoffman, D.L. (2006), “Perspectives on Marketing in the Electronic Marketplace:
       Challenges and New Directions for Research and Instruction,” Technology and
       Innovation SIG Special Session, AMA Summer Marketing Educator’s Conference,
       Sheraton Chicago Hotel and Towers, Chicago, IL, August 4-7, 2006.

   85. Hoffman, D.L. (2005), “A Decade of Empirical Research Regarding the Internet,” ACR
       Doctoral Symposium, San Antonio, TX, September 29.”

   86. Novak, T.P and D.L. Hoffman (2005), “The Impact of Consumer Thinking Style on
       Performance: Measure of Task-Specific Experiential and Rational Cognition,” Marketing
       Science Conference, Emory University, Atlanta, GA, June 17.

   87. White, T., D.L. Hoffman, and T.P Novak (2005), “Forgotten Favors: Biased Account
       Keeping in Information-Driven Consumer-Seller Relationships,” Society for Consumer
       Psychology Winter Conference, St. Petersburg, Florida, Feb 24-28.

   88. Hoffman, D. L., P. Kopalle, and T. P. Novak (2004), “Identifying and Using Emergent
       Consumers in Developing Radical Innovations,” ACR North American Conference,
       Portland, October 7-10.

   89. Hoffman, D.L. “A Brief Overview of eLab Research,” Inaugural Partner Conference,
       Vanderbilt University Sloan Center for Internet Retailing, November 7, 2003.

   90. Hoffman, D.L., T.P. Novak and F. Wan (2003), “The Impact of Online Product Review
       Characteristics on Consumer Preferences,” ACR North American Conference, Toronto,
       October 9-12.

   91. Hoffman, D.L., T.P. Novak and F. Wan (2003), “The Impact of Online Product Review
       Characteristics on Consumer Preferences,” UCLA CIBER/CMIE Conference, Managing in
       the Global Information Economy, Anderson Graduate School of Management, UCLA,
       September 12-13, 2003.
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   92. Hoffman, D.L., Novak, T.P. and Kumar, P. (2002), “How Processing Modes Influence
       Consumers’ Cognitive Representations of Product Perceptions Formed from Similarity
       Judgments,” Association for Consumer Research, Atlanta, October 16-20.

   93. Hoffman, D.L. (2001), “Consequences of the Web for Customers and Firms: Developing
       A Research Agenda for Internet Marketing,” Presentation at the CMIE Conference:
       Research Directions in the Management of the Information Economy, Anderson
       Graduate School of Management, UCLA, February 9.

   94. Hoffman, D.L., Novak, and Schlosser (2001), "Consumer Control in Online
       Environments," Society for Consumer Psychology Winter Conference, Scottsdale,
       Arizona, February 15-17.

   95. Hoffman, D.L. (2000), "An Integrative Framework for Internet Commerce," Marketing
       Science Institute Board of Trustees Meeting, “Marketing Knowledge in the Age of E-
       Commerce," Loews Coronado Bay Resort, San Diego, CA, November 2.

   96. Hoffman, D.L. Novak, T.P. and Schlosser, A. (2000), "Consumer Control in Online
       Environments," Association for Consumer Research, October 19-22.

   97. Novak, T.P., Hoffman, D.L., and Yung, Y.F. (1999), “Modeling the Structure of the Flow
       Experience Among Web Users: A Structural Modeling Approach,” Paper presented at
       the Association for Consumer Research Conference, September 30 – October 3,
       Columbus, Ohio.

   98. Hoffman, D.L. (1999), “The State of the Field: Internet Marketing” panel moderated at
       the 1999 American Marketing Association Summer Educator’s Conference, San
       Francisco, CA, August 7-10.

   99. Hoffman, D.L. and T.P. Novak (1997), “New Metrics for New Media: Toward the
       Development of Web Measurement Standards,” paper presented at the Special Session:
       Marketing on the Internet, 1997 INFORMS Marketing Science Conference, Berkeley, CA.
       March 21-24.

  100. Hoffman, D.L. and T.P. Novak (1997), “Web Server Log File Analysis: Scanner Data for
       the New Millennium,” paper presented at the Special Session: Web Server Log File
       Analysis, 1997 INFORMS Marketing Science Conference, Berkeley, CA. March 21-24.

  101. Hoffman, D.L. (1996), "Communication Models and Media Measurement in Computer-
       Mediated Environments: Research Issues and Challenges" INFORMS Spring Conference
       on Information Systems and Technology, Panel on Web and IS Research, May 7.
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   102. Hoffman, D.L. (1996), "Commerce in Cyberspace: What Role for Marketing Scientists?"
        Panel Discussion presented at the 1996 INFORMS Marketing Science Conference,
        Gainesville, March 7-10.

  103. Chatterjee, P., D.L. Hoffman, and T.P. Novak (1996), "Modeling Consumer Response on
       the World Wide Web: Implications for Advertising," paper presented at the 1996
       INFORMS Marketing Science Conference, The University of Florida, Gainesville, March 7-
       10.

  104. Hoffman, D.L. and Novak, T.P. (1995), "Measuring the Internet," Sixth Conference on
     Organization Computing, Coordination and Collaboration International Conference on
     Electronic Commerce, University of Texas at Austin IC2 Institute, October 29-31, 1995.

   105. Novak, T.P. and D.L. Hoffman (1995), "Consumer Behavior in Computer-Mediated
      Environments: Conceptual Foundations," poster presented at the Association for
      Consumer Research Conference, Minneapolis, MN, October 19-21.

   106. Novak, T.P. and D.L. Hoffman (1995), "Marketing in Hypermedia Computer-Mediated
      Environments: Propositions," paper presented at the 1NFORMS Spring 1995 National
      Meeting, Los Angeles, April 24-26.

  107. Hoffman, D.L. (1994), "Implications of Commercializing the Internet for Marketing
     Theory and Practice” The Marketing Information Revolution. AMA Summer Marketing
     Educators' Conference, San Francisco, August 6-9; and the AMA/Vanderbilt Frontiers in
     Services Conference, October.

  108. Hoffman, D.L. and de Leeuw, J. (1993). Benefit Segmentation and Structuring in Service
       Business Markets. Paper presented at the TIMS Marketing Science Conference,
       Washington University, March 11-14.

   109. Hoffman, D.L. and Lilien, G. (1992). Assessing the Direction and Magnitude of
      Perceptual Bias in Relative Influence Judgments. Paper presented at the ORSA/TIMS
      Joint National Meeting, San Francisco, CA, November 2-4.

   110. Hoffman, D.L. (1992). Measuring Customer Perceptions of Service Quality. Invited
      paper presented at the AMA/Vanderbilt Services Marketing Conference.

   111. Hoffman, D.L. and de Leeuw, J. (1992). A Two-Stage Procedure for Analyzing
      Automobile Switching: The Car Challenge. Invited paper presented at the TIMS
      Marketing Science Conference, London Business School, July 12-15.
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   112. Hoffman, D.L. and de Leeuw, J. (1992). Using Optimal Scaling to Improve Model
      Estimates from LISREL. Paper presented at the TIMS Marketing Science Conference,
      London Business School, July 12-15.

   113. Hoffman, D.L. and de Leeuw, J. (1991). Linearizing Nonlinear Association with Optimal
      Scaling: Reducing Bias and Improving Stability in Multivaliate Linear Models. Paper
      presented at the ORSA/TIMS Joint National Meeting, Anaheim, CA, November 3-6.

   114. Steenkamp, J.-B. and Hoffman, D.L. (1991). Quantifying Brand Equity Maps. Paper
      presented at the Annual Conference of the Deutsche Gesellschaft für Operations
      Research, Stuttgart, Germany, September 4-6.

   115. Hoffman, D.L. & Steenkamp, J.-B. (1991). A Judgmental Approach to the Measurement
      of Brand Equity. Paper presented at ORSA/TIMS Marketing Science Conference,
      University of Delaware and DuPont Company, March 21-23.

   116. Hoffman, D.L. & Lilien, G.L. (1990). Relative Influence in Husband-Wife Decision
      Making: Threats to Validity in the Key Informant Problem. Paper presented at
      ORSA/TIMS Marketing Science Conference, University of Illinois, March 22-25.

   117. Hanssens, D.M. & Hoffman, D.L. (1989). Strategic Maps for Product Portfolio
      Management. Paper presented at ORSA/TIMS Joint National Meeting, New York,
      October 16-18.

   118. Hanssens, D.M. & Hoffman, D.L. (1989). Monitoring the effectiveness of marketing
      strategy for a product line. Paper presented at ORSA/TIMS Marketing Science
      Conference, Duke University, March 17-19.

   119. Hoffman, D.L. (1988). A methodology for analyzing asymmetric structure in transition
      matrices. Paper presented at ORSA/TIMS Joint National Meeting, Denver, October 23-
      26.

   120. Novak, T.P. & Hoffman, D.L. (1987). Graphically representing nested log-linear models
      through decomposition of deviance residuals. Paper presented at Psychometric Society
      Annual Meeting, Montreal, June 17-19.

   121. Hoffman, D.L. & Novak, T.P. (1986). Analyzing square data tables with residual scaling.
      Paper presented at ORSA/TIMS Joint National Meeting, Miami, October 27-29.
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   122. Hoffman, D.L. & DeSarbo, W. (1986). Constructing joint space maps from "pick-any/n"
      data: An illustration of a new stochastic unfolding model. Paper presented at TIMS
      XXVII International Meeting, Gold Coast City, Australia, July 21-23.

   123. Hoffman, D.L. & DeSarbo, W. (1985). An unfolding choice model for binary data.
      Paper presented at ORSA/TIMS Joint National Meeting, Atlanta, November 4-6.

   124. Hoffman, D.L. & Batra,R. (1985). Contingent effects of program environment on
        advertising effectiveness. Paper presented at Annual Association for Consumer
        Research Conference, Las Vegas, October 17-20.

   125. DeSarbo, W. & Hoffman, D.L. (1985). Simple and weighted unfolding threshold models
        for the spatial representation of binary choice data. Paper presented at the
        ORSA/TIMS Marketing Science Conference, Vanderbilt University, March 6-9.

   126. Hoffman, D.L. (1984), A Marketing Application of Correspondence Analysis. Paper
      presented at ORSA/TIMS Marketing Science Conference, University of Chicago, March
      12-14.

Invited University Research Seminars

“Object-Oriented Metaphorism as a Mechanism for Understanding AI,” Baruch College, Zicklin
School of Business, New York City, November 1, 2019; Boston University Zoom Behavior Lab,
July 29 (online seminar); Department of Marketing Fall Seminar Series, Schulich School of
Business, York University, October 22, 2020 (online seminar).

“Quantifying Assemblage Theory: A Conceptual Empirical, and Data-Driven Approach to Guide
Discovery,” Wharton School/York University Language Lab, August 20, 2020 (online seminar).

“Reifying the Possibility Space of IoT Automation Practices: A Machine Learning Approach,”
Keynote, Voya Financial Colloquium: Innovation and Technology in Marketing, University of
Connecticut, September 27, 2019; Baruch College, Zicklin School of Business, New York City,
November 1, 2019.

“A Computational Consumer Culture Approach to Visualizing the Possibility Space of
Automation Assemblages,” Ivey Business School, Western University, Canada, November 2,
2018; University of Hong Kong (HKU), January 17, 2019; Boston University Marketing
Department Seminar Series, February 12, 2019; Southern California Consumer Culture
Community, Annenberg School, University of Southern California, March 8, 2019; John Hopkins
University Carey Business School Marketing Department Seminar Series, March 20, 2019.
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“An Assemblage Theory Approach to Consumer Experience and Consumer-Object
Relationships,” Marketing Ph.D. Student Workshop, University of Hong Kong (HKU), January 22,
2019.

“Mining the Secret Life of Objects,” University of Hong Kong (HKU), Visiting Scholar
Presentation, January 17, 2019.

“A Computational Social Science Framework for Visualizing Emergent Consumer Experience
from IoT Interaction Data,” Stanford Graduate School of Business Marketing Department
Seminar Series, February 13, 2018; Temple University Data Science Institute Seminar Series,
April 10, 2018; University of California Berkeley Haas School of Business Marketing Department
Seminar Series, April 23, 2018; UCSD Rady School Marketing Department Brown Bag Seminar
Series , May 9, 2018; UCI Marketing Department Seminar Series, June 8, 2018; University of
Geneva, School of Economics and Management, June 21, 2018.

“Send ‘Her’ My Love: A Circumplex Model for Understanding Relationship Journeys in
Consumer-Smart Object Assemblages,” York University, September 29, 2017.

“Consumer and Object Experience in the IoT: An Assemblage Theory Perspective,” Georgetown
University Marketing Department Research Seminar Series, November 4, 2016; UCSD Rady
School of Management Marketing Department Research Seminar Series, March 16, 2017;
University of Maryland Marketing Department Research Seminar Series, March 29, 2017;
Virginia Tech Northern Virginia Center Marketing Department Research Seminar Series, March
31, 2017; University of Illinois marketing Department Research Seminar Series, April 21, 2017.

“Emergence from Interaction in the Consumer Internet of Things: An Assemblage Theory
Approach,” Marketing Research Symposium, Lazaridis School of Business and Economics,
Wilfrid Laurier University, April 21, 2016.

“Online Experience in Social Media: Two Paths to Connectedness,” Department of Marketing,
Goethe-University in Frankfurt/Main, September 14, 2012.

“Beyond Facebook: Friendly Devices” Stanford SIEPR Policy Forum, Social Media and the
Connected Economy, Stanford University, November 18, 2011.

“Augment Me: Marketing Strategies for a Post-Social Media World” Baker Speaker Series,
Wharton School, University of Pennsylvania, September 29, 2011.

“Why People Use Social Media: How Online Social Identity and Motivations Influence the
Experience of Being Connected,” University of Miami School of Business Department of
Marketing Seminar, October 5, 2010; University of Pittsburgh Katz School of Business
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Department of Marketing Seminar, July 8, 2011; Wharton School, University of Pennsylvania,
September 30, 2011.

“Are Brand Attitudes Contagious: Consumer Response to Organic Search Trends,” University of
Notre Dame Mendoza College of Business Marketing Department Seminar, December 4, 2009;
University of Washington Marketing Foster School of Business Marketing Seminar Series,
February 12, 2010; University of Miami School of Business Department of Marketing Seminar,
October 5, 2010; University of Southern California Marshall School of Business Marketing
Seminar Series, September 17, 2010.

“Consumer Thinking Style, Task Congruence, and Performance: New Measures of Task-Specific
Experiential and Rational Cognition,” Distinguished Speaker Series, College of Management,
Georgia Institute of Technology, Atlanta, GA, October 20, 2005; Stellner Scholar Distinguished
Guest Lecture presented at the College of Business, University of Illinois, Champaign Illinois,
November 18, 2005; Invited Seminar, University of California, Riverside, December 8, 2005.

“Identifying and Using Emergent Consumers in Developing Radical Innovations,” Distinguished
 Speaker Series, College of Management, Georgia Institute of Technology, Atlanta, GA, October
 20; Stellner Scholar Distinguished Guest Lecture presented at the College of Business, University
 of Illinois, Champaign Illinois, November 18; Invited Seminar, University of California, Riverside,
 December 8; 2005; Sloan Industry Studies Centers’ Annual Conference, Georgia Institute of
 Technology, April 19-21, 2004; Tuck Marketing Seminar Series, Dartmouth University, March 19,
 2004.

“The Impact of Online Product Review Characteristics on Consumer Preferences,” Graduate
School of Management, University of California, Irvine, July 8, 2003.

“Research Directions for E-Commerce,” Anderson Graduate School of Management, UCLA,
February 2001.

"The Internet is a New Marketing Paradigm" Graduate School of Business, Stanford University,
July 12, 2000; Haas School of Business, Berkeley, July 25, 2000 (with T.P. Novak)

“Integrating the Internet into Scholarly Research Paradigms,” Marketing Seminar, Stern School
of Business, New York University, March 4-5, 1999 (with T.P. Novak)

“Modeling the Structure of the Flow Experience Among Web Users,” Information
Systems/Marketing Seminar, Stern School of Business, New York University, March 4-5, 1999.
(with T.P. Novak)
“Measuring the Flow Experience Among Web Users” Stanford Marketing Camp, July 17-20,
1997. (with T.P. Novak)
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"Marketing In Computer-Mediated Environments: Research Issues and Challenges," CRITO,
University of California at Irvine, May 3, 1996 (with T.P. Novak)

“Marketing in Hypermedia Computer-Mediated Environments: Implications for
Commercialization of the World Wide Web" Interval Research Corporation, October 1994;
Stanford University Marketing Seminar, August 3, 1995. (with T.P. Novak)

"Graphical Models of Consumer Perception and Preference" University of North Carolina,
November 1992.

"Maximizing Customer Satisfaction Through Market-Driven Quality," University of Texas at
Dallas, March 1992; Vanderbilt 1992

"Asymmetric Residual Maps for Market Structure Analysis" Marketing Modeler's Group NY,
March 1987; University of Washington, December 1988; Fourth Annual Texas Universities'
Marketing Faculty Research Colloquium, Texas A&M University, April 4-5, 1991; Second Annual
AMA ART Forum, Beaver Creek, Colorado, June 1991; University of Utah, March 1992;Carnegie
Mellon University, April 1992; University of Groningen, May 1992.
"Dyadic Disagreement: An Exploratory Analysis of Household Purchase Influence and Reporting
Bias," Pennsylvania State University, November 1990.

"Diagnostic Maps for Product Line Monitoring" UCLA July 1989; Columbia Summer Workshop
June 1989; University of Iowa, February 1990; University of Texas at Dallas, February 1990.
"Correspondence Analysis and Related Methods" UCLA (Psychology) April 1987; University of
Washington, December 1988.
"Residual scaling and the Analysis of Asymmetric Market Structure" Sixth Annual
Columbia/Wharton Joint Seminar, January 30, 1987.

Invited Industry and Government Seminars and Conferences

Hoffman, D.L. (2019), “AI and the Future of Marketing: From Efficiency to Experience,”
      Marketing Edge Board of Trustees Meeting, George Washington University School of
      Business, October 10.

Hoffman, D.L. (2019), “AI and the Future of Retailing: From Efficiency to Experience,” New
      Insights on Retail Evolution from Top Universities, ShopTalk 2019, March 3.

Hoffman, D.L. (2018), “The IoT: Opportunities and Challenges,” Presentation to the
      StarTech.com Marketing Roundtable, Ivey Spencer Leadership Centre, Ivey Business
      School, Western University, Canada, November 1.
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Novak, T.P. and D.L. Hoffman (2018), “A Computational Social Science Framework for
       Representing Emergent Consumer Experience,” Presented at Ayasdi, Inc., Menlo Park,
       CA, May 22.

Novak, T.P. and D.L. Hoffman (2018), “A Computational Framework for Visualizing the
       Possibility Space of Emergent Consumer Experience,” Presented at IFTTT, San Francisco,
       CA, April 24.

Hoffman, D.L. (2017), “The Impact of the Internet of Things on Consumers and Business,”
      Keynote presentation at the EFMI Vision on Food Congres 2017, Theme: “Food for
      Thought,” Kasteel De Vanenburg, Putten, Netherlands, May 23.

Novak, T.P. and D.L. Hoffman (2016), “Using Topological Data Analysis (TDA) to Visualize
       Interaction Events from IFTTT Recipes and Smart Home Sensors,” Presented at Ayasdi,
       Inc., Menlo Park, CA March 10.

Hoffman, D.L. and T.P. Novak (2016), “How to Market the Smart Home: Focus on Emergent
      Experience, Not Uses Cases,” Presented at CBS Interactive, San Francisco, CA, March 11.

Hoffman, D.L. (2016), “How to Market the Smart Home: Focus on Emergent Experience, Not
      Use Cases,” Presented at Brite ’16, Columbia University, NY, NY, March 7.

Novak, T.P. and D.L. Hoffman (2015), “Exploring Emergent Consumer Experience: A Topological
       Data Analysis Approach,” Presented at IFTTT, San Francisco, CA, November 25.
“The Digital Customer,” Discussion, 2012 SAP CEO Event, March 16, 2012.

“Are Brand Attitudes Contagious: Consumer Response to Organic Search Trends,” Paper
presented at the Google/WPP Marketing Research Awards, November 3, 2009.

“What is Web 2.0?” Business Leaders Roundtable, UCR Palm Desert Graduate Center, March
12, 2009.

“Emergent Consumers Can Help Develop Successful Future Ideas,” Discussion Paper presented
at the NSF GENI Opt-In Workshop, Charles Hotel, July 20-21, 2008 (Presenter. Co-authored with
T.P. Novak)

“Examining How the “Social Web” is Creating New Opportunities – And Possible Threats,” eTail
2008, JW Marriott Desert Springs, Palm Desert, CA, February 11-14, 2008.

“The Evolution of Customer Experience: 10 Trends You Can’t Afford to Miss,” Shop.org Annual
Summit, Mandalay Bay Resort, Las Vegas, NV, September 17-19, 2007.
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“The Evolution of Customer Experience: 10 Trends You Can’t Afford to Miss,” MarketLive E-
Commerce Summit, Fairmont Sonoma Mission Inn, Sonoma, CA, June 18-20, 2007.

“How to "Lock in" Your Customers … and Lure Them Away from Competitors,” Panel
Presentation at the 2005 Shop.org Annual Summit, Las Vegas, NV, Sept 12-14, 2005.
“Managing the Customer Chain: From Theory to Practice,” Presentation to the Nashville
Technology Council, Tech Roundtable, October 2, 2003.

“Do You Really Understand Your Customers,” Panel Presentation at the 2003 Shop.org Annual
Summit, New York City, Sept 24-26, 2003.

“The Consumer Experience: A Research Agenda Going Forward,” FTC Public Workshop 1:
Technologies for Protecting Personal Information: The Consumer Experience. Panel:
"Understanding How Consumers Interface with Technologies Designed to Protect Consumer
Information,” May 14, 2003

“eLab: A Model for Online Consumer Behavior,” Keynote address, American Marketing
Association EXPLOR Forum, Chicago, Nov 21-22, 2002.

“Internet Advertising: From CPMs to Results,” United States Securities and Exchange
Commission Portals Roundtable: Relationships Between Broker-Dealers and Web Sites, May 23,
2001.
“An Integrated Framework for Internet Commerce,” Presentation at the CMIE Conference
Accelerating Change in the Information Economy Anderson Graduate School of Management,
UCLA, February 7-8, 2001.

“An Integrated Framework for Internet Commerce,” DaimlerChrysler, Stuttgart, Germany,
January 2001.

"Today's Web Consumer," Presentation to the Round Table Group E-Commerce Bootcamp,
Gleacher Center, Chicago, June 26, 2000.

"Internet Commerce in Action," Presentation at the Sterling Commerce Secrets of the E-
Business Masters E-Business Strategies Conference, May 8-11, 2000.

"The Internet Revolution and Consumer Privacy: Can They Coexist?" Keynote presented at the
Skadden, Arps, 2000 Women's Retreat, Four Seasons Resort, Palm Beach, May 19-21, 2000.
"The Evolution of the Digital Divide: Implications for a Research Agenda," Invited presentation
at the Digital Divide Seminar, Markle Foundation, February 14, 2000.
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“A Model of Stickiness,” Invited paper presented at the Industry Standard Internet Summit 99,
Ritz-Carlton Laguna Niquel, July 18-20, 1999.

“The Digital Divide: Issues for the Diffusion of Electronic Commerce,” Invited paper presented
at "The Digital Economy: New Research, Data, and Tools,” White House Conference sponsored
by NSF, the Department of Commerce and the OECD, May 25-26, 1999 (with T.P. Novak)
“Internet Commerce in Action,” Mini-Keynote presentation at the Sterling Commerce
Worldwide Conference, EC Strategies, Chicago, May 13, 1999.

“Issues of Equity, Privacy, and Commercialism,” Invited paper and moderated session presented
at The Internet and the Family Conference, Annenberg Public Policy Center National Press Club,
Washington, DC, May 4, 1999.

“Linking Internet Marketing with Business Practice: The State of the Field,” Invited paper
presented at the MSI 1998 Fall Board of Trustees Meeting: From Here to ‘00: Putting Our
Priorities to Work, Phoenix AZ, November 5-6, 1998 (with T.P. Novak)

“Are Women Different?: Gender differences in Web Shopping Behaviors and Their Implications
for Internet Business Strategy” Special Seminar, Tools for Building Relationships with the
Millennium Woman, iVillage.com and Fast Company. September 24, 1998.

“The Internet Opportunity,” Keynote address with Tom Novak at the Future Media Research
Programme, London Business School, June 4, 1998.

“Internet Commerce: The Ever Changing Landscape,” Sterling Commerce Executive Symposium
in partnership with FORTUNE Conference Division “Building the Next Generation Enterprise:
Reshaping Your Business with Electronic Commerce” Royal York Hotel, Toronto, Canada, May
12-14, 1998.

“The State of the Industry,” Opening Keynote at the 1998 CMA Music Industry & New
Technologies (MINT) Conference May 13, 1998.

“Integrating the Internet into Your Electronic Commerce Strategies,” AHMA, Marcos Island,
Florida, January 25-27, 1998.

“Information Privacy in the Marketspace: Implications for the Commercial Uses of Anonymity
on the Web,” American Association for the Advancement of Science conference, "Anonymous
Communications on the Internet: Uses and Abuses,” November 21-23, University of California,
Irvine, 1997.
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“Measuring the Audience: Where Top Researchers Agree and Diverge” Online News Summit,
New York Hilton Hotel, New York City, September 11-12, 1997.

“Privacy and Electronic Commerce,” EFF/Silicon Valley Industry Briefing with Ira Magaziner on
“Global Electronic Commerce and Personal Privacy Protection.” August 5, 1997.

“Segmenting the Online Consumer Market: Preliminary Findings,” Interval Research
Corporation, Palo Alto, CA, July 31, 1997

“Measuring the Flow Experience Among Web Users” Stanford Marketing Camp, July 17-20;
Interval Research Corporation, Palo Alto, CA, July 31, 1997

“Integrating the Internet into Your Electronic Commerce Strategy” Sterling Commerce Executive
Symposium, Hotel Inter-Continental, Miami May 12-13, 1997.

"New Metrics for New Media: Toward the Development of Web Measurement Standards"
Keynote Address, IQPC Performance Measurements for Web Sites, Hotel Nikko, San Francisco,
February 24-26, 1997.

“Advertising Pricing Models for New Media,” Internet Publishing and Beyond: The Economics of
Digital Information and Intellectual Property, Kennedy School of Government, Harvard
University, Jan 23 - Jan 25, 1997.

"Getting a Grip on Your Technology Strategy" Fortune 500 CEO Forum, November 14-16, 1996.

"Commerce on the Internet: Emerging Models" Future of Interactive Marketing Conference,
Harvard Business School, May 22-24, 1996; Intel Corporation, Santa Clara, CA, August 12, 1996;
Interdisciplinary Aspects of the Electronic Superhighway Seminar, George Washington
University, School of Engineering and Applied Science, October 15, 1996.

"Envisioning the Future of Internet Marketing: Understanding the Consumer and Market
Response," MIT Sloan School, September 18-19, 1996.

"Internet Research Methodology Workshop" Microsoft Corporation, September 5, 1996.

“Workshop on Flow Measurement Methodology” Interval Research Corporation, August 1,
1996

"Going with the Flow: Tapping Consumer Experience on the Net" Spotlight Executive
Conference Directing the Future of Interactive Media, July 28-30, 1996.
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"New Metrics for New Media" Netscape Communications Corporation, July 18, 1996.

"Who Is On the Net?: Implications for Commercial Development," Interval Friday Forum,
Interval Research Corporation, Dec. 15 1995; Netscape Communications Corporation, April 18
1996; Stanford Breakfast Briefing Series, July 11, 1996; University of Santa Clara, July 15, 1996.

"Consumer Data and Demographics" Wharton Forum on Electronic Commerce, May 9-10, 1996.

"Leveling the Playing Field: Mass Communication vs. Mass Media,” presentation at the Sixth
Conference on Computers, Freedom, & Privacy, March 27-30, 1996.

"Commercial Scenarios for the Web: Opportunities and Challenges" Interval Internet
Symposium, Interval Research Corporation, February 23 1995; Harvard Business School
Colloquium, Multimedia and the Boundaryless World, November 15-17, 1995.

"What Is the Internet and How Can It Help Your Business?" CABLE, Loews Vanderbilt Plaza,
October 11, 1995.

"Understanding the Internet Audience "Keynote Address, Net Profits: Doing Business on the
Internet, Sheraton Palace, San Francisco, August 1-2, 1995. [ranked in top 3 of speakers, with
Ted Leonsis, President, AOL and Scott Cook, Chairman, Intuit]

"Business Models that Work on the Net," Net Profits: Doing Business on the Internet, August 1-
2, 1995; InterAct '96.

"Measurement Implications of the Internet," Bellcore Measurements Research Symposium,
May 18, 1995.

"Correspondence Analysis and Related Methods" 192nd American Chemical Society Meetings,
September 1986; First Annual AMA ART Forum, Incline Village, Nevada, June 1992.

"Program Impact: The Key Measure of Audience Response" Beyond Ratings Conference,
Columbia University, October 19, 1984.

George Washington University Research Seminars and Events

GWWIB (Women in Business) Panel on Marketing and Advertising, Moderator, April 1, 2023.

“How the Internet of Things is Going to Change Everything,” George Talks Business, February
25, 2019. https://business.gwu.edu/george-talks-business
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“How to Market the Consumer IoT: Focus on Experience,” GWSB Board of Advisors
Presentation, September 23, 2016.
 “The Center for the Connected Consumer,” GWSB Faculty Meeting Presentation, January 23,
2015.

“Consumer Experience in the Smart Home: An Assemblage Theory Perspective,” GWSB
Marketing Department Brownbag, February 20, 2015.

“The Social Life of Content: How Introjected Motivation Leads to Feeling Close and Connected
in Social Media,” GWSB Research Brownbag, Dec 12, 2013.

UC Riverside Research Seminars and Events

“Sloan Center Overview,” Sunstar Delegation Visit to AGSM, Alumni Center, April 16, 2008.
“The Evolution of Customer Experience: 10 Trends You Can’t Afford to Miss,” Back to Class, UC
Riverside Homecoming 08, February 23, 2008.
“The Search for Significance: Emergent Nature and Concept Development,” MAMA, November
13, 2007.
“How to “Lock in” Your Customers and Lure Them Away From Competitors,” CUC Alumni
Breakfast, February 28, 2007.

“The Sloan Center for Internet Retailing and eLab 2.0,” AMA Student Club Meeting, UC
Riverside, November 1, 2006.

“eLab 2.0 Online Research,” MAMA, Department of Psychology, October 30, 2006.

Vanderbilt University Events

“Can We Live Without the Internet? Pondering the Implications of Internet Indispensability,”
VU Commencement Faculty Seminar, May 12, 2005.

“Privacy on the Internet: Key Ethical Issues and Challenges,” Cal turner Program for Moral
Leadership in the Professions, Student Discussion Series: Professions and Privacy, Feb 18, 2005.
“E-Commerce at the Owen School,” Faculty Presentation at Diversity Weekend, December 1,
2001.
Owen Strategic Planning On-Site Retreat, Owen Corporate Council, November 8, 2001.

"Electronic Commerce at Owen and the Vanderbilt eLab Initiative," Invited presentation to the
IBM Industry Solutions Lab, May 24, 2000.
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"Electronic Commerce at the Owen School," Presentation to the Owen Graduate School of
Management, Alumni Association Board of Directors, April 28, 2000.

“Owen’s Electronic Commerce Advantage,” Invited paper presented at the First Annual
Scholar’s Weekend, Owen Graduate School of Management, Vanderbilt University, March 25-
28, 1999.

“Who’s Making Money on the Internet? (Hint: It’s Not Who You Think!),” Owen 7:29 Breakfast
Group, Ingram Industries, March 25, 1998.
"The Revolution Will Not Be Televised" Vanderbilt Alumni Reception, Capital City Club, February
1995; Nashville Forum, Stadium Club, September 7, 1995.


TEACHING

Post-Doctoral Supervision

Hyunjin Kang (Communications, Pennsylvania State University, Ph.D. 2013)
First placement: Assistant Professor of Communication, Wee Kim Wee School of
Communication and Information, Nanyang Technological University, Singapore

Randy Stein (Psychology, Yale University, Ph.D. 2011).
First placement: Assistant Professor of Marketing, Cal Poly Pomona.

Terry Daugherty (Communications, Michigan State University, Ph.D. 2001).
First placement: Assistant Professor of Advertising, University of Texas at Austin.

Fang Wan (Communications, University of Minnesota, Ph.D. 2002).
First placement: Assistant Professor of Marketing, University of Manitoba.

Doctoral Dissertation Committees

Nadia Daniente (Marketing, Gies College of Business, University of Illinois, Ph.D. Expected
       2021). Member. Dissertation topic : "Me, Myself, and AI: The Impact of Artificial
       Intelligence on Marketing and the Self."

Abishek Borah (Marketing, Marshall School of Business, USC, Ph.D. 2013. First placement :
       University of Washington, Seattle). Member. Dissertation topic : "Essays in Consumer
       Conversations in Social Media."
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Jean-François Guertin (Marketing, HEC Montreal, Ph.D. 2011. First placement : University of
       Sherbrooke). Member. Dissertation topic : "Three Essays on the Development,
       Validiation and Confirmation of the Flow Construct to Investigate Navigational Web Site
       Experience"

Ofer Mintz (Marketing, UC Irvine, Ph.D. 2012. First placement: LSU). Member. Dissertation
       topic: “What Drives Managerial Use of Marketing vs. Financial Metrics and Does it
       Impact Performance?”

Patrali Chatterjee (Marketing, Vanderbilt University, Ph.D.1998. First placement: Assistant
        Professor, Rutgers University). Co-Chair. Dissertation topic: "Modeling Consumer
        Response in World Wide Web Sites - Implications for Advertising."

Anand Narasimhan (Organizational Theory, Vanderbilt University.1997. First placement:
      Assistant Professor, London School of Business) Co-Chair. Dissertation topic:
      "Interpretive Stance in Inchoate Industries"

Scott Eggebeen, Ph.D. Measurement, Evaluation and Statistics 1988 (Columbia).

Richard Columbo, Ph.D. Marketing 1987 (Columbia).

Doctoral Qualifying Committees

Brynn Nodarse, UCR Psychology 2007 orals
Abishek Borah, USC Marshall School of Business, 2011 orals

Doctoral Consortia

Co-Chair, ACR Doctoral Symposium, 2018
Faculty, AMA Doctoral Consortium, 2017
Faculty, SCP Doctoral Consortium, 2015
Faculty, ACR Doctoral Consortium, 2010
Resident Faculty, AMA Doctoral Consortium, New York University, July 29 - August 2, 1987

Courses

Undergraduate: AI and Marketing Strategy; Marketing Strategy: Based on First Principles and
Data Analytics; Integrated Marketing Communication

MBA Program: AI and Marketing Strategy; Marketing Strategy: Based on First Principles and
Data Analytics; Integrated Marketing Communication; Marketing Strategy and Planning; Digital
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Commerce Strategy; Strategic Brand Management; New Product Development; Product
Management; Internet Marketing Strategy; Managing the Internet Retailing Customer Chain

EMBA Program: Marketing Management (Core); Marketing Planning (Marketing II)

Doctoral Seminars: Marketing in Computer-Mediated Environments; Online Consumer
Behavior; Nonlinear Multivariate Analysis of Marketing Data

Executive Teaching

Stanford University Professional Education Executive Programs
Market Strategy for Technology-Based Companies
Faculty, Marketing on the Web I & II, 1996: April 17-19; October 23-25; 1997: April 23-25;
October 29-31; 1998: March 18-20.

Columbia Business School Executive Programs, Arden House
Case Discussion Leader, Marketing Management Program 1985-1989
Faculty, Marketing Research Program 1985
Assistant Director, Marketing Management Program 1984-1986

Columbia Business School Executive Programs, Special Programs Division
Faculty, Marketing Management Program, Equitable, Inc., Morristown & Tarrytown, 1988-1989
Faculty, Marketing Management Program, Homequity, Inc., Connecticut, 1985


SERVICE

Editorial Activities

Editor

Journal of Marketing, Special Issue Co-Editor, “New Technologies and Marketing,” 2019-2021
Marketing Intelligence Review: IoT Experiences, Co-Editor, 2018
Journal of Interactive Marketing, Special Issue Editor, “Social Media,” 2011
Information Systems Research (Marketing area), Special Issue Editor, 2000-2001
Marketing Science, Special Issue Editor, “Marketing Science and the Internet,” 1999-2000

Departmental Editor

Electronic Commerce Research (Marketing Department)
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Associate Editor
Journal of Marketing, summer 2018-present
Journal of Consumer Research, 2020-2022
Journal of Marketing Research, Guest AE on multiple manuscripts

Editorial Boards

Journal of Marketing -through 2018
Journal of Consumer Research, - Dec 2020, 2022-present
Journal of Marketing Research (2012-)
Journal of Consumer Psychology, (-present)
Journal of Interactive Marketing, Editorial Board founding member 1996-present
International Journal of Electronic Commerce, 1995-present
Social Science Research Network, 2002-present (Advisory Board)
International Journal of Marketing Education, 2002-present

Advisory Panels

Society for Consumer Psychology, 2012-2015

Past Memberships

Journal of Electronic Commerce (Founding Member), Marketing Letters (member of Academic
Advisory Board and former member of Editorial Board), Marketing Science (off in 2002), EC World
(Founding Member), Managerial Marketing Abstracts, Marketing Research Network

Ad Hoc Reviewing

Journal of Consumer Research, Academy of Management Review, Management Science,
Marketing Science, Communications of the ACM, Journal of Computer-Mediated
Communication, Journal of Marketing, Journal of Marketing Research, Psychometrika,
International Journal of Research in Marketing, Applied Psychological Measurement

Conference Reviewing

2022, Society for Consumer Psychology
2021, ACR Annual Conference
2020 ACR Annual Conference, Associate Editor
2015 Society for Consumer Psychology International Conference
2009 ACR Asia-Pacific Conference (reviewed in 2008)
Society for Consumer Psychology 2008, 2009, 2010, 2011
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ACR Annual Conference 1991, 1992, 1999, 2000, 2002, 2003, 2004, 2005, 2008, 2010
AMA Summer Educator's Conference, 1989, 1990, 1991, 1992
AMA Winter Educator's Conference, 1991, 1992, 1993, 1994, 1995

Other Significant Reviewing

Grants
National Science Foundation (various programs)

Research Competitions

John A. Howard American Marketing Association Dissertation Competition, Blue Ribbon Panel,
2015
John A. Howard American Marketing Association Dissertation Competition, numerous years-
present
Marketing Science Institute Alden Clayton Doctoral Dissertation Competition, numerous years,
2006-present
MSI - Journal of Marketing Research competition on "Practitioner-Academic Collaborative
Research
SCP Doctoral Dissertation Competition, numerous years, 2006, 2007, 2008

Research Reports
National Research Council Computer Science and Telecommunications Board
ETS Scholastic Achievement Test, Irwin

Conference Organization

Conference Chair

GWSB Inaugural Conference on the Intelligence of Things: Year 1: Research Opportunities and
Challenges, April 5, 2019 (Co-Chair)

Association for Consumer Research Doctoral Symposium, Dallas, TX. October 11, 2018 (Co-
Chair)

MSI Conference on Marketing in the Consumer Internet of Things, Washington, DC, September
30, 2016 (Co-Chair)

Direct/Interactive Marketing Research Summit, Las Vegas, NV, October 13-14, 2012 (Co-Chair)
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Marketing Science Institute/Sloan Center for Internet Retailing Leveraging Online Media and
Online Marketing, UC Riverside Palm Desert Campus and Hotel Miramonte Resort, February 6-
8, 2008 (Co-Chair)
Association for Consumer Research Pre-Conference Consumers Online: Ten Years Later,
October 25, 2007 (co-chair)
UCR Sloan Center for Internet Retailing Research Networking Workshop, May 3-4, 2007
AGSM Deliberative Dialogue Conference Featuring Duke University Professor Richard Staelin,
April 6, 2007

Inaugural Partner Conference, Vanderbilt Sloan Center for Internet Retailing, 2003 (co-chair)

First INFORMS Marketing Science and the Internet Conference, Co-Chair, 1998

Second Annual Columbia Summer Marketing Workshop: Arden Homestead 1989

Sixth Annual Columbia/Wharton Joint Seminar: Columbia University, 1987

Columbia Center for Telecommunications and Information Studies, "Beyond Ratings: New
Directions in Audience Measurement Research": Columbia University, 1984.

Session/Track Chair

ACR North America (special session organizer); San Diego, CA 2017
Winter AMA (special session organizer); Orlando, FL, 2017
SCP (symposium organizer); St. Pete Beach, 2016
ACR North America (special session/roundtable organizer); New Orleans 2015
SCP (special session organizer); Phoenix, 2015
INFORMS Marketing Science Conference (track co-organizer); Atlanta 2014
INFORMS Marketing Science Conference (track co-organizer); Istanbul, 2013
INFORMS Marketing Science Conference (track co-organizer); Boston, 2012
ACR North America (MSI Special Session organizer, with Punam Anand Keller), St. Louis, 2011.
ACR North America (roundtable organizer), Pittsburgh, 2009.
ACR North America Conference (special session organizer), Portland, 2004.
ACR North American Conference (special session organizer); Toronto, 2003.
AMA Summer Educator’s Conference (panel organizer); San Francisco, 1999
INFORMS Marketing Science Conference (panel organizer); Berkeley, 1997
INFORMS Marketing Science Conference (panel organizer); Gainesville, 1996
INFORMS Spring National Meeting (session chair); Los Angeles, 1995
TIMS XXX-Sobrapo XXIII Joint Intsernational Meeting (track chair): Rio de Janeiro 1991
ORSA/TIMS Marketing Science Conference (session chair): Berkeley 1997; Gainesville 1996;
Tucson 1994; Seattle 1988; Dallas 1986; Nashville 1985
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ORSA/TIMS Joint National Meeting (session chair): Denver 1988; Miami 1986; Anaheim 1991
Los Angeles 1995
ACR Annual Conference (special session chair): Las Vegas 1985


External Administrative Service

Chair, External Review Committee, Five-year Review, Center for Research on Information
Technology and Organizations (CRITO), University of California, Irvine, 2004

Professional Affiliations and Memberships

Association for Consumer Research, American Marketing Association, INFORMS (member,
Society for Marketing Science), Industry Studies Association (Founding member, 2009-present),
Society for Consumer Psychology

Past memberships: Association for Computing Machinery, Classification Society of North
America, CommerceNet, Psychometric Society


Membership in Professional Organizations

Elected Positions

2021-2022      AMA CB Sig, Past Chair
2020-2021      AMA CB Sig, Chair
2019-2020      AMA CB Sig, Chair-Elect
2018-2019      Journal of the Association for Consumer Research, Policy Board Chair
2017-2020      Perspectives Director (Industry) Association for Consumer Research Board of
               Directors
1998-1999      Past-President, INFORMS Section on Marketing (former name)
1996-1997      President, INFORMS Section on Marketing
1994-1995      President-Elect, TIMS College on Marketing
1992-1993      Secretary-Treasurer, TIMS College on Marketing
1992-1993      Editor, TIMS College on Marketing Newsletter (published quarterly)
1992-1999      Council Member, TIMS College on Marketing Advisory Council
1995           Program Chair, American Statistical Association, Section on Marketing
1994           Program Chair-Elect, American Statistical Association, Section on Marketing
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Program Committee

ACM Conference on Electronic Commerce EC’08 2008
Association for Consumer Research (ACR) Annual Conference, multiple years 1992-present
Computers, Freedom, & Privacy Annual Conference 1996, 1997, 1998
Society for Consumer Psychology (SCP) Annual Conference, multiple years-present

Boards and Committees

Marketing Edge, Board of Trustees, Member, 2019-2022
Procter & Gamble Digital Advisory Board February 2009-2013
Marketing Science Institute, Academic Trustee 2008-2014
Web Analytics Association, Advisory Board 2005-present
Marketing Science Institute “Blue Ribbon” Committee, Web Survey Research Project 2004-2006
Inc. Magazine Web Awards 2001
EFF Pioneer Awards Judge 2001, 2002, 2003, 2004, 2005
Prize for Promise (nominator) 2002
Qbiquity, Advisory Board 2001
Internet Policy Institute 2000
eConception, Director 1999-2000
Credible.org, Advisory Board 1999
Standard for Internet Commerce, Founding Member 1999
GII Awards, Final (“Blue Ribbon”) Judge, Business Category 1996-1999
AAAS Project (NSF) on Anonymous Communications on the Internet, Advisory Committee 1996-
1997
Associate Member, CommerceNet; member, Marketing Working Group 1994-2000

Professional Experience

Summer Visiting Scholar, Interval Research Corporation, 1995-1999
Research Associate, Columbia Business School Institute for Tele-Information, 1984-1985
Social Science Analyst, Research Triangle Institute, Research Triangle Park, North Carolina,
1980-1981

Strategic Consulting

Bellcore, Bell Northern Research/Northern Telecom, Cohen, Klingenstein & Marks Inc., Daimler-
Benz, Federal Reserve Board Electronic Payments System Panel, Hewlett-Packard, HotWired,
Impact Planning Group, Intel Corporation, Interval Research Corporation, Kantar Futures
Practice, Microsoft Corporation, Nashville Chamber of Commerce, Netscape Communications
Corporation, Nielsen Media Research, Ogilvy & Mather, Procter & Gamble, (r)evolution
partners, Reinault-Thomas, SBC, Starwave, Stratford Associates, Television Audience
Assessment, Inc.
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Expert Witness

   •   Written Affidavit and Deposition for the defendant, Fall 2022-Spring 2023, Google Play
       Store Antitrust Litigation, Case No. 3:21-md-02981-JD.
   •   Written Affidavit and Deposition for the defendant, Spring and Summer 2022, State of
       Arizona, ex. rel. Mark Brnovich, Attorney General v. Google LLC, a Delaware Limited
       Liability Company, Case No. CV2020-006219.
   •   Written Affidavit and Deposition for the plaintiff, Spring 2019, The Reinalt-Thomas
       Corporation d/b/a Discount Tire, vs Mavis Tire Supply LLC, Case 1:18-cv-05877-TCB
   •   Written Affidavit for the defendant, 2015, Federal Trade Commission v. Amazon.com,
       Inc., Case No. 2:14-CV-01038-JCC
   •   Written Affidavit and Deposition for the plaintiff, Summer 2012, The Reinalt-Thomas
       Corporation d/b/a Discount tire, a Michigan corporation v. AKH Company, Inc, a
       California corporation, No. 2:10-cv-01055-JWS
   •   Written Affidavit and Deposition for the defendant, Fall 2009, Autodesk, Inc. vs.
       Dassault Systèmes SolidWorks Corporation
   •   Written Affidavit for the plaintiff, Winter 2005, Ameripay, LLC v. Ameripay Payroll Ltd,
       US District Court for the Northern District of Illinois, Eastern Division.
   •   Written Affidavits for the defendant, Spring 2003, Verizon v. Showalter
   •   Written Affidavit for the defendant, Fall 2001, PowerAgent v. EDS.
   •   Written Affidavit and Deposition for the defendant, Spring 2001, Amway Corporation v.
       P&G, US District Court, Western District of Michigan, Southern Division.
   •   Written Affidavit and Testimony (January 20, 1999) for the plaintiffs in the Federal trial,
       ACLU v. Reno, challenging the constitutionality of the Child Online Protection Act
       (COPA). Lead Witness.
   •   Written Affidavit for the plaintiff, Orman, et.al. v AOL, Inc. (April 30, 1998).
   •   Written Affidavit and Testimony (March 22, 1996) for the plaintiffs in the joined Federal
       trials, ACLU v. Reno and ALA v. Reno, challenging the constitutionality of the
       Communications Decency Act (CDA) portion of the Telecommunications Bill of 1996.


UNIVERSITY AND PRIVATE FOUNDATION GRANTS & CORPORATE GIFTS

Co-Founder and Co-Director, Sloan Center for Internet Retailing (2003-present) and eLab (1994-
present.). Professor Tom Novak and I founded eLab/Project 2000 in 1994 to conduct scholarly
research in Internet marketing and e-commerce. In March 2003, the Alfred P. Sloan Foundation
awarded a grant establishing the Vanderbilt University Sloan Center for Internet Retailing. The
Center moved to the University of California, Riverside, in July 2006.
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From 1994-2006, we raised over $3 million in Sloan Center and eLab funding from the sources
below:

Corporate Funding ($932,000 Project 2000/eLab; $450,000) Sloan Center for Internet
Retailing):

CDnow, Daimler-Chrysler, FedEx, the Freedom Forum, Digeo, Financial Services Technology
Consortium, First Horizon, Focalink, Gaylord Entertainment, HotWired Ventures LLC, Hewlett-
Packard, Ingram Entertainment, Interval Research Corporation, iVillage, J.C. Bradford, Land’s
End/Sears, NCR Knowledge labs, Neomodal, Netscape, Nielsen Media Research, O’Reilly &
Associates, Pitney Bowes, Roche-Diagnostics, Rouse Company, SBC, Shop at Home, Shop.org,
Sprint, Sterling Commerce, Sun Microsystems, Vulcan Ventures, VF Corporation, Walmart.com,
Yankelovich Partners.

Foundation and Government Grants ($565,000):
Alfred P. Sloan Foundation, American Association for Advancement of Science, The Aspen
Institute, The Freedom Forum First Amendment Center, Marketing Science Institute, John and
Mary R. Markle Foundation, National Science Foundation

University Grants ($1,075,000):
Vanderbilt University Central Administration, Vanderbilt University Research Council,
Vanderbilt University Medical Center

The Sloan Center for Internet Retailing moved to UC Riverside in July 2006.
       Corporate Gifts
       Newsfutures 04/2007           In-kind
       GSI Commerce 12/2007          $5,500
       Organize.com 12/2007          $5,000
       Procter & Gamble 09/2008 $5,000
       Miller Coors 09/2008          $10,000
       Hershey 09/2009               $ 5,000

UC Riverside Academic Senate Omnibus Grant
       2012 $1150
       2011 $1400
       2010 $630
       2009 $1000
       2008 $1500
       2007 $1607
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George Washington University Administrative Service

University
GW University Honors Program Advisory Committee, member, Fall 2014-2017

GWSB
SWAPT, Member Fall 2021-present
Dean’s Covid 19 Response Advisory Task Force Spring 2020
MBA Curriculum Taskforce, 2019
Research Committee, Spring 2017, 2018-2020
SWAPT, Member Fall 2015-Spring 2017
Strategic Planning Committee, Cross-Disciplinary Taskforce Spring 2015

Marketing Department
Department Chair, 2017
APT Chair, Spring 2014-Spring 2016

UC Riverside Administrative Service
Department

AGSM Department of Management and Marketing Department Chair, 07/1/2006-6/30/2011
Marketing Area Recruiting Search Committee, Chair, 2006-2007
Management Area Recruiting Search Committee, Ex-Officio Member, 2006-2007
Marketing Area Recruiting Search Committee, Ex-Officio Member, 2007-2008
Management Area Recruiting Search Committee, Ex-Officio Member, 2007-2008
Management Area Recruiting Search Committee, Chair, 2008-2009
Marketing Area Recruiting Search Committee, Ex-Officio, 2008-2009
First Annual AGSM Marketing Camp, May 9, 2008

College

Soba Faculty Mentor to Student American Marketing Association Club, 2012-present
AGSM Strategic Planning Committee, 2008-2009
AGSM Senior Leadership Team, 9/2007-present
AGSM Graduate Committee, 07/2006-06/2007
AGSM BASD Committee, 07/2007-2009
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Campus

UCR Online Strategic Planning Committee, 2013-present
UCR Faculty Welfare Committee, 2012-present
UCR Strategic Planning Committee, Academic Excellence Subcommittee, 2009-2010
UCR AGSM Dean Search Committee, 2006-2007
UCR Senior Marketing Council, 2006-2008
UCR School of Medicine Dean Search Committee, 2007
UCR School of Communications Task Force Co-Chair, 2008-present

Vanderbilt University Administrative Service

Faculty Senate, 1996-1999, 2004-2006
Technology Literacy Arc Seminar, sponsored by the Center for Teaching and the Associate Provost
for Innovation through Technology, 2002
Owen Executive Committee 2004-2006
Dean Search Committee 2004-2005
Faculty Development Committee, 2003-2005
Marketing Recruiting Committee, 1997, 2003-2006
Owen Strategic Planning Committee, 2001-2002
Marketing Area Head, 2002-2003, 2005-2006
Chair, Marketing Recruiting Committee, 1994 (co-chair), 1999, 2001, 2002, 2004, 2005
Coordinator, Marketing Area Ph.D. Program, 1994-2001
Member, Owen Ph.D. Committee, 1993-2003
Chair, Computing/Telecommunications Strategic Planning Committee, 1993-1996
Promotion Committee, Ray Friedman, 2003
Renewal Committee, Neta Moye, 2002
Human Resources/Organizational Studies Search Committee, 1994
Director, Electronic Commerce Program, 2000-2005
Faculty Sponsor, eBusiness and Technology Club, 2000-2005
Director & Founder, Electronic Commerce Emphasis, 1996-2000
Faculty Advisor (Marketing area), Business Projects Group, 1994-2000
EMBA Curriculum Committee 2002-2003
Committee on Instruction, 1997-2000
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UT Dallas Administrative Service
School of Management Executive Education Committee, 1991-1992
School of Management Teaching Committee, 1991-1993
University Committee on Faculty Standing and Conduct, 1991-1993

Columbia Business School Administrative Service

Marketing Faculty Recruiting Coordinator, 1988
Marketing Faculty Search Committee, 1988; 1986
Faculty Research Review Committee (Chair, 1989), 1987-1990
Committee on Computer Use (Chair, 1987-1989), 1987-1990

Selected Media Recognition

Business Week “Mover & Shaker,” San Francisco Webgrrls Top 25 Women on the Web,
Microtimes 100, Advertising Age "Web Warrior,” c/net "Visionary,” Internet World "Internet
Hero,” Newsweek "The Net 50 People Who Matter Most on the Internet"
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                                                 Appendix B
                                           Materials Considered

Legal Documents

    •   Declaration of Andrew Rope in Support of Defendant Google LLC’s Motion to Dismiss First Amended
        Complaint, Anibal Rodriguez et al. v. Google LLC, United States District Court of the Northern District of
        California, Case No. 3:20-CV-04688, February 25, 2021.

    •   Fourth Amended Complaint, Anibal Rodriguez et al. v. Google LLC, United States District Court of the
        Northern District of California, Case No. 3:20-CV-04688, January 4, 2023.

Expert Reports

    •   Expert Report of Bruce Schneier, February 20, 2023, and materials considered.

Depositions

    •   Deposition of Anibal Rodriguez, October 16, 2022.

    •   Deposition of Arne De Booij, February 7, 2023.

    •   Deposition of Christopher Ruemmler, September 9, 2022.

    •   Deposition of David Monsees, September 15, 2022.

    •   Deposition of Eric Miraglia, October 25, 2022.

    •   Deposition of Greg Fair, October 3, 2022.

    •   Deposition of JK Kearns, February 17, 2023.

    •   Deposition of Julian Santiago, March 7, 2022.

    •   Deposition of Sal Cataldo, February 17, 2022.

    •   Deposition of Sam Heft-Luthy, February 8, 2023.

    •   Deposition of Susan Harvey, October 27, 2022.

    •   Deposition of Xinyu Ye, February 9, 2023.

Bates Stamped Documents

    •   GOOG-RDGZ-00000001.                                      •    GOOG-RDGZ-00000006.

    •   GOOG-RDGZ-00000002.                                      •    GOOG-RDGZ-00000007.

    •   GOOG-RDGZ-00000003.                                      •    GOOG-RDGZ-00000008.

    •   GOOG-RDGZ-00000004.                                      •    GOOG-RDGZ-00000009.

    •   GOOG-RDGZ-00000005.                                      •    GOOG-RDGZ-00000010.


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•   GOOG-RDGZ-00000011.                         •   GOOG-RDGZ-00000040.

•   GOOG-RDGZ-00000012.                         •   GOOG-RDGZ-00000041.

•   GOOG-RDGZ-00000013.                         •   GOOG-RDGZ-00000042.

•   GOOG-RDGZ-00000014.                         •   GOOG-RDGZ-00000043.

•   GOOG-RDGZ-00000015.                         •   GOOG-RDGZ-00000044.

•   GOOG-RDGZ-00000016.                         •   GOOG-RDGZ-00000045.

•   GOOG-RDGZ-00000017.                         •   GOOG-RDGZ-00000047.

•   GOOG-RDGZ-00000018.                         •   GOOG-RDGZ-00000048.

•   GOOG-RDGZ-00000019.                         •   GOOG-RDGZ-00000049.

•   GOOG-RDGZ-00000020.                         •   GOOG-RDGZ-00000050.

•   GOOG-RDGZ-00000022.                         •   GOOG-RDGZ-00000051.

•   GOOG-RDGZ-00000023.                         •   GOOG-RDGZ-00000052.

•   GOOG-RDGZ-00000024.                         •   GOOG-RDGZ-00000053.

•   GOOG-RDGZ-00000025.                         •   GOOG-RDGZ-00000054.

•   GOOG-RDGZ-00000026.                         •   GOOG-RDGZ-00000056.

•   GOOG-RDGZ-00000027.                         •   GOOG-RDGZ-00000057.

•   GOOG-RDGZ-00000028.                         •   GOOG-RDGZ-00000058.

•   GOOG-RDGZ-00000029.                         •   GOOG-RDGZ-00000059.

•   GOOG-RDGZ-00000031.                         •   GOOG-RDGZ-00000060.

•   GOOG-RDGZ-00000032.                         •   GOOG-RDGZ-00000061.

•   GOOG-RDGZ-00000033.                         •   GOOG-RDGZ-00000062.

•   GOOG-RDGZ-00000034.                         •   GOOG-RDGZ-00000063.

•   GOOG-RDGZ-00000035.                         •   GOOG-RDGZ-00000064.

•   GOOG-RDGZ-00000036.                         •   GOOG-RDGZ-00000065.

•   GOOG-RDGZ-00000037.                         •   GOOG-RDGZ-00000066.

•   GOOG-RDGZ-00000038.                         •   GOOG-RDGZ-00000067.

•   GOOG-RDGZ-00000039.                         •   GOOG-RDGZ-00000068.



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•   GOOG-RDGZ-00000069.                         •   GOOG-RDGZ-00000097.

•   GOOG-RDGZ-00000070.                         •   GOOG-RDGZ-00000098.

•   GOOG-RDGZ-00000071.                         •   GOOG-RDGZ-00000099.

•   GOOG-RDGZ-00000072.                         •   GOOG-RDGZ-00000100.

•   GOOG-RDGZ-00000073.                         •   GOOG-RDGZ-00000101.

•   GOOG-RDGZ-00000074.                         •   GOOG-RDGZ-00000102.

•   GOOG-RDGZ-00000075.                         •   GOOG-RDGZ-00000103.

•   GOOG-RDGZ-00000076.                         •   GOOG-RDGZ-00000104.

•   GOOG-RDGZ-00000077.                         •   GOOG-RDGZ-00000105.

•   GOOG-RDGZ-00000078.                         •   GOOG-RDGZ-00000107.

•   GOOG-RDGZ-00000079.                         •   GOOG-RDGZ-00000108.

•   GOOG-RDGZ-00000080.                         •   GOOG-RDGZ-00000109.

•   GOOG-RDGZ-00000081.                         •   GOOG-RDGZ-00000110.

•   GOOG-RDGZ-00000082.                         •   GOOG-RDGZ-00000111.

•   GOOG-RDGZ-00000083.                         •   GOOG-RDGZ-00000112.

•   GOOG-RDGZ-00000084.                         •   GOOG-RDGZ-00000113.

•   GOOG-RDGZ-00000085.                         •   GOOG-RDGZ-00000114.

•   GOOG-RDGZ-00000086.                         •   GOOG-RDGZ-00000115.

•   GOOG-RDGZ-00000087.                         •   GOOG-RDGZ-00000116.

•   GOOG-RDGZ-00000088.                         •   GOOG-RDGZ-00000117.

•   GOOG-RDGZ-00000089.                         •   GOOG-RDGZ-00000118.

•   GOOG-RDGZ-00000090.                         •   GOOG-RDGZ-00000119.

•   GOOG-RDGZ-00000091.                         •   GOOG-RDGZ-00000120.

•   GOOG-RDGZ-00000092.                         •   GOOG-RDGZ-00000122.

•   GOOG-RDGZ-00000093.                         •   GOOG-RDGZ-00000123.

•   GOOG-RDGZ-00000094.                         •   GOOG-RDGZ-00000124.

•   GOOG-RDGZ-00000095.                         •   GOOG-RDGZ-00000125.



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•   GOOG-RDGZ-00000126.                         •   GOOG-RDGZ-00000156.

•   GOOG-RDGZ-00000128.                         •   GOOG-RDGZ-00000157.

•   GOOG-RDGZ-00000129.                         •   GOOG-RDGZ-00000158.

•   GOOG-RDGZ-00000130.                         •   GOOG-RDGZ-00000159.

•   GOOG-RDGZ-00000131.                         •   GOOG-RDGZ-00000160.

•   GOOG-RDGZ-00000133.                         •   GOOG-RDGZ-00000161.

•   GOOG-RDGZ-00000134.                         •   GOOG-RDGZ-00000162.

•   GOOG-RDGZ-00000135.                         •   GOOG-RDGZ-00000163.

•   GOOG-RDGZ-00000136.                         •   GOOG-RDGZ-00000164.

•   GOOG-RDGZ-00000137.                         •   GOOG-RDGZ-00000165.

•   GOOG-RDGZ-00000138.                         •   GOOG-RDGZ-00000166.

•   GOOG-RDGZ-00000139.                         •   GOOG-RDGZ-00000167.

•   GOOG-RDGZ-00000140.                         •   GOOG-RDGZ-00000168.

•   GOOG-RDGZ-00000141.                         •   GOOG-RDGZ-00000169.

•   GOOG-RDGZ-00000142.                         •   GOOG-RDGZ-00000170.

•   GOOG-RDGZ-00000143.                         •   GOOG-RDGZ-00000171.

•   GOOG-RDGZ-00000144.                         •   GOOG-RDGZ-00000172.

•   GOOG-RDGZ-00000145.                         •   GOOG-RDGZ-00000173.

•   GOOG-RDGZ-00000146.                         •   GOOG-RDGZ-00000174.

•   GOOG-RDGZ-00000148.                         •   GOOG-RDGZ-00000175.

•   GOOG-RDGZ-00000149.                         •   GOOG-RDGZ-00000176.

•   GOOG-RDGZ-00000150.                         •   GOOG-RDGZ-00000177.

•   GOOG-RDGZ-00000151.                         •   GOOG-RDGZ-00000178.

•   GOOG-RDGZ-00000152.                         •   GOOG-RDGZ-00000179.

•   GOOG-RDGZ-00000153.                         •   GOOG-RDGZ-00000181.

•   GOOG-RDGZ-00000154.                         •   GOOG-RDGZ-00000182.

•   GOOG-RDGZ-00000155.                         •   GOOG-RDGZ-00000183.



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•   GOOG-RDGZ-00000184.                         •   GOOG-RDGZ-00000212.

•   GOOG-RDGZ-00000185.                         •   GOOG-RDGZ-00000213.

•   GOOG-RDGZ-00000186.                         •   GOOG-RDGZ-00000214.

•   GOOG-RDGZ-00000187.                         •   GOOG-RDGZ-00000215.

•   GOOG-RDGZ-00000188.                         •   GOOG-RDGZ-00000217.

•   GOOG-RDGZ-00000189.                         •   GOOG-RDGZ-00000218.

•   GOOG-RDGZ-00000190.                         •   GOOG-RDGZ-00000220.

•   GOOG-RDGZ-00000191.                         •   GOOG-RDGZ-00000221.

•   GOOG-RDGZ-00000193.                         •   GOOG-RDGZ-00000222.

•   GOOG-RDGZ-00000194.                         •   GOOG-RDGZ-00000223.

•   GOOG-RDGZ-00000195.                         •   GOOG-RDGZ-00000224.

•   GOOG-RDGZ-00000196.                         •   GOOG-RDGZ-00000225.

•   GOOG-RDGZ-00000197.                         •   GOOG-RDGZ-00000227.

•   GOOG-RDGZ-00000198.                         •   GOOG-RDGZ-00000228.

•   GOOG-RDGZ-00000199.                         •   GOOG-RDGZ-00000229.

•   GOOG-RDGZ-00000200.                         •   GOOG-RDGZ-00000230.

•   GOOG-RDGZ-00000201.                         •   GOOG-RDGZ-00000231.

•   GOOG-RDGZ-00000202.                         •   GOOG-RDGZ-00000232.

•   GOOG-RDGZ-00000203.                         •   GOOG-RDGZ-00000233.

•   GOOG-RDGZ-00000204.                         •   GOOG-RDGZ-00000234.

•   GOOG-RDGZ-00000205.                         •   GOOG-RDGZ-00000235.

•   GOOG-RDGZ-00000206.                         •   GOOG-RDGZ-00000236.

•   GOOG-RDGZ-00000207.                         •   GOOG-RDGZ-00000237.

•   GOOG-RDGZ-00000208.                         •   GOOG-RDGZ-00000238.

•   GOOG-RDGZ-00000209.                         •   GOOG-RDGZ-00000239.

•   GOOG-RDGZ-00000210.                         •   GOOG-RDGZ-00000240.

•   GOOG-RDGZ-00000211.                         •   GOOG-RDGZ-00000241.



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•   GOOG-RDGZ-00000242.                         •   GOOG-RDGZ-00000273.

•   GOOG-RDGZ-00000244.                         •   GOOG-RDGZ-00000274.

•   GOOG-RDGZ-00000245.                         •   GOOG-RDGZ-00000275.

•   GOOG-RDGZ-00000246.                         •   GOOG-RDGZ-00000276.

•   GOOG-RDGZ-00000247.                         •   GOOG-RDGZ-00000277.

•   GOOG-RDGZ-00000248.                         •   GOOG-RDGZ-00000278.

•   GOOG-RDGZ-00000249.                         •   GOOG-RDGZ-00000279.

•   GOOG-RDGZ-00000250.                         •   GOOG-RDGZ-00000280.

•   GOOG-RDGZ-00000252.                         •   GOOG-RDGZ-00000281.

•   GOOG-RDGZ-00000253.                         •   GOOG-RDGZ-00000282.

•   GOOG-RDGZ-00000254.                         •   GOOG-RDGZ-00000283.

•   GOOG-RDGZ-00000255.                         •   GOOG-RDGZ-00000284.

•   GOOG-RDGZ-00000256.                         •   GOOG-RDGZ-00000286.

•   GOOG-RDGZ-00000257.                         •   GOOG-RDGZ-00000287.

•   GOOG-RDGZ-00000258.                         •   GOOG-RDGZ-00000289.

•   GOOG-RDGZ-00000259.                         •   GOOG-RDGZ-00000290.

•   GOOG-RDGZ-00000260.                         •   GOOG-RDGZ-00000291.

•   GOOG-RDGZ-00000261.                         •   GOOG-RDGZ-00000292.

•   GOOG-RDGZ-00000263.                         •   GOOG-RDGZ-00000294.

•   GOOG-RDGZ-00000264.                         •   GOOG-RDGZ-00000295.

•   GOOG-RDGZ-00000265.                         •   GOOG-RDGZ-00000296.

•   GOOG-RDGZ-00000266.                         •   GOOG-RDGZ-00000297.

•   GOOG-RDGZ-00000267.                         •   GOOG-RDGZ-00000298.

•   GOOG-RDGZ-00000268.                         •   GOOG-RDGZ-00000299.

•   GOOG-RDGZ-00000269.                         •   GOOG-RDGZ-00000300.

•   GOOG-RDGZ-00000271.                         •   GOOG-RDGZ-00000301.

•   GOOG-RDGZ-00000272.                         •   GOOG-RDGZ-00000519.



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•   GOOG-RDGZ-00000557.                         •   GOOG-RDGZ-00016455.

•   GOOG-RDGZ-00000921.                         •   GOOG-RDGZ-00016584.

•   GOOG-RDGZ-00000929.                         •   GOOG-RDGZ-00016643.

•   GOOG-RDGZ-00013681.                         •   GOOG-RDGZ-00017175.

•   GOOG-RDGZ-00013719.                         •   GOOG-RDGZ-00017232.

•   GOOG-RDGZ-00013864.                         •   GOOG-RDGZ-00017367.

•   GOOG-RDGZ-00014022.                         •   GOOG-RDGZ-00017842.

•   GOOG-RDGZ-00014710.                         •   GOOG-RDGZ-00018067.

•   GOOG-RDGZ-00014713.                         •   GOOG-RDGZ-00018270.

•   GOOG-RDGZ-00014723.                         •   GOOG-RDGZ-00018562.

•   GOOG-RDGZ-00014742.                         •   GOOG-RDGZ-00018582.

•   GOOG-RDGZ-00015016.                         •   GOOG-RDGZ-00018676.

•   GOOG-RDGZ-00015431.                         •   GOOG-RDGZ-00018957.

•   GOOG-RDGZ-00015732.                         •   GOOG-RDGZ-00019127.

•   GOOG-RDGZ-00016158.                         •   GOOG-RDGZ-00019675.

•   GOOG-RDGZ-00016179.                         •   GOOG-RDGZ-00019772.

•   GOOG-RDGZ-00016197.                         •   GOOG-RDGZ-00019869.

•   GOOG-RDGZ-00016219.                         •   GOOG-RDGZ-00019876.

•   GOOG-RDGZ-00016238.                         •   GOOG-RDGZ-00019903.

•   GOOG-RDGZ-00016259.                         •   GOOG-RDGZ-00020206.

•   GOOG-RDGZ-00016277.                         •   GOOG-RDGZ-00020277.

•   GOOG-RDGZ-00016295.                         •   GOOG-RDGZ-00020293.

•   GOOG-RDGZ-00016320.                         •   GOOG-RDGZ-00020564.

•   GOOG-RDGZ-00016347.                         •   GOOG-RDGZ-00020566.

•   GOOG-RDGZ-00016378.                         •   GOOG-RDGZ-00020633.

•   GOOG-RDGZ-00016435.                         •   GOOG-RDGZ-00020680.

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•   GOOG-RDGZ-00020692.                         •   GOOG-RDGZ-00144760.

•   GOOG-RDGZ-00020740.                         •   GOOG-RDGZ-00145387.

•   GOOG-RDGZ-00020743.                         •   GOOG-RDGZ-00149527.

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•   GOOG-RDGZ-00021231.                         •   GOOG-RDGZ-00151484.

•   GOOG-RDGZ-00021237.                         •   GOOG-RDGZ-00152785.

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•   GOOG-RDGZ-00021247.                         •   GOOG-RDGZ-00153998.
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